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                                                                          7 David Tudor Chamberlain

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                                                                          9                        UNITED STATES BANKRUPTCY COURT

                                                                         10                         CENTRAL DISTRICT OF CALIFORNIA
Lobel Weiland Golden Friedman LLP




                                                                         11                                 SANTA ANA DIVISION
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                                        Costa Mesa, California 92626




                                                                              In re                                    Case No. 8:17-bk-11370-CB
                                                                         13
                                                                              DAVID TUDOR CHAMBERLAIN,                 Chapter 11
                                                                         14
                                    Tel 714-966-1000




                                                                                          Debtor and                   DISCLOSURE STATEMENT DESCRIBING
                                                                         15               Debtor-in-Possession.        CHAPTER 11 PLAN OF
                                                                                                                       REORGANIZATION
                                                                         16
                                                                                                                       Disclosure Statement Hearing:
                                                                         17                                            DATE: August 2, 2017
                                                                                                                       TIME: 10:00 a.m.
                                                                         18                                            CTRM: 5D
                                                                         19                                            Plan Confirmation Hearing:
                                                                                                                       DATE: To Be Set
                                                                         20                                            TIME:
                                                                                                                       CTRM:
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 2           "8479 Cedarview Court Property" means the real property located at 8479

 3 Cedarview Court, Cypress, California 90630, as more fully described in Section II.A.14 of

 4 the Disclosure Statement.

 5           "8475 Cedarview Court Property" means the real property located at 8475

 6 Cedarview Court, Cypress, California 90630, as more fully described in Section II.A.15 of

 7 the Disclosure Statement.

 8           "Administrative Claim" means a Claim against the Debtor for administrative costs

 9 or expenses that are allowable under Bankruptcy Code § 503(b).

10           "Administrative Tax Claim" means an Administrative Claim or other Claim that is

11 not an Allowed Secured Claim that a government unit asserts against the Debtor for taxes

12 (or for related interest or penalties) for any tax period that, either in whole or in part, falls

13 within the period beginning on the Petition Date and ending on the Effective Date.

14           "Allowed Claim" means a Claim against the Debtor, other than an Administrative

15 Claim, to the extent that:

16           a.    Either: (i) a Proof of Claim was Filed by the Bar Date; or (ii) a Proof of Claim

17                 is deemed timely Filed either under Bankruptcy Rule 3003(b)(1) or by a Final

18                 order; and

19           b.    Either: (i) the Claim is not a Disputed Claim; (ii) the Claim is allowed by a

20                 Final Order; or (iii) the Claim is allowed under the Plan.

21           "Allowed [Class Designation and/or Secured, Priority, or General Unsecured]

22 Claim" means an Allowed Claim in the specified Class and/or of the specified type.

23           "Amended Schedules I and J" means the Debtor’s amended Schedules I and J

24 filed with the Court on June 5, 2017 [Docket No. 98].

25           "Appeal" means the Debtor’s appeal of the Tarnutzer Judgment, as discussed in

26 Section II.E.2. of the Disclosure Statement.

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 1           "Appellate Court" means the appellate court entering a Final Order with respect to

 2 the Appeal.

 3           "Assets" means all tangible and intangible assets and property of every kind and

 4 nature of the Debtor and/or his Estate, and all proceeds thereof, existing as of the

 5 Effective Date.

 6           "Avoidance Action" means Causes of Action arising under 11 U.S.C. §§ 510,

 7 541, 542, 544, 547, 548, 549, 550, 551, and/or 553, or under related state or federal

 8 statutes and common law, including, without limitation, fraudulent transfer laws, whether

 9 or not litigation is commenced to prosecute such Causes of Action.

10           "Bankruptcy Code" or "Code" means Title 11 of the United States Code, as

11 amended.

12           "Bankruptcy Rules" means the Federal Rules of Bankruptcy Procedure.

13           "Bar Date" means the last date for filing Proofs of Claim in the Debtor's Case. The

14 Bar Date has been established as June 26, 2017 (as to creditors other than governmental

15 units) and October 6, 2017 (as to governmental units).

16           "Bar Date Notice" means the notice of the Bar Date served on creditors of the

17 Estate on May 22, 2017.

18           "Bishop Street Property" means the real property located at 5532 Bishop Street,

19 Cypress, California 90630, as more fully described in Section II.A.11 of the Disclosure

20 Statement.

21           "Business Day" means any day, other than a Saturday, a Sunday or a "legal

22 holiday" as defined in Rule 9006(a) of the Bankruptcy Rules.

23           "Case" means the Debtor's case under chapter 11 of the Bankruptcy Code that is

24 pending before the United States Bankruptcy Court for the Central District of California,

25 Santa Ana Division, as Case No. 8:15-bk-11370-CB.

26           "Cash" means legal tender of the United States of America.

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 1           “Cash Collateral Motions” has the meaning ascribed to such term in Section

 2 II.E.1.b. of the Disclosure Statement.

 3           "Cause of Action" means, without limitation, any and all actions, causes of action,

 4 controversies, liabilities, obligations, rights, suits, damages, judgments, Claims (as defined

 5 in Code § 101(5)) and demands whatsoever, whether known or unknown, reduced to

 6 judgment, liquidated or unliquidated, fixed or contingent, matured or unmatured, disputed

 7 or undisputed, secured or unsecured, assertable directly or derivatively, existing or

 8 hereafter arising, in law, equity, or otherwise that the Debtor and/or the Estate may hold

 9 against any Person as of the Effective Date, including, without limitation, the Tarnutzer

10 Litigation and the Appeal.

11           “CFTB" means the California Franchise Tax Board.

12           "Claim" means a claim, as the term "claim" is defined in Bankruptcy Code

13 § 101(5), against the Debtor.

14           "Class" or "Class of Claims" means a group of Claims as classified in the Plan.

15           "Comstock Avenue Property" means the real property located at 7632 Comstock

16 Avenue, Whittier, California 90602, as more fully described in Section II.A.3 of the

17 Disclosure Statement.

18           "Confirmation Date" means the date on which the Court enters the Confirmation

19 Order on its docket.

20           "Confirmation Hearing" means the hearing held by the Court on the confirmation

21 of the Plan.

22           "Confirmation Order" means the Court order confirming the Plan under

23 Bankruptcy Code § 1129.

24           "Court" means the United States Bankruptcy Court for the Central District of

25 California, Santa Ana Division.

26           "Debtor" refers to David Tudor Chamberlain.

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 1           "Debtor’s Commissions" means the monthly gross wages and commissions

 2 earned by the Debtor as discussed in Section II.C. of the Disclosure Statement and as

 3 reflected on Exhibit “1” to the Disclosure Statement.

 4           "Debtor’s Income" means, collectively, the Debtor’s Commissions, the OCTSC

 5 Income and the Net Real Property Income as discussed in Section II.C. of the Disclosure

 6 Statement and as reflected on Exhibit “1” to the Disclosure.

 7           "Del Amo Blvd. Property" means the real property located at 12350 Del Amo

 8 Blvd., Suite 169, Lakewood, California 90713, as more fully described in Section II.A.9 of

 9 the Disclosure Statement.

10           "Denni Street Property" means the real property located at 9062-9062.5 Denni

11 Street, Cypress, California 90630, as more fully described in Section II.A.10 of the

12 Disclosure Statement.

13           "Disclosure Statement" means the Debtor's Disclosure Statement Describing

14 Chapter 11 Plan of Reorganization, including any modifications or amendments to the

15 Disclosure Statement.

16           "Disputed Claim" means a Claim that has not been allowed or disallowed and to

17 which either: (i) a Proof of Claim has been Filed or deemed Filed and the Debtor or

18 another party in interest has Filed an objection; (ii) no Proof of Claim has been Filed and

19 the Claim was not scheduled or the Debtor has scheduled such claim as disputed,

20 contingent, unliquidated or unknown.

21           "Distribution" means any distribution pursuant to the Plan to the Holders of an

22 Allowed Claim.

23           "Distribution Date" means the date upon which the Distribution was made.

24           "Domingo Villas" means Domingo Villas, Inc.

25           "DV Bankruptcy Case" means that chapter 11 bankruptcy case filed by Domingo

26 Villas on September 1, 2011 in the United States Bankruptcy Court for the Central District

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 1 of California, Case No. 8:11-bk-22391-CB, which bankruptcy case was closed in June

 2 2012.

 3           "DV Property" means the real property previously owned by Domingo Villas, and

 4 sold in the DV Bankruptcy Case.

 5           "DV Sale Proceeds" means the proceeds from the sale of the DV Property in the

 6 DV Bankruptcy Case.

 7           "Effective Date" means the first Business Date that is at least 15 days after the

 8 entry of the Confirmation Order.

 9           "Effective Date Payments" means Distributions or payments required by the Plan

10 to be made by the Debtor on the Effective Date.

11           "Estate" means the bankruptcy estate created in the Debtor's case under

12 Bankruptcy Code § 541.

13           "Fern" means, collectively, Martin D. Fern and Linda Taylor-Fern, individually and

14 as Trustees of the Fern-Taylor Family Trust.

15           "Fern State Court Action" means that action commenced by the Debtor against

16 Fern and First Realm on December 22, 2015, in the Orange County Superior Court,

17 entitled Chamberlain v. Fern, et. al, Case No. 30-2015-00826601-CU-BC-CJC, as

18 discussed in Section II.E.3. of the Disclosure Statement.

19               “Fern Non-Dischargeablility Action” means that Complaint to Determine

20 Nondischargeability of Debts Pursuant to 11 U.S.C. §§ 523(a) and 524(a)(3), filed by Fern

21 on June 9, 2017, with respect to Fern’s claims against the Debtor, as discussed in Section

22 II.E.3. of the Disclosure Statement.

23           "Fern Litigation" means, collectively, the Fern State Court Action, the Fern Non-

24 Dischargeablility Action and any claims against the Debtor asserted by Fern by way of a

25 Proof of Claim in the Debtor’s Case [Claim No. 12], or otherwise, as discussed in Section

26 II.E.3. of the Disclosure Statement.

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 1           "File," "Filed," or "Filing" means duly and properly filed with the Court and

 2 reflected on the Court's official docket.

 3           "Final Order" means an order or judgment of the Court or the Appellate Court

 4 entered on the Court's or the Appellate Court’s docket.

 5           a.       That has not been reversed, rescinded, stayed, modified, or amended;

 6           b.       That is in full force and effect; and

 7           c.       With respect to which (i) the time for appeal or to seek review, remand,

 8                    rehearing, or a writ of certiorari has expired and as to which no timely Filed

 9                    appeal or petition for review, rehearing, remand, or writ of certiorari is

10                    pending, or (ii) any such appeal or petition has been dismissed or resolved

11                    by the highest court to which the order or judgment was appealed or from

12                    which review, rehearing, remand, or a writ of certiorari was sought.

13               “First Realm” means First Realm, LLC.

14           "Force 10" means Force 10 Partners LLC.

15           "General Unsecured Claim" means an unsecured Claim against the Debtor,

16 however arising, not entitled to priority under Section 507 of the Bankruptcy Code.

17           "Holder" means an entity holding a Claim.

18           “Interpled DV Sale Proceeds” means the DV Sale Proceeds that were interpled

19 in the State Court Action which are held in an interest-bearing account and total

20 approximately $1.82 million, as discussed in Section II.E.2. of the Disclosure Statement.

21           "IRS" means the Internal Revenue Service.

22           "LaSalle Street Property" means the real property located at 8832-8846 LaSalle

23 Street, Cypress, California 90630, as more fully described in Section II.A.2 of the

24 Disclosure Statement.

25           "Liquidating Agent" means the person that may be, under the circumstances set

26 forth in Article II.D.1.b. of the Plan, appointed to conduct the Sale and/or Refinancing of

27 the Real Property in place of the Debtor. Prior to the Confirmation Hearing, the Debtor

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 1 shall submit to the Court the identity of the Liquidating Agent and an agreement with the

 2 Liquidating Agent setting forth the terms of such appointment.

 3           "LWGF" means Lobel Weiland Golden Friedman LLP.

 4           "N. Olive Street Property" means the real property located at 728 N. Olive Street,

 5 Anaheim, California 92805, as more fully described in Section II.A.7 of the Disclosure

 6 Statement.

 7           "Nevada Property" means the real property located at 321-325 Cincinnati Avenue,

 8 Las Vegas, Nevada, as more fully described in Section II.A.5 of the Disclosure Statement.

 9           "New Hampshire Property" means the real property located at 281-289

10 Merrimack & 274 Amory, Manchester, New Hampshire, as more fully described in Section

11 II.A.4 of the Disclosure Statement.

12           "Newman Street Property" means the real property located at 5623 Newman

13 Street, Cypress, California 90630, as more fully described in Section II.A.8 of the

14 Disclosure Statement.

15           "OCTSC Income" means the Debtor’s monthly income from OCTSC Partners I,

16 LLC as discussed in Section II.C. of the Disclosure Statement and as reflected on Exhibit

17 “1” to the Disclosure Statement.

18           "ORAP Lien" means that the lien allegedly created on certain of the Debtor’s pre-

19 petition non-exempt personal property by the service of an order to appear for a judgment

20 debtor exam by Tarnutzer related to the Tarnutzer Judgment.

21           "Net Real Property Income" means the Debtor’s monthly net income from the

22 Real Property as discussed in Section II.C. of the Disclosure Statement and as reflected

23 on Exhibit “1” to the Disclosure Statement.

24           "Non-Ordinary Course Administrative Claims" means Administrative Claims

25 that are not Ordinary Course Administrative Claims, Administrative Tax Claims, or

26 Professional Fee Claims, including Claims that may arise from agreements entered into

27 with the Estate after the Petition Date other than trade agreements.

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 1           "Ordinary Course Administrative Claims" means Administrative Claims other

 2 than Administrative Tax Claims, Professional Fee Claims, and Non-Ordinary Course

 3 Administrative Claims, based upon liabilities that the Debtor incurs in the ordinary course.

 4           "OUST" means the Office of the United States Trustee, Santa Ana Division.

 5           "Pacific Time" means the time in Orange County, California.

 6           "Page Firm" means The Law Office of Gregory S. Page.

 7           "Person" means any individual, corporation, general partnership, limited

 8 partnership, limited liability company, association, joint-stock company, joint venture,

 9 estate, trust, government, political subdivision, governmental unit (as defined in the

10 Bankruptcy Code), official committee appointed by the OUST, unofficial committee of

11 creditors, or entity.

12           "Petition Date" refers to the petition date of the Debtor, April 9, 2017.

13           "Plan" means the Debtor’s Chapter 11 Plan of Reorganization, including any

14 modifications or amendments to the Plan.

15           “PPB Cash Collateral Stipulation” has the meaning ascribed to such term in

16 Section II.E.1.b. of the Disclosure Statement.

17           “PPB Cross-Collateralized Secured Claim” means the secured claim asserted

18 by Pacific Premier Bank against the Newman Street Property, the Bishop Street Property,

19 the Del Amo Blvd. Property and the Denni Street Property, as discussed in Sections

20 II.A.8.-11. of the Disclosure Statement.

21           “PPB UCC-1” means the UCC-1 filed by Pacific Premier Bank with the California

22 Secretary of State on December 4, 2014, as Instrument No. 13-7389473570, against

23 personal property related to the Newman Street Property, the Bishop Street Property, the

24 Del Amo Blvd. Property and the Denni Street Property, as discussed in Sections II.A.8.-

25 11. of the Disclosure Statement.

26           "Priority Claim" means an Allowed Claim entitled to priority against the Estate

27 under Bankruptcy Code §§ 507(a)(3)-(7).

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 1           "Priority Tax Claim" means an Allowed Claim entitled to priority against the Estate

 2 under Bankruptcy Code § 507(a)(8).

 3           "Professionals" collectively means the persons and entities employed by the

 4 Debtor pursuant to order of the Court in accordance with Bankruptcy Code §§ 327 or

 5 1103.

 6           "Professional-Fee Claim" means:

 7           a.    A Claim under Bankruptcy Code §§ 327, 328, 330, 331, 503, or 1103 for

 8                 compensation for professional services rendered or expenses incurred on

 9                 the Estate's behalf, or

10           b.    A Claim either under Bankruptcy Code § 503(b)(4) for compensation for

11                 professional services rendered or under Bankruptcy Code § 503(b)(3)(D) for

12                 expenses incurred in making a substantial contribution to the Estate.

13           "Proof of Claim" means a written statement filed in a Case by a creditor in which

14 the creditor sets forth the amount of its Claim, in accordance with Rule 3001 of the

15 Bankruptcy Rules.

16           "Real Property" means, collectively, the Surfside Property, the LaSalle Street

17 Property, the Comstock Avenue Property, the New Hampshire Property, the Nevada

18 Property, the Vonnie Lane Property, the N. Olive Street Property, the Newman Street

19 Property, the Del Amo Blvd. Property, the Denni Street Property, the Bishop Street

20 Property, the San Alto Way Property, the Stratton Court Property, the 8479 Cedarview

21 Court Property and the 8475 Cedarview Court Property, each as more particularly

22 described in Section II.A. of the Disclosure Statement.

23           "Real Property Income" means the monthly gross income from the Real Property

24 as discussed in Section II.C. of the Disclosure Statement and as reflected on Exhibit “1” to

25 the Disclosure Statement.

26           "Real Property Lenders" means, collectively, the lenders with respect to each of

27 the Real Property.

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 1           "Refinance" means the refinancing of some or all of the Real Property to pay the

 2 Allowed Claims of Tarnutzer, Fern and/or Effective Date payments, in full, as provided by

 3 the Plan.

 4           "Reorganized Debtor" means the Debtor post-confirmation.

 5           "Request for Payment" means a request for the payment of an Ordinary Course

 6 Administrative Claim or a Non-Ordinary Course Administrative Claim as described in

 7 Section II.B.1 of the Plan.

 8           "Sale" means the sale of some or all of the Real Property to pay the Allowed

 9 Claims of Tarnutzer, Fern and/or Effective Date payments, in full, as provided by the Plan.

10           "San Alto Way Property" means the real property located at 6844 San Alto Way,

11 Buena Park, California 90620, as more fully described in Section II.A.12 of the Disclosure

12 Statement.

13           "Schedules" means the Schedules of Assets and Liabilities filed by the Debtor in

14 the Case, as required by § 521(1) of the Code, Bankruptcy Rules 1007(a)(3) and (b)(l),

15 and Official Bankruptcy Form No. 106, as the Schedules may be amended from time to

16 time.

17           "Secured Claim" means a Claim that is secured by a valid and unavoidable lien

18 against property in which the Estate has an interest or that is subject to setoff under

19 Bankruptcy Code § 553. A Claim is a Secured Claim only to the extent of the value of the

20 Claim Holder’s interest in that property or to the extent of the amount subject to setoff, as

21 applicable, as determined under Bankruptcy Code § 506(a).

22           "SOFA" means the Debtor's statements of financial affairs.

23           "Stratton Court Property" means the real property located at 10418 Stratton

24 Court, Cypress, California 90630, as more fully described in Section II.A.13 of the

25 Disclosure Statement.

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 1           "Surfside Property" means the real property located at 103 Surfside Avenue A,

 2 Surfside, California 90743, as more fully described in Section II.A.1 of the Disclosure

 3 Statement.

 4           "Tarnutzer" means Rick Tarnutzer, as trustee of the 1997 Troy Trust.

 5           "Tarnutzer Judgment" means the judgment against the Debtor in favor of

 6 Tarnutzer in the Tarnutzer Litigation, entered in the State Court Action on October 16,

 7 2016, as thereafter amended by order entered April 10, 2017, as discussed in Section

 8 II.E.2. of the Disclosure Statement.

 9           "Tarnutzer Lien" means that the lien allegedly created by the recording of the

10 abstract of judgment by Tarnutzer related to the Tarnutzer Judgment in Orange, Los

11 Angeles, Riverside and San Bernardino counties.

12           “Tarnutzer Litigation” or “State Court Action” means that action commenced by

13 Domingo Villas on June 15, 2011, in the Orange County Superior Court, Central Justice

14 Center, entitled Domingo Villas, Inc. v. Rick Tarnutzer, et. al, Case No. 30-2011-

15 00484245, as discussed in Section II.E.2. of the Disclosure Statement.

16           "Tarnutzer Loan" means that $2.6 million loan to Domingo Villas by Tarnutzer,

17 secured by the DV Property and personally guaranteed by the Debtor, as discussed in

18 Section II.E.2. of the Disclosure Statement.

19           "Tax Code" means the Internal Revenue Code.

20           "Undeliverable Distribution" means a Distribution to any Holder of an Allowed

21 Claim that is returned to the Reorganized Debtor as undeliverable or otherwise unclaimed.

22           "Vogele Firm" means Thomas Vogele & Associates, APC.

23           "Vonnie Lane Property" means the real property located at 5641-5643 Vonnie

24 Lane, Cypress, California 90630, as more fully described in Section II.A.6 of the

25 Disclosure Statement.

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                                                                          1           David Tudor Chamberlain, the debtor and debtor-in-possession herein (the

                                                                          2 "Debtor"),1 provides this Disclosure Statement Describing Chapter 11 Plan of

                                                                          3 Reorganization (the "Disclosure Statement") to creditors, pursuant to 11 U.S.C. § 1125, in

                                                                          4 connection with the solicitation of acceptances of his Chapter 11 Plan of Reorganization

                                                                          5 (the "Plan") filed with the United States Bankruptcy Court for the Central District of

                                                                          6 California, Santa Ana Division (the "Court") in the above-captioned chapter 11 bankruptcy

                                                                          7 case (the "Case").

                                                                          8

                                                                          9 I.        INTRODUCTION

                                                                         10           The Case was commenced by the filing of a voluntary chapter 11 petition under the
Lobel Weiland Golden Friedman LLP




                                                                         11 United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq. (the "Bankruptcy Code" or the
                                                      Fax 714-966-1002




                                                                         12 "Code"), on April 9, 2017 (the "Petition Date").
                                      650 Town Center Drive, Suite 950
                                        Costa Mesa, California 92626




                                                                         13           Chapter 11 allows debtors, and, under some circumstances, creditors and other

                                                                         14 parties in interest to propose a plan. A plan may provide for a debtor to reorganize by
                                    Tel 714-966-1000




                                                                         15 continuing to operate, to liquidate by selling assets of the estate, or a combination of both.

                                                                         16 The Debtor is the proponent of the Plan, which was sent to you in the same envelope as

                                                                         17 these documents. THE DOCUMENT YOU ARE READING IS THE DISCLOSURE

                                                                         18 STATEMENT FOR THE ENCLOSED PLAN. Your rights may be affected. You should

                                                                         19 read these papers carefully and discuss them with your attorney, if you have one.

                                                                         20 (If you do not have an attorney, you may wish to consult one).

                                                                         21           The Plan is a reorganizing plan. As described in detail below, all Allowed Claims

                                                                         22 against the Debtor will be paid in full, including all Allowed Secured Claims, Allowed

                                                                         23 Priority Claims and Allowed General Unsecured Claims. In this regard, the Plan provides

                                                                         24 for the following treatment of Allowed Claims:

                                                                         25

                                                                         26       1
                                                                                   Any capitalized terms not defined in the text of this Disclosure Statement are defined in the Table of
                                                                              Definitions found at the end of the Disclosure Statement.
                                                                         27

                                                                         28
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 1                     Allowed Secured Claims of the Real Property Lenders are classified

 2                      in Classes 1 through 15. Certain Real Property Lenders (Classes 3,

 3                      6, 7, 8, 9, 10, 11,12, 13, 14 and 15) shall have their debt obligations

 4                      modified with respect to repayment terms and interest rates as

 5                      provided in the Plan, and are entitled to vote on the Plan. Other Real

 6                      Property Lenders (Classes 1, 2, 4 and 5) (as well as the Debtor’s

 7                      secured car lease with Alliant Credit Union (Class 17) and Secured

 8                      Tax Claims (Class 18)) shall retain, unaltered, all of their legal,

 9                      equitable and contractual rights, and, consequently, shall be deemed

10                      to vote in favor of the Plan.

11                     Allowed Priority Claims (Class 19) will either be paid in full on the

12                      Effective Date of the Plan, or will be paid over time in accordance with

13                      the provisions of the Bankruptcy Code.

14                     Allowed General Unsecured Claims (with the exception of any

15                      unsecured claims of Tarnutzer or Fern) (Class 20) will be paid in full

16                      on the Effective Date of the Plan.

17                     Any Allowed Claim of Tarnutzer based on a Final Order in the

18                      Tarnutzer Litigation will be paid in full in accordance with the terms of

19                      the Plan.

20                     Any Allowed Claim of Fern based on a Final Order in the Fern

21                      Litigation will be paid in full in accordance with the terms of the Plan.

22                     Any Allowed Claim of Tarnutzer based on a Final Order in the

23                      Tarnutzer Litigation, will be satisfied first from the Interpled DV Sale

24                      Proceeds (in the amount of approximately $1.8 million) and,

25                      thereafter, to the extent necessary to pay such Allowed Claim in full,

26                      from a Sale and/or Refinancing of some or all of the Real Property, as

27                      provided by the Plan. Such payment to Tarnutzer pursuant to the

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 1                         Plan will be made within one hundred and twenty (120) days following

 2                         the entry of a Final Order providing Tarnutzer with an Allowed Claim

 3                         against the Debtor.

 4                        Any Allowed Claim of Fern based on a Final Order in the Fern

 5                         Litigation will be satisfied from a Sale and/or Refinancing of some or

 6                         all of the Real Property, as provided by the Plan. Such payment to

 7                         Fern pursuant to the Plan will be made within one hundred and

 8                         twenty (120) days following the entry of a Final Order providing Fern

 9                         with an Allowed Claim against the Debtor; provided, however, that if

10                         Fern obtains an Allowed Claim prior to resolution of the Tarnutzer

11                         Litigation, Fern shall be granted a lien on the Real Property subject to

12                         the Tarnutzer Lien, junior to the existing liens thereon, to secure such

13                         Allowed Claim and shall be paid within one hundred and twenty (120)

14                         days following the entry of a Final Order resolving the Tarnutzer

15                         Litigation.

16                        Payments to creditors (other than to Tarnutzer and Fern) under the

17                         Plan will be funded with the Real Property Income and the Debtor’s

18                         Income.

19                        Effective Date payments on account of General Unsecured Claims

20                         (Class 20) and Professional Fee Claims will be satisfied from the

21                         Debtor’s Income and/or proceeds of a Sale and/or Refinancing of the

22                         Real Property.

23           The Effective Date of the Plan will be the first Business Day that is at least fifteen

24 (15) after the entry of an order confirming the Plan (the "Confirmation Order"), provided

25 there has been no order staying the effectiveness of the Confirmation Order.

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 1           A.    The Purpose of This Document

 2           The Disclosure Statement summarizes what is in the Plan and tells you certain

 3 information relating to the Plan and the process the Court follows in determining whether

 4 or not to confirm the Plan.

 5           READ THIS DISCLOSURE STATEMENT CAREFULLY IF YOU WANT TO KNOW

 6 ABOUT:

 7           1.    WHO CAN VOTE ON OR OBJECT TO THE PLAN;

 8           2.    WHAT THE TREATMENT OF YOUR CLAIM IS UNDER THE PLAN (i.e.,

 9                 what you will receive on account of your Claim if the Plan is

10                 confirmed), AND HOW THIS TREATMENT COMPARES TO WHAT YOUR

11                 CLAIM WOULD RECEIVE IN LIQUIDATION IN CHAPTER 7;

12           3.    THE HISTORY OF THE DEBTOR AND SIGNIFICANT EVENTS DURING

13                 THE BANKRUPTCY CASE;

14           4.    WHAT THE COURT WILL LOOK AT TO DECIDE WHETHER OR NOT TO

15                 CONFIRM THE PLAN;

16           5.    WHAT IS THE EFFECT OF CONFIRMATION; AND

17           6.    WHETHER THE PLAN IS FEASIBLE.

18           This Disclosure Statement cannot tell you everything about your rights. You should

19 consider consulting your own lawyer to obtain more specific advice on how the Plan will

20 affect you and what is the best course of action for you. Lobel Weiland Golden Friedman

21 LLP ("LWGF"), general insolvency counsel for the Debtor, does not represent you.

22           Be sure to read the Plan as well as the Disclosure Statement. If there are any

23 inconsistencies between the Plan and Disclosure Statement, the Plan provisions will

24 govern.

25           The Code requires that a disclosure statement contain "adequate information"

26 concerning the Plan. By order entered on ___________, 2017, the Court approved this

27 document as an adequate Disclosure Statement, containing enough information to enable

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     1120604.1                                    4                     DISCLOSURE STATEMENT
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 1 parties affected by the Plan to make an informed judgment about the Plan. Any party can

 2 now solicit votes for or against the Plan.2

 3           B.     Deadlines for Voting and Objecting; Date of the Plan Confirmation

 4                  Hearing

 5           THE COURT HAS NOT YET CONFIRMED THE PLAN DESCRIBED IN THIS

 6 DISCLOSURE STATEMENT. IN OTHER WORDS, THE TERMS OF THE PLAN ARE

 7 NOT YET BINDING ON ANYONE. HOWEVER, IF THE COURT LATER CONFIRMS

 8 THE PLAN, THEN THE PLAN WILL BE BINDING ON THE DEBTOR AND ON ALL

 9 CREDITORS IN THIS CASE.

10                  1.      Time and Place of the Confirmation Hearing

11           The hearing where the Court will determine whether or not to confirm the Plan will

12 take place on ______________, 2017, at ______, in Courtroom 5D of the United States

13 Bankruptcy Courthouse located at the Ronald Reagan Federal Building and Courthouse,

14 411 West Fourth Street, Santa Ana, California 92701-4593.

15                  2.      Deadline for Voting for or Against the Plan

16           If you are entitled to vote, it is in your best interest to timely vote on the enclosed

17 ballot and return the ballot in the enclosed envelope to LWGF, Attn: Beth E. Gaschen,

18 Esq. and Lori A. Gauthier, 650 Town Center Drive, Suite 950, Costa Mesa, California

19 92626.

20           Your ballot must be received no later than 5:00 p.m. (Pacific Time)

21 ____________, 2017, or it will not be counted.

22                  3.      Deadline for Objecting to the Confirmation of the Plan

23           Objections to the confirmation of the Plan must be Filed with the Court and served

24 upon counsel for the Debtor so as to be received on or before ____________, 2017.

25

26       2
          The Disclosure Statement has not yet been approved. A hearing on the approval of the Disclosure
     Statement will take place on August 2, 2017 at 10:00 a.m.
27

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     1120604.1                                          5                        DISCLOSURE STATEMENT
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 1                  4.      Identity of Person to Contact for More Information Regarding the

 2                          Plan

 3           Any interested party desiring further information about the Plan should contact

 4 Jeffrey I. Golden, Alan J. Friedman or Beth E. Gaschen of LWGF, by phone at (714) 966-

 5 1000 or by email at jgolden@lwgfllp.com, afriedman@lwgfllp.com or

 6 bgaschen@lwgfllp.com.

 7           C.     Disclaimer

 8           The financial data relied upon in formulating the Plan is based on the financial

 9 records of the Debtor, projections created by the Debtor or his financial professionals, or

10 information provided by other parties in interest. The professionals employed by the

11 Debtor drafted the Plan and the Disclosure Statement based on this information and have

12 no independent knowledge regarding the accuracy of the data. The Court has not yet

13 determined whether or not the Plan is confirmable and makes no recommendation as to

14 whether or not you should support or oppose the Plan.

15

16 II.       BACKGROUND

17           The Debtor has been a real estate broker for 35 years and, together with his non-

18 filing wife, Linda, and two other family members, operates Team Chamberlain Realty

19 Executives, a real estate brokerage firm based in Los Alamitos, California. The Debtor

20 also owns fifteen pieces of real property in California, Nevada and New Hampshire

21 (defined herein as the "Real Property").3 The Real Property is collectively valued at

22 approximately $15.2 million and secured claims against the Real Property (and certain

23 personal property related to the Real Property) collectively total approximately $6.4

24 million, not including a judgment lien against certain of the Real Property asserted by Rick

25

26       3
          The Real Property is owned by the Debtor and his non-filing wife, Linda Chamberlain, as community
     property.
27

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 1 Tarnutzer, as Trustee of the 1997 Troy Trust (“Tarnutzer”), purportedly securing a

 2 judgment in the approximate amount of $2.5 million4 which is currently being appealed by

 3 the Debtor (defined herein, respectively, as the “Tarnutzer Lien,” the “Tarnutzer

 4 Judgment” and the “Appeal”). The Debtor also has personal property assets collectively

 5 valued at approximately $2.4 million (not including encumbrances or applicable

 6 exemptions thereon). The Debtor also asserts that he is entitled to the amount of

 7 approximately $1.8 million in funds interpled in the state court in connection with the

 8 litigation with Tarnutzer (defined herein, respectively, as the “Interpled DV Sale Proceeds,”

 9 and the “Tarnutzer Litigation” or “State Court Action”). The Debtor has various unsecured

10 claims totaling the amount of approximately $5.2 million, including a disputed claim

11 asserted by Fern, in the amount of approximately $4.1 million.5

12           Except for the Surfside Property (the Debtor’s personal residence) and a portion of

13 the New Hampshire Property, the Real Property is subject to leases, pursuant to which

14 the tenants make monthly rental payments to the Debtor. The rents from these income-

15 generating real estate assets (i.e., the Real Property Income), as well as the Debtor’s

16 income from his real estate business (i.e., the Debtor’s Income), will be utilized to fund the

17 Debtor’s payments to creditors (other than Tarnutzer and Fern) under the Plan, which

18 provides for the payment of all Allowed Claims in full.

19           In addition, to the extent that Tarnutzer is ultimately successful in obtaining an

20 Allowed Claim against the Debtor by way of a Final Order in connection with the appeal

21 process in the Tarnutzer Litigation, any such Allowed Claim will be paid first from the

22

23       4
         As set forth in the Proof of Claim filed by Tarnutzer on June 1, 2017 [Claim No. 7], Tarnutzer asserts
   that the Tarnutzer Judgment totaled, as of the Petition Date, the amount of $3,353,009.53, with the amount
24 of $2,547,300.81 being secured and the amount of $805,708.72 being unsecured.
         5
         As set forth in the Proof of Claim filed by Fern on June 12, 2017 [Claim No. 12], Fern asserts an
25
   unsecured claim against the Debtor in the amount of $4,132,500 (plus damages according to proof,
26 attorneys’ fees and costs) based on a proposed cross-complaint it wished to file in the Fern Litigation, that
   was stayed by the filing of the Debtor’s Case. On June 9, 2017, Fern filed a Complaint to Determine
   Nondischargeability of Debts Pursuant to 11 U.S.C. §§ 523(a) and 524(a)(3) with respect to this claim.
27

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 1 Interpled DV Sale Proceeds and, thereafter, to the extent necessary, through a Sale

 2 and/or Refinancing of some or all of the Real Property. In addition to the approximately

 3 $1.8 million in Interpled DV Sale Proceeds, there is significant equity in the Real Property

 4 – approximately $8.8 million in the aggregate – available to satisfy any Allowed Claim

 5 determined by Final Order to be due and owing to Tarnutzer.

 6           Similarly, to the extent that Fern is ultimately successful in obtaining an Allowed

 7 Claim against the Debtor by way of a Final Order in connection with the Fern Litigation,

 8 any such Allowed Claim will be paid through a Sale and/or Refinancing of some or all of

 9 the Real Property.

10           Effective Date payments on account of Professional Fee Claims and Class 20

11 General Unsecured Claims will be satisfied from the Debtor’s Income and/or proceeds of

12 a Sale and/or Refinancing of the Real Property.

13           A.     The Debtor's Real Property Assets

14                  1.     The Surfside Property

15           The Debtor owns and resides at the real property located at 103 Surfside Avenue

16 A, Surfside, California 90743 (the “Surfside Property"). The Surfside Property consists of

17 a 2,508 sq. ft. single family residence built in 1976 and located on a 1,874 sq. ft. ocean

18 view lot. The Surfside Property has been valued at $3,500,000. The current expenses

19 related to the Surfside Property are set forth in Exhibit “1” hereto.

20           There are two deeds of trust recorded against the Surfside Property, as follows:

21 (1) a deed of trust recorded on April 15, 2008 as Instrument No. 2008000174973 in favor

22 Colorado Federal Savings Bank, which was subsequently assigned to Compass Bank

23 and, thereafter, to Roundpoint Mortgage, securing an obligation in the amount of

24 approximately $1,494,000 as of the Petition Date; and (2) a deed of trust recorded on

25 March 6, 2012 as Instrument No. 2012000126015 in favor of Wells Fargo Bank (which

26 deed of trust references and incorporates a fictitious deed of trust recorded on June 14,

27 2007 as Instrument No. 2007000527107), securing an obligation in the amount of

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 1 approximately $197,000 as of the Petition Date.6 Also recorded against the Surfside

 2 Property (and the Debtor’s other Real Property located in California) is the Tarnutzer Lien.

 3           The equity in the Surfside Property (without taking into account the Tarnutzer Lien)

 4 is approximately $1,809,000.

 5                   2.       The LaSalle Street Property

 6           The Debtor owns real property located at 8832-8846 LaSalle Street, Cypress,

 7 California 90630 (the “LaSalle Street Property"). The LaSalle Street Property consists of a

 8 4,944 sq. ft. 9-unit apartment building built in 1969 and located on a 19,845 sq. ft. lot. The

 9 LaSalle Street Property has been valued at $2,000,000. The current income and

10 expenses related to the LaSalle Street Property are set forth in Exhibit “1” hereto.

11           There are two deeds of trust recorded against the LaSalle Street Property, as

12 follows: (1) a deed of trust recorded on November 7, 2007 as Instrument No.

13 2007000673914, in favor of Washington Mutual Bank, which was subsequently assigned

14 to Chase Commercial Bank, securing an obligation in the amount of approximately

15 $578,000 as of the Petition Date; and (2) a deed of trust recorded on March 11, 2016 as

16 Instrument No. 2016000101545, in favor of Ann Leisy, securing an obligation in the

17 amount of approximately $162,000 as of the Petition Date. Also recorded against the

18 LaSalle Street Property (and the Debtor’s other Real Property located in California) is the

19 Tarnutzer Lien.

20           The equity in the LaSalle Street Property (without taking into account the Tarnutzer

21 Lien) is approximately $1,260,000.

22                   3.       The Comstock Avenue Property

23           The Debtor owns real property located at 7632 Comstock Avenue, Whittier,

24 California 90602 (the “Comstock Avenue Property"). The Comstock Avenue Property

25
         6
           Prior to the Petition Date, two additional deeds of trust were recorded against the Surfside Property, in
26
     favor of Gregory Page and Eileen Cathro. Such liens were subsequently released, and are not
     encumbrances against the Surfside Property.
27

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 1 consists of a 4,600 sq. ft. 12-unit apartment building built in 1954 and located on a 7,000

 2 sq. ft. lot. The Comstock Avenue Property has been valued at $1,800,000. The current

 3 income and expenses related to the Comstock Avenue Property are set forth in Exhibit “1”

 4 hereto.

 5           The Comstock Avenue Property is subject to a deed of trust recorded on February

 6 6, 2004 as Instrument No. 040274990, in favor of Washington Mutual Bank, which was

 7 subsequently assigned to Chase Commercial Bank, securing an obligation in the amount

 8 of approximately $380,000 as of the Petition Date. Also recorded against the Comstock

 9 Avenue Property (and the Debtor’s other Real Property located in California) is the

10 Tarnutzer Lien.

11           The equity in the Comstock Property (without taking into account the Tarnutzer

12 Lien) is approximately $1,420,000.

13                   4.      The New Hampshire Property

14           The Debtor owns real property located at 281-289 Merrimack & 274 Amory,

15 Manchester, New Hampshire (the “New Hampshire Property"). The New Hampshire

16 Property consists of 12-unit apartment building built in 1920. The New Hampshire

17 Property has been valued at $1,000,000. The current income and expenses related to the

18 New Hampshire Property are set forth in Exhibit “1” hereto.7

19           The New Hampshire Property is subject to a deed of trust recorded on November

20 18, 2004 as Instrument No. 4108398 in favor of Digital Federal Credit Union, securing an

21 obligation in the amount of approximately $378,000 as of the Petition Date. The New

22 Hampshire Property is not subject to the Tarnutzer Lien.

23           The equity in the New Hampshire Property is approximately $622,000.

24

25

26       7
          Only the real property located at 281-289 Merrimack is currently rented. The real property located at
     274 Amory is not rented.
27

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 1                 5.     The Nevada Property

 2           The Debtor owns real property located at 321-325 Cincinnati Avenue, Las Vegas,

 3 Nevada (the “Nevada Property"). The Nevada Property consists of a 20-unit apartment

 4 building built in phases between 1956 and 1957 on approximately 0.38 acres of land. The

 5 Nevada Property has been valued at $860,000. The current income and expenses

 6 related to the Nevada Property are set forth in Exhibit “1” hereto.

 7           The Nevada Property is subject to a deed of trust recorded on February 11, 2013

 8 as Instrument No. 201302110000845 in favor of U.S. Bank Trust Company, N.A., securing

 9 an obligation in the amount of approximately $209,000 as of the Petition Date. The

10 Nevada Property is not subject to the Tarnutzer Lien.

11           The equity in the Nevada Property is approximately $651,000.

12                 6.     The Vonnie Lane Property

13           The Debtor owns real property located at 5641-5643 Vonnie Lane, Cypress,

14 California 90630 (the “Vonnie Lane Property"). The Vonnie Lane Property consists of a

15 7,825 sq. ft. multi-unit complex built in 1947 and located on a 7,911 sq. ft. lot. The Vonnie

16 Lane Property has been valued at $700,000. The current income and expenses related to

17 the Vonnie Lane Property are set forth in Exhibit “1” hereto.

18           The Vonnie Lane Property is subject to a deed of trust recorded on March 29, 2006

19 as Instrument No. 2006000206171, in favor of BrooksAmerica Mortgage Corporation,

20 which was subsequently assigned to Wells Fargo Bank, securing an obligation in the

21 amount of approximately $444,000 as of the Petition Date. Also recorded against the

22 Vonnie Lane Property (and the Debtor’s other Real Property located in California) is the

23 Tarnutzer Lien.

24           The equity in the Vonnie Lane Property is approximately $252,000.

25                 7.     The N. Olive Street Property

26           The Debtor owns real property located at 728 N. Olive Street, Anaheim, California

27 92805 (the “N. Olive Street Property"). The N. Olive Street Property consists of a 6,057

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 1 sq. ft. multi-unit complex built in 1922 and located on a 5,965 sq. ft. lot. The N. Olive

 2 Street Property has been valued at $660,000. The current income and expenses related

 3 to the N. Olive Street Property are set forth in Exhibit “1” hereto.

 4             There are two deeds of trust recorded against the N. Olive Street Property, as

 5 follows: (1) a deed of trust recorded on April 21, 2006 as Instrument No. 2006000270694,

 6 in favor of BrooksAmerica Mortgage Corporation, which was subsequently assigned to

 7 Wells Fargo Bank, securing an obligation in the amount of approximately $187,000 as of

 8 the Petition Date; and (2) a deed of trust recorded on January 6, 2015 as Instrument No.

 9 2015000004197, in favor of Pacific Premier Bank, securing an obligation in the amount of

10 approximately $150,000 as of the Petition Date. Also recorded against the N. Olive Street

11 Property (and the Debtor’s other Real Property located in California) is the Tarnutzer Lien.

12             The equity in the N. Olive Street Property (without taking into account the Tarnutzer

13 Lien) is approximately $323,000.

14                     8.       The Newman Street Property

15             The Debtor owns real property located at 5623 Newman Street, Cypress, California

16 90630 (the “Newman Street Property"). The Newman Street Property consists of a 7,045

17 sq. ft. multi-unit complex built in 1964 and located on an 8,096 sq. ft. lot. The Newman

18 Street Property has been valued at $1,250,000. The current income and expenses

19 related to the Newman Street Property are set forth in Exhibit “1” hereto.

20             The Newman Street Property is subject to a deed of trust recorded on December

21 20, 2013 as Instrument No. 2013000700324, in favor of Pacific Premier Bank, securing an

22 obligation in the amount of approximately $600,000 as of the Petition Date.8,9 Also

23
         8
             As discussed herein, Pacific Premier Bank is a lender to the Debtor in connection with five (5) Real
24 Properties, the N. Olive Street Property, the Newman Street Property, the Bishop Street Property, the Del
     Amo Blvd. Property and the Denni Street Property. As discussed above, Pacific Premier Bank asserts a
25 secured claim, as of the Petition Date, in the amount of approximately $150,000 against the N. Olive Street
     Property. Pacific Premier Bank also asserts a cross-collateralized secured claim, as of the Petition Date, in
26 the aggregate amount of approximately $1.3 million against the Newman Street Property, the Bishop Street
     Property, the Del Amo Blvd. Property and the Denni Street Property (the “PPB Cross-Collateralized Secured
27 Claim”). The aggregate value of the Newman Street Property (valued at $1,250,000), the Del Amo Blvd.
                                                                                                       (Continued...)
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 1 recorded against the Newman Street Property (and the Debtor’s other Real Property

 2 located in California) is the Tarnutzer Lien.

 3             The equity in the Newman Street Property (without taking into account the cross-

 4 collateralization of the Pacific Premier Bank liens on the Newman Street Property, the Del

 5 Amo Blvd. Property, the Denni Street Property and the Bishop Street Property, or the

 6 Tarnutzer Lien), is approximately $650,000.

 7                     9.      The Del Amo Blvd. Property

 8             The Debtor owns real property located at 12350 Del Amo Blvd., Suite 169,

 9 Lakewood, California 90713 (the “Del Amo Blvd. Property"). The Del Amo Blvd. Property

10 consists of a multi-unit complex built in 1971 and located on a 14.38 acre lot. The Del

11 Amo Blvd. Property has been valued at $620,000. The current income and expenses

12 related to the Del Amo Blvd. Property are set forth in Exhibit “1” hereto.

13             The Del Amo Blvd. Property is subject to a deed of trust recorded on December 20,

14 2013 as Instrument No. 20131789424, in favor of Pacific Premier Bank, securing an

15 obligation in the amount of approximately $250,000 as of the Petition Date.10 Also

16 recorded against the Del Amo Blvd. Property (and the Debtor’s other Real Property

17 located in California) is the Tarnutzer Lien.

18
         (...Continued)
19
   Property (valued at $620,000), the Denni Street Property (valued at $600,000) and the Bishop Street
20 Property (valued at $515,000), is approximately $2,985,000 which, after accounting for the PPB Cross-
   Collateralized Secured Claim (in the aggregate amount of approximately $1.3 million), leaves approximately
21 $1,685,000 in aggregate equity in these four (4) Real Property.
         9
             Pacific Premier Bank filed a UCC-1 filed with the California Secretary of State on December 4, 2014,
22 as Instrument No. 13-7389473570, against all inventory, equipment, accounts, chattel paper, instruments
     (including but not limited to all promissory notes), letter-of-credit rights, letters of credit, documents, deposit
23 accounts, investment property, money, other rights to payment and performance, general intangibles
     (including but not limited to all software and all payment intangibles), and all fixtures related to the Newman
24 Street Property, the Bishop Street Property, the Del Amo Blvd. Property and the Denni Street Property (the
     “PPB UCC-1”).
25       10
         See discussion in footnotes 6 and 7 above regarding Pacific Premium Bank’s assertion of the PPB
26 Cross-Collateralized Secured Claim (in the aggregate amount of approximately $1.3 million) against the
   Newman Street Property, the Bishop Street Property, the Del Amo Blvd. Property and the Denni Street
27 Property.

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 1            The equity in the Del Amo Blvd. Property (without taking into account the cross-

 2 collateralization of the Pacific Premier Bank liens on the Newman Street Property, the Del

 3 Amo Blvd. Property, the Denni Street Property and the Bishop Street Property, or the

 4 Tarnutzer Lien), is approximately $383,000.

 5                  10.     The Denni Street Property

 6            The Debtor owns real property located at 9062-9062.5 Denni Street, Cypress,

 7 California 90630 (the “Denni Street Property"). The Denni Street Property consists of a

 8 805 sq. ft. single family residence built in 1946 and located on a 10,781 sq. ft. lot. The

 9 Denni Street Property has been valued at $600,000. The current income and expenses

10 related to the Denni Street Property are set forth in Exhibit “1” hereto.

11            The Denni Street Property is subject to a deed of trust recorded on December 20,

12 2013 as Instrument No. 2013000700323, in favor of Pacific Premier Bank, securing an

13 obligation in the amount of approximately $233,000 as of the Petition Date.11 Also

14 recorded against the Denni Street Property (and the Debtor’s other Real Property located

15 in California) is the Tarnutzer Lien.

16            The equity in the Denni Street Property (without taking into account the cross-

17 collateralization of the Pacific Premier Bank liens on the Newman Street Property, the Del

18 Amo Blvd. Property, the Denni Street Property and the Bishop Street Property, or the

19 Tarnutzer Lien), is approximately $367,000.

20                  11.     The Bishop Street Property

21            The Debtor owns real property located at 5532 Bishop Street, Cypress, California

22 90630 (the “Bishop Street Property"). The Bishop Street Property consists of a 760 sq. ft.

23 single family residence built in 1946 and located on a 6,875 sq. ft. lot. The Bishop Street

24

25       11
         See discussion in footnotes 6 and 7 above regarding Pacific Premium Bank’s assertion of the PPB
   Cross-Collateralized Secured Claim (in the aggregate amount of approximately $1.3 million) against the
26
   Newman Street Property, the Bishop Street Property, the Del Amo Blvd. Property and the Denni Street
   Property.
27

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 1 Property has been valued at $515,000. The current income and expenses related to the

 2 Bishop Street Property are set forth in Exhibit “1” hereto.

 3            The Bishop Street Property is subject to a deed of trust recorded on December 20,

 4 2013 as Instrument No. 2013000700321, in favor of Pacific Premier Bank, securing an

 5 obligation in the amount of approximately $201,000 as of the Petition Date.12 Also

 6 recorded against the Bishop Street Property (and the Debtor’s other Real Property located

 7 in California) is the Tarnutzer Lien.

 8            The equity in the Bishop Street Property (without taking into account the cross-

 9 collateralization of the Pacific Premier Bank liens on the Newman Street Property, the Del

10 Amo Blvd. Property, the Denni Street Property and the Bishop Street Property, or the

11 Tarnutzer Lien), is approximately $314,000.

12                  12.     The San Alto Way Property

13            The Debtor owns real property located at 6844 San Alto Way, Buena Park,

14 California 90620 (the “San Alto Way Property"). The San Alto Way Property consists of a

15 1,210 sq. ft. single family residence built in 1955 and located on a 6,000 sq. ft. lot. The

16 San Alto Way Property has been valued at $500,000. The current income and expenses

17 related to the San Alto Way Property are set forth in Exhibit “1” hereto.

18            The San Alto Way Property is subject to a deed of trust recorded on December 7,

19 2004 as Instrument No. 2004001088413, in favor of IndyMac Bank, F.S.B., which was

20 subsequently assigned to OCWEN, securing an obligation in the amount of approximately

21 $261,000 as of the Petition Date. Also recorded against the San Alto Way Property (and

22 the Debtor’s other Real Property located in California) is the Tarnutzer Lien.

23

24

25       12
         See discussion in footnotes 6 and 7 above regarding Pacific Premium Bank’s assertion of the PPB
   Cross-Collateralized Secured Claim (in the aggregate amount of approximately $1.3 million) against the
26
   Newman Street Property, the Bishop Street Property, the Del Amo Blvd. Property and the Denni Street
   Property.
27

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 1           The equity in the San Alto Way Property (without taking into account the Tarnutzer

 2 Lien) is approximately $237,000.

 3                 13.    The Stratton Court Property

 4           The Debtor owns real property located at 10418 Stratton Court, Cypress, California

 5 90630 (the “Stratton Court Property"). The Stratton Court Property consists of a 1,306 sq.

 6 ft. single family residence built in 1955 and located on a 1,075 sq. ft. lot. The Stratton

 7 Court Property has been valued at $436,000. The current income and expenses related

 8 to the Stratton Court Property are set forth in Exhibit “1” hereto.

 9           The Stratton Court Property is subject to a deed of trust recorded on August 15,

10 2005 as Instrument No. 2005000636158, in favor of Express Capital Lending, which was

11 subsequently assigned to OCWEN, securing an obligation in the amount of approximately

12 $270,000 as of the Petition Date. Also recorded against the Stratton Court Property (and

13 the Debtor’s other Real Property located in California) is the Tarnutzer Lien.

14           The equity in the Stratton Court Property (without taking into account the Tarnutzer

15 Lien) is approximately $164,000.

16                 14.    The 8479 Cedarview Court Property

17           The Debtor owns real property located at 8479 Cedarview Court, Cypress,

18 California 90630 (the “8479 Cedarview Court Property"). The 8479 Cedarview Court

19 Property consists of a 1,196 sq. ft. condominium built in 1980. The 8479 Cedarview Court

20 Property has been valued at $400,000. The current income and expenses related to the

21 8479 Cedarview Court Property are set forth in Exhibit “1” hereto.

22           The 8479 Cedarview Court Property is subject to a deed of trust recorded on

23 December 12, 2005 as Instrument No. 2005000986160, in favor of Guaranty Bank, which

24 was subsequently assigned to OCWEN, securing an obligation in the amount of

25 approximately $238,000 as of the Petition Date. Also recorded against the 8479

26 Cedarview Court Property (and the Debtor’s other Real Property located in California) is

27 the Tarnutzer Lien.

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 1            The equity in the 8479 Cedarview Court Property (without taking into account the

 2 Tarnutzer Lien) is approximately $161,000.

 3                   15.     The 8475 Cedarview Court Property

 4            The Debtor owns real property located at 8475 Cedarview Court, Cypress,

 5 California 90630 (the “8475 Cedarview Court Property"). The 8475 Cedarview Court

 6 Property consists of a 985 sq. ft. condominium built in 1980. The 8475 Cedarview Court

 7 Property has been valued at $375,000. The current income and expenses related to the

 8 8475 Cedarview Court Property are set forth in Exhibit “1” hereto.

 9            The 8475 Cedarview Court Property is subject to a deed of trust recorded on

10 December 9, 2005 as Instrument No. 2005000985621, in favor of Guaranty Bank, which

11 was subsequently assigned to OCWEN, securing an obligation in the amount of

12 approximately $238,000 as of the Petition Date. Also recorded against the 8475

13 Cedarview Court Property (and the Debtor’s other Real Property located in California) is

14 the Tarnutzer Lien.

15            The equity in the 8475 Cedarview Court Property (without taking into account the

16 Tarnutzer Lien) is approximately $136,000.

17            B.     The Debtor's Personal Property Assets

18            In addition to the Real Property, and as set forth in the Schedules, as of the Petition

19 Date, the Debtor held personal property assets valued at approximately $2,423,000

20 (exclusive of any applicable exemptions and encumbrances).13

21

22
         13
           In addition to existing encumbrances on the Debtor’s personal property assets (including, without
23
   limitation, the security interest in the Debtor’s vehicle held by Alliant Credit Union and the PPB UCC-1,
24 Tarnutzer may assert a judicial lien on certain of the Debtor’s pre-petition, non-exempt personal property as
   a result of the service of an order to appear for a judgment debtor exam in connection with the Tarnutzer
25 Litigation (defined herein as the “ORAP Lien”). The Debtor does not contemplate disposing of his personal
   property assets under the Plan and such personal property assets will remain subject to any valid
26 encumbrances thereon, including any valid ORAP Lien. Upon payment in full on account of any Allowed
   Claim of Tarnutzer from the Debtor’s Real Property as provided by the Plan, the ORAP Lien shall be
   deemed expunged from the Debtor’s personal property assets without further action by any party.
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 1            The Debtor’s personal property assets include a 2007 Mercedes valued at $16,000

 2 (less applicable exemption), a 2010 Chevrolet Tahoe valued at $16,000, a 2011 Chevrolet

 3 Impala valued at $8,000, and a 2016 Tesla valued at approximately $73,000 (which

 4 vehicle is encumbered by a security interest in favor of Alliant Credit Union in the amount

 5 of approximately $86,000), various personal and household items with a value of

 6 approximately $70,300 (exclusive of applicable exemptions), approximately $69,000 in

 7 various bank accounts (exclusive of applicable exemptions and encumbrances), and stock

 8 in a publicly-traded company, Polar Power, valued at approximately $91,000. In addition,

 9 the Debtor (along with this non-filing wife) holds interests in the following entities:

10 (1) 100% ownership of Domingo Villas, Inc. (defined herein as “Domingo Villas”) with an

11 unknown value;14 (2) 100% ownership of First Choice Escrow, Inc. with a value of

12 approximately $260,000; (3) 100% ownership of Coast Financial Group with a value of

13 $0.00; and (4) 1% ownership of OCTSC Partners I, LLC with a value of approximately

14 $40,000. The Debtor also holds a judgment in the amount of approximately $276,000

15 against Paul Wakin, Monsen Tovoussi, Carmet LTD., Orange County Surgery Center, Inc.

16 and PT Partners, LLC (which judgment is currently on appeal), and a breach of contract

17 claim against Fern and First Realm valued in an unknown amount.

18            In addition to the foregoing, as discussed in further detail in Section II.E.2. hereof,

19 there is the amount of approximately $1.8 million in Interpled DV Sale Proceeds, which

20 represent undistributed proceeds from the sale of the assets of Domingo Villas (an entity

21 wholly owned by the Debtor). The Debtor believes that the Interpled DV Sale Proceeds

22 should be released to Domingo Villas (as there has been a determination in the State

23 Court Action that Tarnutzer has no claim against that entity) and, as 100% owner of

24 Domingo Villas, the funds should be released to the Debtor. In such event, the Debtor will

25
         14
           As discussed in further detail in Section II.E.2. hereof, Domingo Villas was the owner of the DV
26
     Property, which was sold in 2012. The remaining proceeds from the Sale of the DV Property are currently
     being held in connection with the Tarnutzer Litigation as the Interpled DV Sale Proceeds.
27

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 1 utilize the $1.8 million as the initial source of funding for the repayment of any Allowed

 2 Claim of Tarnutzer under the Plan. Alternatively, even if Tarnutzer were determined to be

 3 entitled to some or all of Interpled DV Sale Proceeds, any such funds would be applied to

 4 the outstanding amount of any debt owed to Tarnutzer, reducing the balance owed to

 5 Tarnutzer to be paid under the Plan. In any event, the Interpled DV Sale Proceeds will be

 6 utilized as a source of repayment on account of any Allowed Claim of Tarnutzer.

 7           C.    The Debtor's Income and Budget Motion

 8           On June 5, 2017, the Debtor filed with the Court amended Schedules I and J

 9 ("Amended Schedules I and J") [Docket No. 98]. As indicated on Amended Schedules I

10 and J, the Debtor currently earns monthly gross wages and commissions (the "Debtor's

11 Commissions") in the amount of $36,694, monthly income from OCTSC Partners I, LLC

12 (the "OCTSC Income") in the amount of $613; and monthly net income from the Real

13 Property (the "Net Real Property Income") in the amount of $1,384, for total monthly

14 income in the amount of $38,691 (collectively, the Debtor's Commissions, the OCTSC

15 Income and the Net Real Property Income is referred to as the "Debtor's Income").

16           On June 6, 2017, the Debtor filed a Motion for approval of the Debtor’s budget for

17 the use of the Debtor’s Income and cash (the “Budget Motion”) [Docket No, 103]. A

18 hearing on approval of the Budget Motion is scheduled for June 28, 2017.

19           D.    The Events that Led to the Chapter 11 Filing

20           As of the Petition Date, the Debtor was current on his monthly payment obligations

21 to the Real Property Lenders with respect to the Real Property and had substantial equity

22 in the Real Property over and above the liens of the Real Property Lenders –

23 approximately $8.8 million in the aggregate. As described in further detail hereinbelow,

24 the filing of the Petition was precipitated by the entry of the Tarnutzer Judgment against

25 the Debtor, asserted to be in the amount of approximately $3.5 million as of the Petition

26 Date, and the subsequent judgment enforcement actions undertaken by Mr. Tarnutzer

27 that resulted in the Tarnutzer Lien and the ORAP Lien (as such terms are defined herein)

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 1 against certain of the Debtor’s assets. The Debtor intends to pursue his Appeal of the

 2 Tarnutzer Judgment and believes that he will ultimately be successful in reversing the

 3 Tarnutzer Judgment by way of the Appeal. The Debtor, however, did not have sufficient

 4 liquidity to post a bond in connection with the Appeal of the Tarnutzer Judgment, nor was

 5 the Debtor able to borrow the funds necessary to post the bond.15

 6            The Debtor’s case was not filed to prejudice the rights of any party in connection

 7 with the Tarnutzer Judgment or otherwise – and the Debtor intends to pay all Allowed

 8 Claims in full. Rather, through this Chapter 11 case, the Debtor intends to pursue his

 9 Appeal of the Tarnutzer Judgment, resolve the Fern Litigation and restructure several of

10 the loans related to the Real Property. To this end, the Plan provides for the restructuring

11 of certain debt of the Real Property Lenders (Classes 3, 6, 7, 8, 9, 10, 11,12, 13, 14 and

12 15) and providing for the payment, in full, of all Claims, including any Claim that is

13 ultimately allowed by Final Order in connection with the Tarnutzer Litigation and/or Fern

14 Litigation.

15            E.    Significant Events During the Bankruptcy Case

16                  1.      Bankruptcy Proceedings

17                          a.       The Order for Relief

18            The Debtor filed a petition for relief under chapter 11 of the Bankruptcy Code on

19 April 9, 2017.

20                          b.       The Use of Cash Collateral

21            On April 26, 2017, the Debtor filed five motions seeking the use of cash collateral

22 generated by the Debtor's Real Property, and for approval of budgets to provide for the

23 payment of the expenses of the Debtor's Real Property as set forth therein (the "Cash

24

25       15
          Prior to commencing the Case, the Debtor attempted to borrow the funds necessary to post the bond
   in connection with the Appeal. In order to post the bond, the Debtor needed access to 150% of the amount
26
   of the Tarnutzer Judgment, nearly $4.5 million. To try to raise the necessary funds, the Debtor contacted
   several potential lending sources, but was unsuccessful in obtaining the necessary funds.
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 1 Collateral Motions") [Docket Nos. 25, 26, 27, 28 and 29]. On May 17, 2017, the Debtor

 2 and Pacific Premier Bank entered into a Stipulation Authorizing the Debtor’s Use of Cash

 3 Collateral relating to the Newman Street Property, the Del Amo Blvd. Property, the Denni

 4 Street Property, the Bishop Street Property and the N. Olive Street Property (the “PPB

 5 Cash Collateral Stipulation”) [Docket No. 63]. On May 30, 2017, an amended PPB Cash

 6 Collateral Stipulation was filed with the Court [Docket No. 90] , and on June 6, 2017, the

 7 Court entered its order approving the amended PPB Cash Collateral Stipulation [Docket

 8 No. 100].

 9           Hearings on approval of the Cash Collateral Motions were heard on May 24, 2017,

10 and, on May 26, 2017, the Court entered orders granting the Cash Collateral Motions

11 [Docket Nos. 79, 80, 81, 82 and 83].

12                        c.       The Debtor's Schedules, Statement of Financial Affairs and

13                                 Operating Reports

14           The Debtor believes that the Estate is in compliance with the requirements under

15 11 U.S.C. §§ 521, 1006 and 1107, and the applicable Guidelines of the Office of the

16 United States Trustee (the "OUST"). On April 9, 2017, the Debtor filed certain of his

17 bankruptcy schedules (the "Schedules"), on May 2, 2017, the Debtor filed amended

18 Schedules and his statement of financial affairs ("SOFA") and, on May 5, 2017, the Debtor

19 filed additional amended Schedules and SOFA [Docket Nos. 98 and 99]. The Debtor has

20 prepared and submitted Monthly Operating Reports for the Estate through the filing of this

21 Disclosure Statement. The Debtor is current on the quarterly fees owed to the OUST.

22                        d.       The Employment of Estate Professionals

23           By order entered on May 16, 2017, the Court authorized the employment of LWGF

24 as the Debtor's general insolvency counsel [Docket No. 58]. By order entered June 6,

25 2017, the Court authorized the employment of The Law Office of Gregory S. Page (the

26 "Page Firm") as the Debtor's special litigation counsel [Docket No. 102]. By order entered

27 on June 14, 2017, the Court authorized the employment of Force 10 Partners LLC ("Force

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 1 10") as the Debtor's financial advisors [Docket No. 109]. The Debtor intends to file an

 2 application to employ Thomas Vogele & Associates, APC (the “Vogele Firm”) as the

 3 Debtor’s appellate counsel in connection with the Appeal..

 4                         e.       Claims Bar Date

 5           By order entered May 17, 2017, the Court fixed June 26, 2017 as the last date for

 6 creditors to file Proofs of Claim and October 6, 2017 as the last date for governmental

 7 units to file Proofs of Claim (the “Bar Date”). The Debtor served all creditors and parties in

 8 interest with the Bar Date Notice on May 22, 2017.

 9                         f.       Exclusivity

10           The Bankruptcy Code provides debtors with an initial exclusive period of 120 days

11 from the petition date to file a plan of reorganization, and an initial exclusive period of 180

12 days to solicit acceptances of its plan, subject to the discretion of the bankruptcy court to

13 extend the exclusive periods. During these exclusive periods no other person or entity is

14 permitted to file a plan of reorganization.

15           Here, the Debtor's initial statutory exclusive periods to propose a plan and to obtain

16 acceptances thereof are set to expire on August 7, 2017, and October 6, 2017,

17 respectively.

18                  2.     The Appeal

19           As discussed herein, in addition to seeking to restructure certain loan obligations,

20 the Debtor’s bankruptcy case was necessitated by the entry of the Tarnutzer Judgment

21 against the Debtor in connection with the Tarnutzer Litigation, and the Debtor’s need to

22 pursue the Appeal of this unanticipated adverse ruling.

23           The background of the Tarnutzer Litigation is as follows. Domingo Villas, an entity

24 wholly-owned by the Debtor, was the owner of an 8-unit apartment building which was to

25 be converted to condominiums (the “DV Property”). On May 3, 2007, Tarnutzer made a

26 $2.6 million loan to Domingo Villas, which loan was secured by DV Property and

27 personally guaranteed by the Debtor (the “Tarnutzer Loan”). The proceeds of the

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 1 Tarnutzer Loan were used to pay off Domingo Villa’s existing loan secured by the DV

 2 Property.

 3           From May 2007 until July 2009, Domingo Villas made the payments called for in

 4 connection with the Tarnutzer Loan in the total amount of approximately $480,000 (with

 5 the Debtor making approximately $89,000 in payments as well, for a total of approximately

 6 $569,000 being paid to Tarnutzer during this period). Commencing in July 2009, the

 7 Debtor only began making payments to Tarnutzer on account of the Tarnutzer Loan in the

 8 amount of $100,000 per month (as called for by an extension agreement related to the

 9 Tarnutzer Loan). From July 2009 through January 2011, the Debtor paid a total of

10 $1,557,000 to Tarnutzer on account of the Tarnutzer Loan.

11           In mid-2010, Domingo Villas (and the Debtor as guarantor) advised Tarnutzer that

12 they were seeking to refinance the DV Property at a significantly lower interest rate (5%)

13 than that called for under the Tarnutzer Loan (which was at a 10% interest rate). At that

14 time, Domingo Villas (and the Debtor as guarantor) had obtained preliminary loan

15 approval from Apartment Bank to refinance the DV Property and pay-off the Tarnutzer

16 Loan. In connection with the contemplated refinancing, Domingo Villas and the Debtor

17 requested on numerous occasions that Tarnutzer provide a payoff statement, as

18 expressly required by California law. Tarnutzer, however, refused to provide the required

19 payoff statement. Domingo Villas and the Debtor, therefore, requested that the title

20 company handling the escrow for the contemplated refinancing prepare a proposed payoff

21 statement for Tarnutzer’s review and signature, reflecting the outstanding balance of the

22 Tarnutzer Loan in the amount of $1,345,000. Tarnutzer, however, refused to provide the

23 requisite documentation and, without the payoff statement, Apartment Bank was unwilling

24 and unable to refinance of the DV Property. Under California law, a lender refusing to

25 provide a payoff statement is liable for the damages caused by a failure to provide such

26 information.

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 1           On February 7, 2011, Tarnutzer contacted Domingo Villas and the Debtor via

 2 email, claiming that the balance due under the Tarnutzer Loan (which loan was in the

 3 initial principal amount of $2.6 million and had been substantially paid down) was

 4 approximately $2.1 million – as opposed to the approximately $1.35 million reflected by

 5 Domingo Villa’s and the Debtor’s books and records. In reaching his figure, Tarnutzer

 6 erroneously included interest at a rate of 13%, and included extension and other fees and

 7 charges not supported by the loan documents. Unable to reach agreement, and in light of

 8 Tarnutzer’s actions in thwarting the refinancing of the DV Property which would have paid-

 9 off his loan, Domingo Villas and the Debtor ceased making payments to Tarnutzer on

10 account of the Tarnutzer Loan pending a resolution of the outstanding dispute.

11           In April 2011, Tarnutzer commenced efforts to collect on the Tarnutzer Loan,

12 including recording notices of default, commencing foreclosure proceedings and seeking

13 the appointment of a receiver. In connection with these collection efforts, Tarnutzer then

14 claimed that he was owed over $3.5 million – a figure that exceeded the actual debt by

15 more than $2.1 million. In calculating the amount of the debt, in addition to adding over

16 $500,000 in unsupported interest and charges, Tarnutzer erroneously failed to account for

17 any of the approximately $1.6 million in payments made by the Debtor on account of the

18 Tarnutzer Loan (i.e., Tarnutzer claimed that only the payments made by Domingo Villas –

19 as opposed to payments by the Debtor as guarantor – counted against repayment of the

20 loan). Applying such payments made by the Debtor (approximately $1.6 million), and

21 deducting the inappropriate charges (over $500,000), would work to reduce the debt

22 figure by over $2.1 million to the amount of approximately $1.35 million (i.e.,

23 approximately the amount that Domingo Villas and the Debtor had asserted was owed to

24 Tarnutzer from the outset).

25           Unable to reach a consensual resolution of the disputes, on June 15, 2011,

26 Domingo Villas commenced the State Court Action seeking to resolve these issues,

27 including as to the amount owed and for damages based on Tarnutzer’s failure to provide

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 1 the payoff statement as required by law, thwarting the refinancing of the DV Property at

 2 the lower rate. Tarnutzer filed a cross-complaint in the State Court Action seeking

 3 repayment of the Tarnutzer Loan and enforcement of the Debtor’s personal guaranty,

 4 continuing to overstate the loan balance by over $2.1 million.16

 5            In August 2011, Tarnutzer recorded a notice of trustee’s sale, again alleging a debt

 6 of over $3.5 million. The foreclosure of the DV Property was scheduled for September 2,

 7 2011. To halt the foreclosure sale, on September 1, 2011, Domingo Villas was forced to

 8 commence a chapter 11 bankruptcy case in the United States Bankruptcy Court for the

 9 Central District of California, Case No. 8:11-bk-22391-CB (the “DV Bankruptcy Case”). In

10 the DV Bankruptcy Case, relying on the overstated loan balance, Tarnutzer attempted to

11 obtain relief from the automatic stay and to credit bid at the sale of substantially all of the

12 assets of Domingo Villa. Ultimately, the DV Property was sold to a third party, Novis, for

13 approximately $2.9 million, netting approximately $2.7 million in sale proceeds to the

14 Domingo Villas’ estate (the “DV Sale Proceeds”). Tarnutzer’s lien based on the Tarnutzer

15 Loan (the outstanding balance of which was still at issue) attached to the DV Sale

16 Proceeds.

17            Following the sale of the DV Property, Domingo Villas, the Debtor and Tarnutzer

18 agreed to resolve their disputes as to the outstanding amount due in connection with the

19 Tarnutzer Loan in the pending state court proceeding and, in 2012, the DV Sale Proceeds

20 were interpled in the State Court Action (the “Interpled DV Sale Proceeds”). After

21 accounting for court-authorized disbursements in the amount of $400,000 each to

22 Tarnutzer and the Debtor, there remain Interpled DV Sale Proceeds held in an interest-

23

24
         16
         The Debtor is informed and believes that Tarnutzer may have assigned his rights in this matter to
25
   another entity, Asset Management, during 2011 and may have lacked standing to assert any rights with
26 respect to the Tarnutzer Loan by virtue of said assignment. Simply for ease of reference, the Debtor
   continues to refer herein to any such successor entity as Tarnutzer, but reserves all rights with respect to
   any such assignment and assertion of rights related to the Tarnutzer Loan.
27

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 1 bearing account in the amount of approximately $1.82 million. The DV Bankruptcy Case

 2 was closed in June 2012.

 3             A jury trial in the State Court Action was held in July 2015.17 Following trial, the jury

 4 returned two verdicts. First, that Tarnutzer had no claim against Domingo Villas based on

 5 the Tarnutzer Loan. Inexplicably, however, the jury also found that the Debtor, on account

 6 of his personal guaranty of the Tarnutzer Loan, owed Tarnutzer the principal amount of

 7 approximately $1.97 million (which determination did not include interest, late charges,

 8 extension fees or consequential damages). Following the jury verdicts, the Debtor sought

 9 various relief that the superior court had indicated would be determined by the court

10 following the jury verdicts, including declaratory relief and for an accounting. The superior

11 court denied such relief notwithstanding that such matters – including material information

12 of an accounting of the loan balance calculation and expert testimony with respect thereto

13 – had not been presented to the jury in reaching its determinations as to, among other

14 things, the amount of the debt owed to Tarnutzer.18 In addition, the superior court

15 indicated that it would not determine then who was entitled to the Interpled DV Sale

16 Proceeds, but that such matter would need to be considered in a second phase trial in

17 front of another superior court judge. Ten months after the trial was conducted, the

18 superior court did appoint a forensic accountant as referee to conduct an accounting. The

19 referee set forth five loan calculation scenarios from which the superior court could

20
         17
              The Debtor believes that there were a variety of reversible errors in connection with the trial, including
21 improper instructions to the jury and a failure to allow the jury to consider relevant information regarding an
     accounting of the debt and related matters. These matters are currently at issue in connection with the
22 Appeal.
         18
          The Debtor believes that, had such information been properly provided to the jury, the jury would have
23
   made a finding as to the loan balance due (or, alternatively, had the superior court made such a
24 determination prior to the trial, the jury would have been provided with the court-determined loan balance in
   their deliberations). Had the jury (or the superior court) agreed with the calculation by Domingo Villas and
25 the Debtor (and their expert), and had the jury been properly advised as to the efforts to repay the Tarnutzer
   Loan that were thwarted by Tarnutzer, the jury would have understood that Domingo Villas and the Debtor
   were damaged by Tarnutzer’s actions in miscalculating the loan balance and refusing repayment of the loan.
26
   It would have also resulted in a determination that imposition of interest, fees and costs in connection with
   such inflated debt was improper. These matters are at issue in connection with the Appeal.
27

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 1 choose depending on its interpretation of certain terms of the loan documents, but the

 2 superior court refused to make the requisite determinations and never selected any of the

 3 scenarios set by the referee in his July 2016 report.

 4           On October 17, 2016, based on the jury verdicts, the superior court entered

 5 judgment against the Debtor on account of his guaranty of the Tarnutzer Loan in the

 6 principal amount of approximately $1.97 million. In addition, the superior court added

 7 nearly $1 million in prejudgment interest (notwithstanding that it was Tarnutzer’s failure to

 8 provide a payoff statement as required by California law that prevented the Debtor and

 9 Domingo Villas from repaying the debt back in 2011), for a total award of approximately

10 $2.5 million (after accounting for a credit in the amount of $400,000 paid to Tarnutzer from

11 the Interpled DV Sale Proceeds). Thereafter, in connection with post-trial motions, the

12 superior court was presented with expert testimony that even the court admitted

13 demonstrated errors in Tarnutzer’s loan balance calculation (including a failure to properly

14 and timely credit payments) but, nonetheless, the superior court determined it was

15 powerless to disturb the jury’s fill-in-the-blank verdicts. Thereafter, on April 10, 2017, the

16 superior court entered an amended judgment which further included an award of

17 attorney’s fees and costs of suit to Tarnutzer (together, the “Tarnutzer Judgment”). With

18 accruing interest, the Tarnutzer Judgment had grown to approximately $3.5 million as of

19 the Petition Date.

20           The Debtor believes that the Tarnutzer Judgment was entered against him without

21 justification and constitutes reversible error, in that, among other things, it erroneously

22 failed to consider an accounting as to the proper loan balance, failed to consider the

23 impact of Tarnutzer’s refusal to allow the Tarnutzer Loan to be paid off, and improperly

24 included approximately $1.5 million in prejudgment interest and fees and costs to which

25 Tarnutzer was not entitled. Following the superior court’s denial of the Debtor’s post-trial

26 motions for a judgment notwithstanding the verdict and for a new trial, the Debtor timely

27 appealed the Tarnutzer Judgment (the “Appeal”).

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 1           The Debtor believes that the Tarnutzer Judgment against him based on his

 2 personal guaranty of the Tarnutzer Loan will be reversed (or at the very least significantly

 3 reduced) on Appeal. In addition, based on the determination that Tarnutzer has no claim

 4 against Domingo Villas, the Interpled DV Sale Proceeds should be released to the Debtor

 5 (as the 100% owner of Domingo Villas) and utilized a source of funding for the payment of

 6 any Allowed Claim that may be ultimately be allowed to Tarnutzer.

 7                 3.     The Fern Litigation

 8           On December 22, 2015, the Debtor filed an action against Martin D. Fern and Linda

 9 Taylor-Fern, individually and as Trustees of the Fern-Taylor Family Trust (collectively,

10 “Fern”), and First Realm, LLC (“First Realm”), in the Orange County Superior Court, Case

11 No. 30-2015-00826601-CU-BC-CJC, asserting causes of action for, among other things,

12 breach of contract, fraud and declaratory relief related to the ownership of certain real

13 properties (the “Fern State Court Action”). On February 6, 2016, Fern and First Realm

14 filed an answer in the Fern State Court Action, asserting affirmative defenses, including

15 fraudulent misrepresentation and defamation. On June 12, 2017, Fern filed a Proof of

16 Claim in the Debtor’s Case [Claim No. 12], asserting an unsecured claim against the

17 Debtor in the amount of $4,132,500 (plus damages according to proof, attorneys’ fees and

18 costs) based on a proposed cross-complaint Fern asserts it intended to file in the Fern

19 State Court Action, the filing of which was stayed by the filing of the Debtor’s Case. On

20 June 9, 2017, Fern filed a Complaint to Determine Nondischargeability of Debts Pursuant

21 to 11 U.S.C. §§ 523(a) and 524(a)(3) with respect to Fern’s claim against the Debtor (the

22 “Fern Non-Dischargeablility Action” and, together with the Fern State Court Action, the

23 “Fern Litigation”). For the reasons set forth in the complaint filed against Fern and First

24 Realm in the Fern State Court Action and otherwise, the Debtor disputes the claims

25 asserted by Fern in connection with the Fern Litigation.

26

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 1                 4.     Other Legal Proceedings

 2           With the exception of the Appeal, the Fern Non-Dischargeablility Action and a

 3 pending worker’s compensation case initiated by Ricardo Gutierrez, the Debtor does not

 4 have any litigation pending against him. In addition to the Fern State Court Action, the

 5 Debtor is also a plaintiff in an action against Paul Wakin, Monsen Tovoussi, Carmet LTD.,

 6 Orange County Surgery Center, Inc. and PT Partners, LLC in which the Debtor has

 7 obtained a favorable judgment in the amount of approximately $275,660 (which matter is

 8 currently on appeal by the defendants).

 9                 5.     Actual and Projected Recovery from Avoidance Actions and

10                        Causes of Action

11           The Debtor has not undertaken a full analysis regarding whether meritorious claims

12 for preferential or fraudulent transfers exist. The Debtor is looking into whether the liens

13 asserted against the Debtor’s assets in connection with the Tarnutzer Judgment are

14 subject to avoidance in the Case. Claims for relief for all avoidance actions under 11

15 U.S.C. §§ 544 through 550, including, but not limited to, claims for the recovery of

16 preferential and/or fraudulent transfers, are hereby reserved against any and all Persons

17 and entities. The omission of the identity of a recipient of a potentially avoidable and

18 recoverable transfer of a particular payment is unintentional and shall not be deemed a

19 waiver of the right of the Estate to recover any distribution(s), payment(s), or transfer(s)

20 from any entity under any provision of the Bankruptcy Code.

21           Upon the Effective Date, no party shall have standing to bring or prosecute

22 Avoidance Actions or other Causes of Action, except as specifically set forth below in

23 Section III.F.4.

24

25 III.      SUMMARY OF THE PLAN

26           The following is a summary of the material provisions of the Plan.

27

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 1           A.    Overview of the Plan

 2           The Plan provides for payment in full of all Allowed Claims against the Debtor.

 3 Allowed Secured Claims of the Real Property Lenders will be paid in full over time. The

 4 Allowed Secured Claims of certain Real Property Lenders (Classes 3, 6, 7, 8, 9, 10,

 5 11,12, 13, 14 and 15) shall have their debt obligations modified with respect to repayment

 6 terms and interest rates as provided in the Plan, and are entitled to vote on the Plan. The

 7 Allowed Secured Claims of other Real Property Lenders (Classes 1, 2, 4 and 5), the

 8 Secured Claim of Alliant Credit Union (Class 17) and the Secured Tax Claims (Class 18)

 9 are unimpaired under the Plan. Allowed Priority Claims (Class 19), if any, will either be

10 paid in full on the Effective Date of the Plan, or will be paid over time in accordance with

11 the provisions of the Bankruptcy Code. Allowed General Unsecured Claims (with the

12 exception of any unsecured claims of Tarnutzer or Fern) (Class 20) will be paid in full on

13 the Effective Date of the Plan. Payments to creditors (other than to Tarnutzer and Fern)

14 under the Plan will be funded with the Real Property Income and the Debtor’s Income.

15           Any Allowed Claim of Tarnutzer based on a Final Order in the Tarnutzer Litigation

16 (Class 21) will be paid in full. Any such Allowed Claim will be satisfied first from the

17 Interpled DV Sale Proceeds and, thereafter, to the extent necessary to pay such Allowed

18 Claim in full, from a Sale and/or Refinancing of some or all of the Real Property. Such

19 payment to Tarnutzer pursuant to the Plan will be made within 120 days following the

20 entry of a Final Order providing Tarnutzer with an Allowed Claim against the Debtor.

21           Any Allowed Claim of Fern based on a Final Order in the Fern Litigation (Class 22)

22 will be paid in full. Any such Allowed Claim will be satisfied from a Sale and/or

23 Refinancing of some or all of the Real Property. Such payment to Fern pursuant to the

24 Plan will be made within 120 days following the entry of a Final Order providing Fern with

25 an Allowed Claim against the Debtor; provided, however, that if Fern obtains an Allowed

26 Claim prior to resolution of the Tarnutzer Litigation, Fern shall be granted a lien on the

27 Real Property subject to the Tarnutzer Lien, junior to the existing liens thereon, to secure

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 1 such Allowed Claim and shall be paid within 120 days following the entry of a Final Order

 2 resolving the Tarnutzer Litigation.

 3           Effective Date payments on account of Professional Fee Claims and Class 20

 4 General Unsecured Claims will be satisfied from the Debtors’ Income and/or the proceeds

 5 of a Sale and/or Refinancing of the Real Property.

 6           Unless otherwise expressly stated in the Plan, the treatment of Allowed Claims

 7 under the Plan supersedes any agreements or rights the Holders of those Claims may

 8 have in or against the Debtor or his assets and is in full satisfaction of the legal, equitable,

 9 and contractual rights of the Holders of the Claim.

10           Unless the Plan provides otherwise, no Distributions will be made and no rights

11 retained on account of any Claim that has not become an Allowed Claim.

12           B.    What Creditors Will Receive Under the Proposed Plan

13           As required by the Bankruptcy Code, the Plan classifies Claims in various Classes

14 according to their right to priority. The Plan states whether each Class of Claims is

15 impaired or unimpaired. The Plan provides the treatment each Class will receive. In no

16 event shall any creditor receive more than the creditor's Allowed Claim, plus interest, to

17 the extent provided herein.

18                 1.     Unclassified Claims

19           Certain types of Claims are not placed into voting classes but are instead

20 unclassified. They are not considered impaired and they do not vote on the Plan because

21 they are automatically entitled to certain treatment under the Bankruptcy Code.

22 Accordingly, the following Claims have not been placed into a Class:

23                        a.       Administrative Expenses

24           Administrative Claims are Claims for costs or expenses of administering the

25 Debtor's Case which are allowed under § 507(a)(2) of the Bankruptcy Code. The

26 Bankruptcy Code requires that all Allowed Administrative Claims be paid on the Effective

27 Date of the Plan, unless a particular claimant agrees to a different treatment.

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 1           The following chart lists all of the Debtor's § 507(a)(2) unpaid Administrative Claims

 2 and their treatment under the Plan:
                 Description       Estimated Amount Owed                     Treatment
 3
      Clerk's Office Fees          $0                      Paid in full on or before the Effective Date.
 4    OUST                         $1,950                  Paid in full on or before the Effective Date.

 5    Ordinary-Course              $0                      Unless the Debtor objects to the Ordinary-
      Administrative Claims                                Course Administrative Claim, the Claim will
                                                           be allowed in accordance with the terms and
 6                                                         conditions of the particular transaction giving
                                                           rise to the Ordinary-Course Administrative
 7                                                         Claim, and the Person Holding the Ordinary-
                                                           Course Administrative Claim need not File
                                                           any Request for Payment of its Claim.
 8                                                         However, any Request for Payment, or
                                                           Motion to allow a Claim as an Ordinary-
 9                                                         Course Administrative Claim must be Filed
                                                           with the Court and served on counsel for the
10                                                         Debtor or the Reorganized Debtor, as the
                                                           case may be, and the OUST by no later than
                                                           sixty (60) days after the Effective Date.
11
      Non-Ordinary Course          $0                      To the extent that any Non-Ordinary Course
      Administrative Claims                                Administrative Claims are allowed, they will
12                                                         be paid in full by the Debtor on the later of
                                                           the Effective Date or immediately after the
13                                                         Court enters a Final Order allowing the Non-
                                                           Ordinary Course Administrative Claim.
14    Administrative Tax Claims    $0                      Unless the Debtor objects to an
                                                           Administrative Tax Claim or otherwise
15                                                         disputes the Administrative Tax Claim in
                                                           accordance with applicable law, the Claim
                                                           will be Allowed in accordance with the terms
16                                                         and conditions of the particular transaction
                                                           that gave rise to the Administrative Tax
17                                                         Claim, and the Person Holding the
                                                           Administrative Tax Claim need not File any
18                                                         Request for Payment of its Claim.
                                                           Any Allowed Administrative Tax Claim will be
19                                                         paid in the ordinary course of business,
                                                           currently and timely as they are incurred and
                                                           billed, unless the Debtor objects to or
20                                                         otherwise disputes such Administrative Tax
                                                           Claim in accordance with applicable law. In
21                                                         an event of default, and to the extent such
                                                           Administrative Tax Claim is also secured,
                                                           the payment thereof will include all costs,
22                                                         fees, charges and interest, if applicable, as
                                                           required under 11 U.S.C. §§ 506(b) and 511,
23                                                         and applicable non-bankruptcy law.

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                 Description         Estimated Amount Owed                          Treatment
 1
      LWGF                           $300,000, estimated as of     Paid on the later of (i) the Effective Date or
 2                                   the Effective Date, which     (ii) upon entry of an order approving the
                                     would be in addition to the   Professional Fee Claim, except to the extent
                                     fees and expenses, if any,    that a Holder of such Claim agrees to other
 3                                   paid to LWGF post-            terms. The Debtor intends to make such
                                     petition.19                   payment from the Debtor’s Income and/or
 4                                                                 from the proceeds of a Sale and/or
                                                                   Refinancing of the Real Property.
 5    The Page Firm                  $10,000, estimated as of      Paid on the later of (i) the Effective Date or
                                     the Effective Date, which     (ii) upon entry of an order approving the
 6                                   would be in addition to the   Professional Fee Claim, except to the extent
                                     fees and expenses, if any,    that a Holder of such Claim agrees to other
                                     paid to the Page Firm post-   terms. The Debtor intends to make such
 7                                   petition.                     payment from the Debtor’s Income and/or
                                                                   from the proceeds of a Sale and/or
 8                                                                 Refinancing of the Real Property.
      The Vogele Firm                $50,000, estimated as of      Paid on the later of (i) the Effective Date or
 9                                   the Effective Date, which     (ii) upon entry of an order approving the
                                     would be in addition to the   Professional Fee Claim, except to the extent
10                                   fees and expenses, if any,    that a Holder of such Claim agrees to other
                                     paid to the Vogele Firm       terms. The Debtor intends to make such
                                     post-petition.                payment from the Debtor’s Income and/or
11                                                                 from the proceeds of a Sale and/or
                                                                   Refinancing of the Real Property.
12
      Force 10 Partners LLC          $75,000, estimated as of      Paid on the later of (i) the Effective Date or
                                     the Effective Date, which     (ii) upon entry of an order approving the
13                                   would be in addition to the   Professional Fee Claim, except to the extent
                                     fees and expenses, if any,    that a Holder of such Claim agrees to other
14                                   paid to Force Ten Partners    terms. The Debtor intends to make such
                                     LLC post-petition.            payment from the Debtor’s Income and/or
                                                                   from the proceeds of a Sale and/or
15                                                                 Refinancing of the Real Property.
16    TOTAL                          $436,950

17

18            The following applies to Administrative Claims:

19                                   (1)     Professional Fee Claims

20            Any Professional seeking allowance of a Professional Fee Claim for services

21 rendered prior to the Effective Date in connection with the Debtor's Case must (1) File

22 their application for allowance of compensation and reimbursement of expenses on or

23 before 45 days after the Effective Date or such other date as may be set by the Court, and

24 (2) have the fees and expenses allowed by a Final Order. Any party in interest may File

25
         19
            The estimate of Professional Fee Claims is only an estimate and will change based upon the legal or
26
     financial services required during this Case and upon what the Court ultimately awards to Professionals.
     The Estate remains liable for all allowed professional fees and costs regardless of the estimates.
27

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 1 an objection to such an application within the time provided by the Local Bankruptcy Rules

 2 or within any other period that the Court sets. Persons holding Professional Fee Claims

 3 who do not timely File and serve their applications for payment will be forever barred from

 4 asserting these Claims against the Reorganized Debtor or his property.

 5           As indicated above, the Debtor may need to pay $436,950 worth of Administrative

 6 Claims on the Effective Date of the Plan, unless the claimant has agreed to be paid later

 7 or the Court has not yet ruled on the Claim. Effective Date payments on account of

 8 Professional Fee Claims (and Class 20 General Unsecured Claims) will be satisfied from

 9 the Debtors’ Income and/or the proceeds of a Sale and/or Refinancing of the Real

10 Property.

11                           b.       Priority Tax Claims

12           Priority Tax Claims include certain unsecured income, employment and other taxes

13 described by Bankruptcy Code § 507(a)(8). The Bankruptcy Code requires that each

14 Holder of such a § 507(a)(8) Priority Tax Claim receive the present value of such Claim in

15 regular installment payments in Cash, over a period not exceeding five (5) years from the

16 Petition Date. The following chart lists all of the Debtor's known § 507(a)(8) Priority Tax

17 Claims and their treatment under the Plan:
           Description                  Amount Owed                          Treatment
18
      Internal Revenue        $693                          To the extent that any amounts are
19    Service ("IRS")                                       determined to be owed to the IRS, the
                                                            Debtor or the Reorganized Debtor, as the
                                                            case may be, shall pay in full the allowed
20                                                          amount of its Claim no more than five (5)
                                                            years from the Petition Date. The Claim
21                                                          shall accrue interest from the Effective Date
                                                            on the unpaid balance of the Allowed Priority
                                                            Tax Claim at the rate required by 11 U.S.C.
22                                                          § 511 to provide "present value" of the
                                                            Allowed Priority Tax Claim. The Debtor or
23                                                          the Reorganized Debtor shall have the right
                                                            to pay the balance of the Allowed Priority
24                                                          Tax Claim in full at any time on or after the
                                                            Effective Date without premium or penalty of
                                                            any kind. Payments will be made quarterly,
25                                                          due on the first day of the quarter, starting
                                                            on the first date after the Effective Date and
26                                                          ending on the last such date that is no more
                                                            than five (5) years after the Petition Date.
27    California Franchise    $0                            To the extent that any amounts are
      Tax Board ("CFTB")                                    determined to be owed to the CFTB, the
28                                                          Debtor or the Reorganized Debtor, as the
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           Description         Amount Owed                           Treatment
 1
                                                  case may be, shall pay in full the allowed
                                                  amount of its Claim no more than five (5)
 2                                                years from the Petition Date. The Claim
                                                  shall accrue interest from the Effective Date
 3                                                on the unpaid balance of the Allowed Priority
                                                  Tax Claim at the rate required by 11 U.S.C.
 4                                                § 511 to provide "present value" of the
                                                  Allowed Priority Tax Claim. The Debtor or
                                                  the Reorganized Debtor shall have the right
 5                                                to pay the balance of the Allowed Priority
                                                  Tax Claim in full at any time on or after the
 6                                                Effective Date without premium or penalty of
                                                  any kind. Payments will be made quarterly,
                                                  due on the first day of the quarter, starting
 7                                                on the first date after the Effective Date and
                                                  ending on the last such date that is no more
 8                                                than five (5) years after the Petition Date.

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 1

 2                  2.      Classified Claims

 3                          a.       Summary of Classes
                                                Summary of Classes
 4
      Class #                                             Claimant(s)
 5        1      Secured Claim of Roundpoint Mortgage (1st Trust Deed Surfside Property)

 6        2      Secured Claim of Wells Fargo Bank (2nd Trust Deed Surfside Property)
          3      Secured Claim of Chase Commercial Bank (1st Trust Deed LaSalle Street Property)
 7        4      Secured Claim of Ann Leisy (2nd Trust Deed LaSalle Street Property)
 8        5      Secured Claim of Chase Commercial Bank (1st Trust Deed Comstock Avenue Property)
          6      Secured Claim of Digital Federal Credit Union (1st Trust Deed New Hampshire Property)
 9
          7      Secured Claim of U.S. Bank (1st Trust Deed Nevada Property)
10        8      Secured Claim of Wells Fargo Bank (1st Trust Deed Vonnie Lane Property)
          9      Secured Claim of Wells Fargo Bank (1st Trust Deed N. Olive Street Property)
11
         10      Secured Claim of Pacific Premier Bank (2nd Trust Deed N. Olive Street Property)
12       11      Secured Claim of Pacific Premier Bank (Cross-Collateralized 1st Trust Deeds Newman Street
                 Property, Bishop Street Property, Del Amo Blvd. Property, Denni Street Property and PPB
13               UCC-1)
         12      Secured Claim of OCWEN (1st Trust Deed San Alto Way Property)
14       13      Secured Claim of OCWEN (1st Trust Deed Stratton Court Property)
15       14      Secured Claim of OCWEN (1st Trust Deed 8479 Cedarview Court Property)
         15      Secured Claim of OCWEN (1st Trust Deed 8475 Cedarview Court Property)
16
         16      Secured Claim of Tarnutzer (Tarnutzer Lien)
17       17      Secured Claim of Alliant Credit Union (Tesla)
18       18      Secured Tax Claims
         19      Priority Unsecured Claims
19       20      General Unsecured Claims (other than Tarnutzer and Fern)
20       21      Unsecured Claim of Tarnutzer
         22      Unsecured Claim of Fern
21

22
                            b.       Secured Claims
23
              Secured Claims are Claims secured by liens on property of the Estate. The
24
     following chart lists all Classes of Secured Claim and their treatment under the Plan:
25
                                                 Secured Claims
26    Class #        Description         Insiders Impaired                      Treatment
                                           (Y/N)     (Y/N)
27               Secured Claim of                             Except to the extent that the holder of the
          1      Roundpoint                  N         N      Allowed Class 1 Claim agrees to different
28               Mortgage                                     treatment, the legal, equitable and contractual
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                                                  Secured Claims
 1    Class #        Description          Insiders Impaired                       Treatment
                                            (Y/N)     (Y/N)
 2
                                                               rights to which the holder of the Allowed Class
                  Collateral: Surfside                        1 Claim is entitled shall remain unaltered
 3                                                             under the Plan.
                 Property
 4                Priority of Security
                 Interest: First
 5
                  Total Claim
 6               Amount:
                 $1,494,11520
 7
                  Collateral Value:
 8               approximately
                 $3,500,000
 9               Secured Claim of                                Except to the extent that the holder of the
          2      Wells Fargo Bank            N           N       Allowed Class 2 Claim agrees to different
10                                                               treatment, the legal, equitable and contractual
                  Collateral: Surfside                          rights to which the holder of the Allowed Class
11               Property                                        2 Claim is entitled shall remain unaltered
                                                                 under the Plan.
12                Priority of Security
                 Interest: Second
13
                  Total Claim
14               Amount: $196,765

15               Collateral Value:
                 approximately
16               $3,500,000
                 Secured Claim of                                Except to the extent that the holder of the
17        3      Chase Commercial            N           Y       Allowed Class 3 Claim agrees to different
                 Bank                                            treatment, the Secured Claim of Chase
18                                                               Commercial Bank (LaSalle Street Property)
                  Collateral: LaSalle                           shall be modified as follows:
19               Street Property
                                                                 Interest. Following the Effective Date, simple
20                Priority of Security                          interest shall accrue on the Secured Claim at
                 Interest: First                                 the rate of four and one-quarter percent
                                                                 (4.25%) per annum.
21
                  Total Claim                                   Payments. The monthly payment on account
                 Amount: $577,533                                of the Secured Claim will be due on the first
22                                                               (1st) day of the first calendar month following
                 Collateral Value:                               the Effective Date and will be in an amount
23               approximately                                   equal to (a) the interest accrued on the
                 $2,000,000                                      Secured Claim from the Effective Date
24                                                               through the end of the calendar month in
25
         20
           The claim amounts set forth in this chart are based on the Debtor’s records. Such amounts may vary
26
     from such amounts based on, among other things, the incurrence of interest and/or or payments made on
     account of such Secured Claims following the Petition Date.
27

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                                                  Secured Claims
 1    Class #        Description          Insiders Impaired                         Treatment
                                            (Y/N)     (Y/N)
 2
                                                               which the Effective Date occurs plus (b)
                                                               principal calculated on the basis of a 30-year
 3
                                                               amortization schedule. Thereafter, until
                                                               maturity, a monthly payment will be due on
 4
                                                               the first (1st) day of each successive month in
                                                               an amount equal to (a) the interest accrued on
 5
                                                               the unpaid principal balance of the Secured
                                                               Claim during the previous month plus (b) an
 6
                                                               installment of principal calculated on the basis
                                                               of a 30-year amortization schedule.
 7
                                                               Maturity Date. The Secured Claim will be due
                                                               and payable seven (7) years following the
 8
                                                               Effective Date.
                                                               Other Terms Unchanged. Except to the
 9
                                                               extent provided above, the legal, equitable
                                                               and contractual rights to which the holder of
10
                                                               the Allowed Class 4 Claim was otherwise
                                                               entitled shall remain unaltered under the Plan.
11
                 Secured Claim of                                Except to the extent that the holder of the
12        4                                  Y           N
                 Ann Leisy                                       Allowed Class 4 Claim agrees to different
                                                                 treatment, the legal, equitable and contractual
13
                  Collateral: LaSalle                           rights to which the holder of the Allowed Class
                 Street Property                                 4 Claim is entitled shall remain unaltered
14                                                               under the Plan.
                  Priority of Security
15               Interest: Second
16                Total Claim
                 Amount: $162,342
17
                 Collateral Value:
18               approximately
                 $2,000,000
19               Secured Claim of                                Except to the extent that the holder of the
          5      Chase Commercial            N           N       Allowed Class 5 Claim agrees to different
20               Bank                                            treatment, the legal, equitable and contractual
                                                                 rights to which the holder of the Allowed Class
21                Collateral:                                   5 Claim is entitled shall remain unaltered
                 Comstock Avenue                                 under the Plan.
22               Property

23                Priority of Security
                 Interest: First
24
                  Total Claim
25               Amount: $380,355

26               Collateral Value:
                 approximately
27               $1,800,000
                 Secured Claim of                                Except to the extent that the holder of the
          6      Digital Federal Credit      N           Y       Allowed Class 6 Claim agrees to different
28
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                                                  Secured Claims
 1    Class #        Description          Insiders Impaired                      Treatment
                                            (Y/N)     (Y/N)
 2
                 Union                                         treatment, the Secured Claim of Digital
                                                               Federal Credit Union (New Hampshire
 3
                  Collateral: New                             Property) shall be modified as follows:
                 Hampshire Property
 4                                                              Interest. Following the Effective Date, simple
                  Priority of Security                         interest shall accrue on the Secured Claim at
 5               Interest: First                                the rate of four and one-quarter percent
                                                                (4.25%) per annum.
 6                Total Claim                                  Payments. The monthly payment on account
                 Amount: $380,355                               of the Secured Claim will be due on the first
 7                                                              (1st) day of the first calendar month following
                 Collateral Value:                              the Effective Date and will be in an amount
 8               approximately                                  equal to (a) the interest accrued on the
                 $1,000,000                                     Secured Claim from the Effective Date
 9                                                              through the end of the calendar month in
                                                                which the Effective Date occurs plus (b)
10                                                              principal calculated on the basis of a 30-year
                                                                amortization schedule. Thereafter, until
11                                                              maturity, a monthly payment will be due on
                                                                the first (1st) day of each successive month in
12                                                              an amount equal to (a) the interest accrued on
                                                                the unpaid principal balance of the Secured
13                                                              Claim during the previous month plus (b) an
                                                                installment of principal calculated on the basis
14                                                              of a 30-year amortization schedule.
                                                                Maturity Date. The Secured Claim will be due
15                                                              and payable seven (7) years following the
                                                                Effective Date.
16                                                              Other Terms Unchanged. Except to the
                                                                extent provided above, the legal, equitable
17                                                              and contractual rights to which the holder of
                                                                the Allowed Class 4 Claim was otherwise
18                                                              entitled shall remain unaltered under the Plan.

19               Secured Claim of                               Except to the extent that the holder of the
          7      U.S. Bank                   N           Y      Allowed Class 7 Claim agrees to different
20                                                              treatment, the Secured Claim of U.S. Bank
                  Collateral: Nevada                           (Nevada Property) shall be modified as
21               Property                                       follows:

22                Priority of Security                         Interest. Following the Effective Date, simple
                 Interest: First                                interest shall accrue on the Secured Claim at
23                                                              the rate of four and one-quarter percent
                  Total Claim                                  (4.25%) per annum.
24               Amount: $209,343                               Payments. The monthly payment on account
                                                                of the Secured Claim will be due on the first
25               Collateral Value:                              (1st) day of the first calendar month following
                 approximately                                  the Effective Date and will be in an amount
26               $860,000                                       equal to (a) the interest accrued on the
                                                                Secured Claim from the Effective Date
27                                                              through the end of the calendar month in
                                                                which the Effective Date occurs plus (b)
28                                                              principal calculated on the basis of a 30-year
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                                                  Secured Claims
 1    Class #        Description          Insiders Impaired                         Treatment
                                            (Y/N)     (Y/N)
 2
                                                               amortization schedule. Thereafter, until
                                                               maturity, a monthly payment will be due on
 3
                                                               the first (1st) day of each successive month in
                                                               an amount equal to (a) the interest accrued on
 4
                                                               the unpaid principal balance of the Secured
                                                               Claim during the previous month plus (b) an
 5
                                                               installment of principal calculated on the basis
                                                               of a 30-year amortization schedule.
 6
                                                               Maturity Date. The Secured Claim will be due
                                                               and payable seven (7) years following the
 7
                                                               Effective Date.
                                                               Other Terms Unchanged. Except to the
 8
                                                               extent provided above, the legal, equitable
                                                               and contractual rights to which the holder of
 9
                                                               the Allowed Class 7 Claim was otherwise
                                                               entitled shall remain unaltered under the Plan.
10
                 Secured Claim of                                Except to the extent that the holder of the
11        8                                  N           Y
                 Wells Fargo Bank                                Allowed Class 8 Claim agrees to different
                                                                 treatment, the Secured Claim of Wells Fargo
12
                  Collateral: Vonnie                            Bank (Vonnie Lane Property) shall be
                 Lane Property                                   modified as follows:
13
                  Priority of Security                          Interest. Following the Effective Date, simple
14               Interest: First                                 interest shall accrue on the Secured Claim at
                                                                 the rate of four and one-quarter percent
15                Total Claim                                   (4.25%) per annum.
                 Amount: $444,048                                Payments. The monthly payment on account
16                                                               of the Secured Claim will be due on the first
                 Collateral Value:                               (1st) day of the first calendar month following
17               approximately                                   the Effective Date and will be in an amount
                 $700,000                                        equal to (a) the interest accrued on the
18                                                               Secured Claim from the Effective Date
                                                                 through the end of the calendar month in
19                                                               which the Effective Date occurs plus (b)
                                                                 principal calculated on the basis of a 30-year
20                                                               amortization schedule. Thereafter, until
                                                                 maturity, a monthly payment will be due on
21                                                               the first (1st) day of each successive month in
                                                                 an amount equal to (a) the interest accrued on
22                                                               the unpaid principal balance of the Secured
                                                                 Claim during the previous month plus (b) an
23                                                               installment of principal calculated on the basis
                                                                 of a 30-year amortization schedule.
24                                                               Maturity Date. The Secured Claim will be due
                                                                 and payable seven (7) years following the
25                                                               Effective Date.
                                                                 Other Terms Unchanged. Except to the
26                                                               extent provided above, the legal, equitable
                                                                 and contractual rights to which the holder of
27                                                               the Allowed Class 8 Claim was otherwise
                                                                 entitled shall remain unaltered under the Plan.
28
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                                                  Secured Claims
 1    Class #        Description          Insiders Impaired                     Treatment
                                            (Y/N)     (Y/N)
 2
                 Secured Claim of                             Except to the extent that the holder of the
 3        9                                  N         Y
                 Wells Fargo Bank                             Allowed Class 9 Claim agrees to different
                                                              treatment, the Secured Claim of Wells Fargo
 4
                  Collateral: N. Olive                       Bank (N. Olive Street Property) shall be
                 Street Property                              modified as follows:
 5
                  Priority of Security                       Interest. Following the Effective Date, simple
 6               Interest: First                              interest shall accrue on the Secured Claim at
                                                              the rate of four and one-quarter percent
 7                Total Claim                                (4.25%) per annum.
                 Amount: $187,283                             Payments. The monthly payment on account
 8                                                            of the Secured Claim will be due on the first
                 Collateral Value:                            (1st) day of the first calendar month following
 9               approximately                                the Effective Date and will be in an amount
                 $660,000                                     equal to (a) the interest accrued on the
10                                                            Secured Claim from the Effective Date
                                                              through the end of the calendar month in
11                                                            which the Effective Date occurs plus (b)
                                                              principal calculated on the basis of a 30-year
12                                                            amortization schedule. Thereafter, until
                                                              maturity, a monthly payment will be due on
13                                                            the first (1st) day of each successive month in
                                                              an amount equal to (a) the interest accrued on
14                                                            the unpaid principal balance of the Secured
                                                              Claim during the previous month plus (b) an
15                                                            installment of principal calculated on the basis
                                                              of a 30-year amortization schedule.
16                                                            Maturity Date. The Secured Claim will be due
                                                              and payable seven (7) years following the
17                                                            Effective Date.
                                                              Other Terms Unchanged. Except to the
18                                                            extent provided above, the legal, equitable
                                                              and contractual rights to which the holder of
19                                                            the Allowed Class 9 Claim was otherwise
                                                              entitled shall remain unaltered under the Plan.
20               Secured Claim of                             Except to the extent that the holder of the
         10      Pacific Premier Bank        N         Y      Allowed Class 10 Claim agrees to different
21                                                            treatment, the Secured Claim of Pacific
                  Collateral: N. Olive                       Premier Bank (N. Olive Street Property) shall
22               Street Property                              be modified as follows:

23                Priority of Security                       Interest. Following the Effective Date, simple
                 Interest: Second                             interest shall accrue on the Secured Claim at
24                                                            the rate of five and one-quarter percent
                  Total Claim                                (5.25%) per annum.
25               Amount: $150,321                             Maturity Date. The Secured Claim will be due
                                                              and payable on January 1, 2024.
26               Collateral Value:                            Other Terms Unchanged. Except to the
                 approximately                                extent provided above, the legal, equitable
27               $660,000                                     and contractual rights to which the holder of
                                                              the Allowed Class 10 Claim was otherwise
28                                                            entitled shall remain unaltered under the Plan.
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                                                  Secured Claims
 1    Class #        Description          Insiders Impaired                     Treatment
                                            (Y/N)     (Y/N)
 2
                 Cross-Collateralized                         Except to the extent that the holder of the
 3       11                                  N         Y
                 Secured Claim of                             Allowed Class 11 Claim agrees to different
                 Pacific Premier Bank                         treatment, the Cross-Collateralized Secured
 4                                                            Claim of Pacific Premier Bank (Newman
                  Collateral:                                Street Property, Bishop Street Property, Del
 5               Newman Street                                Amo Blvd. Property, Denni Street Property
                 Property, Bishop                             and PPB UCC-1) shall be modified as follows:
 6               Street Property, Del
                 Amo Blvd. Property,                          Interest. Following the Effective Date, simple
 7               Denni Street                                 interest shall accrue on the Secured Claim at
                 Property and PPB                             the rate of four and one-quarter percent
 8               UCC-1                                        (4.25%) per annum.
                                                              Other Terms Unchanged. Except to the
 9                Priority of Security                       extent provided above, the legal, equitable
                 Interest: First                              and contractual rights to which the holder of
10                                                            the Allowed Class 11 Claim was otherwise
                  Total Claim                                entitled shall remain unaltered under the Plan.
11               Amount: $1,142,254

12               Collateral Value:
                 approximately
13               $2,985,000
                 Secured Claim of                             Except to the extent that the holder of the
14       12      OCWEN                       N         Y      Allowed Class 12 Claim agrees to different
                                                              treatment, the Secured Claim of OCWEN
15                Collateral: San                            (Stratton Court Property) shall be modified as
                 Alto Way Property                            follows:
16
                  Priority of Security                       Interest. Following the Effective Date, simple
                 Interest: First                              interest shall accrue on the Secured Claim at
17
                                                              the rate of four and one-quarter percent
18                Total Claim                                (4.25%) per annum.
                 Amount: $260,867                             Other Terms Unchanged. Except to the
                                                              extent provided above, the legal, equitable
19                                                            and contractual rights to which the holder of
                 Collateral Value:
                 approximately                                the Allowed Class 12 Claim was otherwise
20               $500,000                                     entitled shall remain unaltered under the Plan.
21
                 Secured Claim of                             Except to the extent that the holder of the
22       13      OCWEN                       N         Y      Allowed Class 13 Claim agrees to different
                                                              treatment, the Secured Claim of OCWEN
23                Collateral: Stratton                       (Stratton Court Property) shall be modified as
                 Court Property                               follows:
24
                  Priority of Security                       Interest. Following the Effective Date, simple
25               Interest: First                              interest shall accrue on the Secured Claim at
                                                              the rate of four and one-quarter percent
26                Total Claim                                (4.25%) per annum.
                 Amount: $270,160                             Other Terms Unchanged. Except to the
27                                                            extent provided above, the legal, equitable
                 Collateral Value:                            and contractual rights to which the holder of
28
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                                                  Secured Claims
 1    Class #        Description          Insiders Impaired                      Treatment
                                            (Y/N)     (Y/N)
 2
                 approximately                                 the Allowed Class 13 Claim was otherwise
                 $436,000                                      entitled shall remain unaltered under the Plan.
 3
                 Secured Claim of                                Except to the extent that the holder of the
 4       14                                  N           Y
                 OCWEN                                           Allowed Class 14 Claim agrees to different
                                                                 treatment, the Secured Claim of OCWEN
 5
                  Collateral: 8479                              (8479 Cedarview Court Property) shall be
                 Cedarview Court                                 modified as follows:
 6               Property
                                                                 Interest. Following the Effective Date, simple
 7                Priority of Security                          interest shall accrue on the Secured Claim at
                 Interest: First                                 the rate of four and one-quarter percent
 8                                                               (4.25%) per annum.
                  Total Claim                                   Other Terms Unchanged. Except to the
 9               Amount: $237,521                                extent provided above, the legal, equitable
                                                                 and contractual rights to which the holder of
10               Collateral Value:                               the Allowed Class 14 Claim was otherwise
                 approximately                                   entitled shall remain unaltered under the Plan.
11               $400,000
                 Secured Claim of                                Except to the extent that the holder of the
12       15      OCWEN                       N           Y       Allowed Class 15 Claim agrees to different
                                                                 treatment, the Secured Claim of OCWEN
13                Collateral: 8475                              (8475 Cedarview Court Property) shall be
                 Cedarview Court                                 modified as follows:
14               Property
                                                                 Interest. Following the Effective Date, simple
15                Priority of Security                          interest shall accrue on the Secured Claim at
                 Interest: First                                 the rate of four and one-quarter percent
16                                                               (4.25%) per annum.
                  Total Claim                                   Other Terms Unchanged. Except to the
17               Amount: $237,521                                extent provided above, the legal, equitable
                                                                 and contractual rights to which the holder of
18               Collateral Value:                               the Allowed Class 15 Claim was otherwise
                 approximately                                   entitled shall remain unaltered under the Plan.
19               $375,000
                 Secured Claim of                                To the extent that the creditor in this Class is
20       16      Tarnutzer                   N           Y       determined to have an Allowed Secured
                                                                 Claim, such Allowed Secured Claim will be
21                Collateral:                                   paid in full within 120 days from the entry of a
                 Judgment Lien on                                Final Order in the Tarnutzer Litigation allowing
22               certain Real Property                           the Claim. Any such Allowed Claim will be
                 and Personal                                    satisfied first from the Interpled DV Sale
23               Property                                        Proceeds and, thereafter, to the extent
                                                                 necessary, from the proceeds of a Sale and/or
                  Priority of Security                          Refinancing of some or all of the Real
24
                 Interest: junior to                             Property.
                 liens of Real
25               Property Lenders
                 and pre-existing liens
26               on personal property
27                Total Claim
                 Amount: $2,547,301
28
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                                                  Secured Claims
 1    Class #        Description          Insiders Impaired                     Treatment
                                            (Y/N)     (Y/N)
 2
                  Collateral Value
 3
                 (Real Property):
                 Approximately $7.6
 4               million (Claimant
                 does not have a lien
 5               against the New
                 Hampshire Property
 6               or the Nevada
                 Property). Under the
 7               Plan, the value from
                 which the Class 16
 8               Claim may be paid is
                 approximately $1.8
 9               million in Interpled
                 DV Sale Proceeds
10               and approximately
                 $8.8 million in total
11               equity in Real
                 Property (which
12               figure includes the
                 value of the New
13               Hampshire Property
                 and the Nevada
14               Property)
                 Secured Claim of                             Except to the extent that the holder of the
         17      Alliant Credit Union        N         N      Allowed Class 17 Claim agrees to different
15                                                            treatment, the legal, equitable and contractual
                  Collateral: Lien on                        rights to which the holder of the Allowed Class
16               Tesla                                        17 Claim is entitled shall remain unaltered
                                                              under the Plan.
17                Priority of Security
                 Interest: First
18
                  Total Claim
19               Amount: $86,648
20               Collateral Value:
                 approximately
21               $73,000
                 Secured Tax Claims                           Except to the extent that the holder of the
22       18                                  N         N      Allowed Class 18 Claim agrees to different
                  Los Angeles:                               treatment, the legal, equitable and contractual
23               $12,761                                      rights to which the holder of the Allowed Class
                  Orange County:                             18 Claim is entitled shall remain unaltered
24               $51,854                                      under the Plan.

25

26
              If a secured creditor disputes the value of its collateral as stated above, that
27
     secured creditor must timely File an objection to confirmation of the Plan, or the value
28
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 1 stated by the Debtor may be determined to be the value of the collateral. The objection

 2 must be accompanied by competent evidence of valuation. If the value of the collateral is

 3 disputed, the Court may schedule a separate hearing to determine value.

 4                           c.       Class of Priority Claims

 5            Certain Priority Claims that are referred to in Bankruptcy Code §§ 507(a)(3), (4),

 6 (5), (6), and (7) are required to be placed in Classes in a chapter 11 plan. The Bankruptcy

 7 Code requires that each Holder of a Priority Claim receive Cash on the Effective Date

 8 equal to the allowed amount of such Claim. However, a Class of unsecured Priority Claim

 9 Holders may vote to accept deferred Cash payments of a value, as of the Effective Date,

10 equal to the allowed amount of such Claim.

11            The following chart lists all Classes containing the Debtor's Bankruptcy Code

12 §§ 507(a)(3), (4), (5), (6), and (7) Priority Claims and their treatment under the Plan:
                                                 Priority Claims
13    Class #        Description         Insiders Impaired                         Treatment
                                           (Y/N)     (Y/N)
14                                                             Each Allowed Priority Claim in Class 19 will
                 Priority Claims
         19                                  N          N      be paid in full on the Effective Date.
15
                 Estimated total
16               amount of claims:
                 $693
17

18
                             d.       Class of General Unsecured Claims
19
              General Unsecured Claims are unsecured Claims not entitled to priority under
20
     Bankruptcy Code § 507(a). The following chart identifies the Plan's treatment of General
21
     Unsecured Claims:
22                                          General Unsecured Claims
      Class #        Description         Insiders Impaired                      Treatment
23                                         (Y/N)     (Y/N)
                 General Unsecured                           Each Allowed General Unsecured Claim in
24       20      Claims (other than          Y         N     Class 20 (with the exception of Tarnutzer and
                 Tarnutzer and Fern)                         Fern) will be paid on the later of (i) the
25               Estimated total                             Effective Date or (ii) upon entry of an order
                 amount of claims:                           allowing the Claim, except to the extent that a
                 $271,000                                    Holder of such Claim agrees to other terms.
26

27

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                                            General Unsecured Claims
 1    Class #          Description       Insiders Impaired                        Treatment
                                           (Y/N)     (Y/N)
 2                 General Unsecured                         To the extent that the Tarnutzer is determined
         21        Claim of Tarnutzer        Y         Y     to have an Allowed General Unsecured Claim,
 3                 Estimated total                           such Allowed General Unsecured Claim will
                   amount of claim:                          be paid in full within 120 days from the entry
 4                 $805,709 (disputed)                       of a Final Order in the Tarnutzer Litigation
                                                             allowing the Claim. Any such Allowed Claim
 5                                                           will be satisfied first from the Interpled DV
                                                             Sale Proceeds and, thereafter, to the extent
 6                                                           necessary, from the proceeds of a Sale and/or
                                                             Refinancing of some or all of the Real
                                                             Property.
 7

 8
                   General Unsecured                           To the extent that Fern is determined to have
 9       22        Claim of Fern            Y          Y       an Allowed General Unsecured Claim, such
                   Estimated total                             Allowed Claim will be satisfied from the
10                 amount of claim:                            proceeds of a Sale and/or Refinancing of
                   $4,132,500                                  some or all of the Real Property. Such
11                 (disputed)                                  Allowed General Unsecured Claim will be paid
                                                               in full within 120 days from the entry of a Final
12                                                             Order in the Fern Litigation allowing the
                                                               Claim; provided, however, that if Fern obtains
                                                               an Allowed Claim prior to resolution of the
13                                                             Tarnutzer Litigation, Fern shall be granted a
                                                               lien on the Real Property subject to the
14                                                             Tarnutzer Lien, junior to the existing liens
                                                               thereon, to secure such Allowed Claim and
15                                                             shall be paid within one hundred and twenty
                                                               (120) days following the entry of a Final Order
16                                                             resolving the Tarnutzer Litigation.

17

18

19            C.      Means of Effectuating the Plan
20            This section is intended to explain how the Debtor intends to effectuate the Plan,
21 and how the Debtor intends to fund the obligations to Holders of Allowed Claims as

22 provided in the Plan. This section provides information regarding the funding sources for

23 Plan obligations and other material issues bearing upon performance of the Plan.

24                    1.      Funding the Plan
25            Distributions to creditors (other than to Tarnutzer and Fern) under the Plan will be
26 funded with the Real Property Income and the Debtor’s Income. See Exhibit “1”

27 (Projections) attached hereto.

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 1           Any Allowed Claim of Tarnutzer based on a Final Order in the Tarnutzer Litigation

 2 will be satisfied first from the Interpled DV Sale Proceeds and, thereafter, to the extent

 3 necessary to pay such Allowed Claim in full, from a Sale and/or Refinancing of some or all

 4 of the Real Property.

 5           Any Allowed Claim of Fern based on a Final Order in the Fern Litigation will be

 6 satisfied from a Sale and/or Refinancing of some or all of the Real Property.

 7           Effective Date payments on account of Professional Fee Claims and Class 20

 8 General Unsecured Claims will be satisfied from the Debtor’s Income and/or proceeds of

 9 a Sale and/or Refinancing of the Real Property.

10                        a.       The Interpled DV Sale Proceeds

11           The Debtor may seek the release of the Interpled DV Sale Proceeds to utilize such

12 funds as an initial source of repayment on account of any Allowed Claim of Tarnutzer. If

13 the release of the Interpled DV Sale Proceeds to the Debtor is effectuated prior to a

14 Distribution on account of any Allowed Claim of Tarnutzer, the Debtor shall maintain such

15 Interpled DV Sales Proceeds in a segregated, interest-bearing account, earmarked for

16 payment on account of any Allowed Claim of Tarnutzer pursuant to the Plan. Such

17 payment to Tarnutzer from the Interpled DV Sale Proceeds held by the Debtor shall be

18 made within fifteen (15) days of a determination by Final Order that Tarnutzer holds an

19 Allowed Claim against the Debtor and shall be credited against the amount owed to

20 Tarnutzer by the Debtor. The remaining balance owed to Tarnutzer shall be satisfied by

21 way of the proceeds from a Sale and/or Refinance of some or all of the Real Property.

22 Alternatively, should the Interpled DV Sale Proceeds not be released to the Debtor prior to

23 a determination by Final Order that Tarnutzer holds an Allowed Claim against the Debtor,

24 the Debtor shall release his claim to the Interpled DV Sale Proceeds (up to the amount of

25 the Allowed Claim) and such amount of the Interpled DV Sale Proceeds shall be credited

26 against the amount owed to Tarnutzer on account of an Allowed Claim. Any remaining

27 balance owed to Tarnutzer after crediting the amount of the Interpled DV Sale Proceeds

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 1 against the Allowed Claim shall be satisfied by way of the proceeds from a Sale and/or

 2 Refinance of some or all of the Real Property.

 3           Should the amount of the Interpled DV Proceeds exceed the Allowed Claim of

 4 Tarnutzer, after deducting the amount necessary to satisfy the Allowed Claim of Tarnutzer

 5 in full, any excess amount of Interpled DV Sale Proceeds not utilized to satisfy the

 6 Allowed Claim of Tarnutzer in full shall be released to and/or retained by, as applicable,

 7 the Reorganized Debtor. To the extent the Interpled DV Sale Proceeds are still held by

 8 the superior court in connection with the Tarnutzer Litigation at such time (i.e., such funds

 9 were not previously released to the Debtor), the Confirmation Order shall serve as an

10 order to the superior court authorizing and directing the release to the Reorganized Debtor

11 of any Interpled DV Sale Proceeds not needed to pay Tarnutzer in full on account of his

12 Allowed Claim against the Debtor, without any further action by any party.

13                         b.       The Sale and/or Refinance of Some or All of the Real Property

14                                  to Pay Allowed Claim of Tarnutzer

15           To the extent that the Interpled DV Sale Proceeds are insufficient to pay in full any

16 Allowed Claim of Tarnutzer, the Reorganized Debtor shall have a period of one hundred

17 and twenty (120) days from entry of a Final Order providing Tarnutzer with an Allowed

18 Claim against the Debtor (which 120-day deadline may be extended only by written

19 agreement with Tarnutzer or by Court order upon “cause” shown), to pay the remaining

20 balance due to Tarnutzer on account of his Allowed Claim. The source of such payment

21 will be from a Sale and/or Refinancing of some or all of the Real Property, at the

22 Reorganized Debtor’s sole discretion. In the event that the Debtor does not obtain the

23 consent of Tarnutzer or a Court order extending the 120-day deadline, the Liquidating

24 Agent shall be appointed to carry out the Sale and/or Refinancing to pay the Allowed

25 Claim of Tarnutzer in place of the Reorganized Debtor. Prior to the Confirmation Hearing,

26 the Debtor shall submit to the Court the identity of the Liquidating Agent and an

27 agreement with the Liquidating Agent setting forth the terms of such appointment.

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 1           In connection with any Sale or Refinancing of the Real Property, provided that the

 2 net proceeds of such Sale or Refinancing (after payment of transaction costs and senior

 3 liens against the applicable Real Property, and after reserving for any tax obligations in

 4 connection therewith) are earmarked to pay Tarnutzer on account of his Allowed Claim,

 5 the Tarnutzer Lien shall be deemed released from the applicable Real Property subject to

 6 such Sale or Refinancing, without any further action by any party. Any entity facilitating

 7 such a Sale or Refinancing (including, without limitation, any purchaser, lender, title or

 8 escrow company) shall be entitled to rely solely on the Confirmation Order as evidence of

 9 such release of the Tarnutzer Lien in connection with such Sale or Refinancing. In

10 addition, upon payment in full on account of any Allowed Claim of Tarnutzer, the ORAP

11 Lien shall be deemed released from the Debtor’s personal property, without any further

12 action by any party.

13                        c.       The Sale and/or Refinance of Some or All of the Real Property

14                                 to Pay Allowed Claim of Fern

15           The source of such payment to Fern on account of any Allowed Claim will be from

16 a Sale and/or Refinancing of some or all of the Real Property, at the Reorganized

17 Debtor’s sole discretion. The Reorganized Debtor shall have a period of one hundred and

18 twenty (120) days from entry of a Final Order providing Fern with an Allowed Claim

19 against the Debtor (which 120-day deadline may be extended only by written agreement

20 with Fern or by Court order upon “cause” shown), to pay Fern on account of any Allowed

21 Claim; provided, however, that if Fern obtains an Allowed Claim prior to resolution of the

22 Tarnutzer Litigation, Fern shall be granted a lien on the Real Property subject to the

23 Tarnutzer Lien, junior to the existing liens thereon, to secure such Allowed Claim and shall

24 be paid within one hundred and twenty (120) days following the entry of a Final Order

25 resolving the Tarnutzer Litigation. In the event that the Debtor does not obtain the

26 consent of Fern or a Court order extending the applicable 120-day deadline, the

27 Liquidating Agent shall be appointed to carry out the Sale and/or Refinancing to pay the

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 1 Allowed Claim of Fern in place of the Reorganized Debtor. Prior to the Confirmation

 2 Hearing, the Debtor shall submit to the Court the identity of the Liquidating Agent and an

 3 agreement with the Liquidating Agent setting forth the terms of such appointment.

 4           In connection with any Sale or Refinancing of the Real Property, provided that the

 5 net proceeds of such Sale or Refinancing (after payment of transaction costs and senior

 6 liens against the applicable Real Property, and after reserving for any tax obligations in

 7 connection therewith) are earmarked to pay Fern on account of his Allowed Claim, any

 8 lien granted to Fern shall be deemed released from the applicable Real Property subject

 9 to such Sale or Refinancing, without any further action by any party. Any entity facilitating

10 such a Sale or Refinancing (including, without limitation, any purchaser, lender, title or

11 escrow company) shall be entitled to rely solely on the Confirmation Order as evidence of

12 such release of the lien held by Fern in connection with such Sale or Refinancing.

13                  2.     Disbursing Agent

14           The Reorganized Debtor shall act as the disbursing agent for the purpose of

15 making the Distributions provided for under the Plan.

16                  3.     The Reorganized Debtor

17           As the Debtor is an individual, he will remain in charge of his financial affairs post-

18 confirmation as the Reorganized Debtor.

19           D.     Risk Factors

20           Performance of the obligations under the Plan are subject to various factors and

21 contingencies, some of which are described in this section. The following discussion

22 summarizes some of the material risks associated with the Plan, but is not intended to be

23 exhaustive. Moreover, it should be read in connection with the other disclosures

24 contained in this Disclosure Statement and the Plan. Each creditor, in conjunction with its

25 advisors, should supplement the following discussion by analyzing and evaluating the

26 Plan and Disclosure Statement as a whole. THE RISKS ASSOCIATED WITH THE PLAN

27

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 1 MUST BE CAREFULLY CONSIDERED IN DETERMINING WHETHER TO ACCEPT THE

 2 PLAN.

 3           The Debtor's ability to make the Effective Date Payments and to fund payments to

 4 certain creditors depends on the continued generation of rental income from the Real

 5 Property and the Debtor’s ability to generate post-petition earnings. With respect to any

 6 Allowed Claim of Tarnutzer obtained in connection with the Tarnutzer Litigation, such

 7 payment in full depends on the Debtor's ability to utilize the Interpled DV Sale Proceeds

 8 and to monetize the equity in the Real Property. Similarly, the Debtor’s ability to pay any

 9 Allowed Claim of Fern obtained in connection with the Fern Litigation depends on the

10 Debtor’s ability to monetize the equity in the Real Property. In addition, it is likely that the

11 Debtor may need to monetize the equity in the Real Property to satisfy the Professional

12 Fee Claims and Effective Date payments to Class 20 General Unsecured Claims. There

13 is always a risk that the Debtor's Real Property assets could decline in value. However,

14 the value would have to decline by millions of dollars before the Debtor would not to be

15 able to fund the Plan payments and such a significant change in the market is not likely to

16 occur. In addition, Tarnutzer will continue to hold the Tarnutzer Lien and ORAP Lien

17 against certain of the Debtor’s Real Property and personal property assets to secure

18 repayment of any Allowed Claim (subject to release of the Tarnutzer Lien and ORAP Lien

19 in connection with a Sale and/or Refinancing that would pay Tarnutzer as discussed in

20 Section III.C.1 hereof). Moreover, even assuming that the Debtor was for some reason

21 not entitled to directly receive the $1.8 million in Interpled DV Sale Proceeds as the 100%

22 owner of Domingo Villas, and such funds were determined to be properly paid directly to

23 Tarnutzer, the application of such funds would reduce the amount of any Allowed Claim of

24 Tarnutzer by approximately $1.8 million and, therefore, would significantly reduce the

25 amount that would need to be paid to Tarnutzer under the Plan from a Sale and/Refinance

26 of the Real Property. In addition, to the extent that the Fern Litigation is resolved prior to

27 resolution of the Tarnutzer Litigation, and results in Fern holding an Allowed Claim against

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 1 the Debtor, Fern will be granted a lien on the Real Property junior to the existing liens of

 2 the Real Property Lenders and Tarnutzer to secured payment of such Allowed Claim.

 3           E.    Provisions Governing Distributions

 4                 1.     Dates of Distributions

 5           Effective Date Payments shall be deemed timely made if made as soon as

 6 practicable after the Effective Date, but, in any event, within fifteen (15) days of the

 7 Effective Date. Any Distribution required to be made when a Disputed Claim becomes an

 8 Allowed Claim shall be deemed timely made if made as soon as practicable thereafter,

 9 but, in any event, within fifteen (15) days thereafter.

10                 2.     Manner of Distribution

11           At the option and in the sole discretion of the Reorganized Debtor, monetary

12 Distributions may be made by (i) wire transfers from, or (ii) a check drawn on a domestic

13 bank approved by the OUST.

14                 3.     Delivery of Distributions in General

15           Distributions to Holders of Allowed Claims shall be made by the Reorganized

16 Debtor (a) at the addresses set forth on the Proof of Claim filed by such Holders, (b) at the

17 addresses reflected in the Schedules if no Proof of Claim has been filed and the

18 Reorganized Debtor has not received a written notice of a change of address, or (c) in the

19 case of a Holder of a Claim that is governed by an agreement and is administered by an

20 agent or servicer, at the address (i) set forth on any Proof of Claim filed by the agent or

21 servicer, (ii) in the Schedules for the agent or servicer if no Proof of Claim has been filed,

22 or (iii) contained in the official records of such agent or servicer. Holders of Claims may

23 change the address to which Distributions will be sent by filing a written change of

24 address with the Court and serving a copy of the change of address on the Reorganized

25 Debtor.

26           If a Distribution to any Holder of an Allowed Claim is returned to the Reorganized

27 Debtor as undeliverable or otherwise unclaimed ("Undeliverable Distribution"), the

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 1 Reorganized Debtor shall make no further Distributions to such Holder unless and until

 2 the Reorganized Debtor is notified in writing of such Holder's then-current address, at

 3 which time all Undeliverable Distributions shall be made to such Holder without interest.

 4 All Undeliverable Distributions shall be returned to the Reorganized Debtor until such

 5 Undeliverable Distributions are claimed. The Reorganized Debtor shall, in the case of

 6 Cash, hold Undeliverable Distributions in a segregated interest-bearing account for

 7 Undeliverable Distributions until such Undeliverable Distributions become deliverable, is

 8 claimed or is forfeited. Nothing contained in the Plan shall require the Debtor, or anyone

 9 else, to attempt to locate the intended recipient of an Undeliverable Distribution.

10           Any Holder of an Allowed Claim that does not present itself within six (6) months of

11 the Distribution Date upon which the Undeliverable Distribution was made shall be

12 deemed to have forfeited its right or Claim to or interest in the Undeliverable Distribution

13 and shall be forever barred and enjoined from asserting any Claim for the Undeliverable

14 Distribution against the Debtor and his Estate, the Reorganized Debtor, and their

15 respective agents, attorneys, representatives, employees or independent contractors,

16 and/or any of their property. In such cases, the Undeliverable Distribution and accrued

17 interest thereon shall become property of the Reorganized Debtor free and clear of any

18 restrictions thereon and notwithstanding any federal or state escheat laws to the contrary

19 and shall be distributed in accordance with the terms of the Plan.

20                 4.     Rounding Payments

21           The Reorganized Debtor shall not be required to make Distributions or payments of

22 fractions of dollars. Whenever any payment of a fraction of a dollar under this Plan would

23 otherwise be called for, the actual payment shall reflect a rounding of such fraction to the

24 nearest whole dollar (up or down), with half dollars being rounded down.

25

26

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 1                  5.     Interest on Claims

 2           Unless otherwise specifically provided for in the Plan, post-petition interest shall not

 3 accrue or be paid on any Claims, and no Holder of a Claim shall be entitled to interest

 4 accruing on or after the Petition Date on any Claim.

 5                  6.     Compliance with Tax Requirements

 6           In connection with the Plan, and all Distributions under this Plan, the Reorganized

 7 Debtor shall, to the extent applicable, comply with all tax withholding, payment and

 8 reporting requirements imposed by federal, state, or local taxing authorities. The

 9 Reorganized Debtor shall be authorized to take any and all actions that may be necessary

10 or appropriate to comply with such withholding, payment, and reporting requirements. All

11 amounts properly withheld from Distributions to a Holder of a Claim as required by

12 applicable law and paid over to the applicable taxing authority for the account of such

13 Holder shall be treated as part of the Distributions to such Holder. All persons Holding

14 Claims shall be required to provide any information necessary to effect information

15 reporting and withholding of such taxes. If such information has not been received by the

16 Reorganized Debtor, then the Reorganized Debtor may, at his option, withhold the

17 amount required and distribute the balance to such Holder or decline to make the

18 Distribution until the information is received.

19           Notwithstanding any other provision of the Plan, (a) each Holder of an Allowed

20 Claim that is to receive a Distribution pursuant to this Plan shall have sole and exclusive

21 responsibility for the satisfaction and payment of any tax obligations imposed by any

22 governmental unit, including income, withholding, and other tax obligations, on account of

23 such Distribution, and (b) no Distribution shall be made to or on behalf of such Holder

24 pursuant to the Plan unless and until such Holder has made arrangements satisfactory to

25 the Reorganized Debtor for the payment and satisfaction of such withholding tax

26 obligations or such tax obligation that would be imposed upon the Debtor in connection

27 with such Distribution. Any property to be distributed pursuant to the Plan shall, pending

28
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 1 implementation of such arrangements, be treated as an Undeliverable Distribution

 2 pursuant to Section III.E.3 above.

 3                 7.     De Minimis Distributions

 4           The Reorganized Debtor shall not have any obligations to make a Distribution on

 5 account of an Allowed Claim if the amount to be distributed to the specific Holder of the

 6 Allowed Claim on a Distribution Date is for an amount of $5.00 or less, and may, at the

 7 Reorganized Debtor's option, either add the Distribution to the next Distribution if the

 8 collective amount would be greater than $5.00 or treat the Distribution as an

 9 Undeliverable Distribution.

10                 8.     Setoffs

11           Except as otherwise stated in the Plan, the Debtor may, pursuant to 11 U.S.C.

12 § 553 or applicable non-bankruptcy law, but shall not be required to, set off against any

13 Allowed Claim and the Distribution to be made pursuant to the Plan on account of such

14 Allowed Claim any account stated, Claim, right, or Cause of Action which the Debtor or

15 the Estate possesses against the Holder of such Allowed Claim; provided, however, that

16 neither the failure to effect such a setoff nor the allowance of any Claim shall constitute a

17 waiver or release by the Debtor of any such account, Claim, right, and Cause of Action

18 that the Debtor or the Estate may possess against the Holder of such Allowed Claim.

19                 9.     Limitation on Liability

20           The Reorganized Debtor, and any of his respective agents or Professionals, shall

21 not be liable for (i) any acts or omissions, except for willful misconduct, in connection with

22 implementing the Distribution provision of the Plan and the making or withholding of

23 Distributions under the Plan, or (ii) any change in the value of Distributions made under

24 the Plan resulting from any delays in making such Distributions in accordance with the

25 terms of the Plan (including, but not limited to, any delays caused by the resolution of

26 Disputed Claims).

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 1           F.    Other Provisions of the Plan

 2                 1.     Claim Objections and Disputed Claims

 3           THE BAR DATE FOR FILING A PROOF OF CLAIM IN THIS CASE BY

 4 CLAIMANTS WHOSE CLAIMS WERE NOT SCHEDULED OR WERE SCHEDULED AS

 5 UNKNOWN, DISPUTED, CONTINGENT OR UNLIQUIDATED IS JUNE 26, 2017 (AS TO

 6 CREDITORS OTHER THAN GOVERNMENTAL UNITS) AND OCTOBER 6, 2017 (AS TO

 7 GOVERNMENTAL UNITS).

 8                        a.       Standing and Claim Objection Deadline

 9           The Reorganized Debtor or any other party in interest shall have up until 180 days

10 after the Effective Date to file objections to Claims. The Reorganized Debtor or any other

11 party in interest may obtain an extension of this date by filing a motion in the Court, based

12 upon a showing of "cause."

13                        b.       No Distribution Pending Allowance

14           Notwithstanding any other provision of the Plan, no payments or Distributions shall

15 be made with respect to all or any portion of a Disputed Claim unless and until all

16 objections to such Disputed Claim have been settled or withdrawn or have been

17 determined by Final Order, and the Disputed Claim, or some portion thereof, has become

18 an Allowed Claim; provided, however, that if the only dispute regarding a Disputed Claim

19 is to the amount of the Disputed Claim, the Holder of a Disputed Claim shall be entitled to

20 a Distribution on account of that portion of the Disputed Claim which the Debtor does not

21 dispute at the time and in the manner that the Debtor makes Distributions to the Holders

22 of Allowed Claims pursuant to the provisions of the Plan.

23           A Disputed Claim is a Claim that has not been allowed or disallowed and to which

24 either: (i) a Proof of Claim has been Filed or deemed Filed and the Debtor or another

25 party in interest has Filed an objection; (ii) no Proof of Claim has been Filed and the Claim

26 was not scheduled or the Debtor has scheduled such claim as disputed, contingent,

27 unliquidated or unknown.

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 1           The Debtor will have the power and authority to settle and compromise a Disputed

 2 Claim with Court approval and compliance with Bankruptcy Rule 9019 unless the amount

 3 allowed by the compromise does not exceed $5,000, in which case no Court approval is

 4 necessary.

 5                        c.       Reserves for Disputed Claims

 6           In the event that Disputed Claims are pending at the time of a Distribution under

 7 the Plan, the Debtor shall establish and maintain a reserve for such Disputed Claims.

 8 With respect to the Disputed Claims of Tarnutzer and Fern, no reserve(s) shall be

 9 established; rather, such Disputed Claims shall be resolved by way of the appellate

10 process in connection with the Tarnutzer Litigation and in connection with the Fern

11 Litigation, respectively. To the extent Tarnutzer is determined by Final Order to hold an

12 Allowed Claim, such Allowed Claim shall be satisfied in full, first, from the Interpled DV

13 Sales Proceeds and then, to the extent necessary, from the proceeds from a Sale and/or

14 Refinance of some or all of the Debtor’s Real Property, as provided by the Plan. To the

15 extent Fern is determined by Final Order to hold an Allowed Claim, such Allowed Claim

16 shall be satisfied in full from the proceeds from a Sale and/or Refinance of some or all of

17 the Debtor’s Real Property, as provided by the Plan.

18                 2.     Executory Contracts and Unexpired Leases

19                        a.       Assumption and Assignment

20           Any executory contracts and/or unexpired leases to be assumed pursuant to the

21 provisions of sections 365 and 1123 of the Code shall be the subject of a motion filed by

22 the Debtor prior to the Effective Date of the Plan. Any executory contracts and unexpired

23 leases assumed by the Debtor shall vest in the Reorganized Debtor as of the Effective

24 Date.

25                        b.       Rejections

26           Any executory contracts and/or unexpired leases to be rejected pursuant to the

27 provisions of sections 365 and 1123 of the Code may be the subject of a motion filed by

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 1 the Debtor prior to the Effective Date of the Plan. A Proof of Claim arising from the

 2 rejection of an executory contract or unexpired lease pursuant to such motion must be

 3 filed no later than 30 days after entry of the Order authorizing the rejection. The Debtor is

 4 conclusively deemed to have rejected all executory contracts and unexpired leases not

 5 previously assumed or rejected as of the Effective Date. A Proof of Claim arising from the

 6 presumed rejection of an executory contract or unexpired lease must be filed no later than

 7 30 days after entry of the Confirmation Order. Claims arising from the rejection of an

 8 executory contract or unexpired lease under this section are General Unsecured Claims in

 9 Class 20, except to the extent the Court orders otherwise. Any such rejection damage

10 Claims that are not timely Filed and served will be forever barred and unenforceable

11 against the Debtor, the Estate, the Reorganized Debtor, and their respective property.

12 Persons holding these Claims who fail to timely file Claims will be barred from receiving

13 any Distributions under the Plan on account of their requested rejection damage Claims.

14                 3.     Changes in Rates Subject to Regulatory Commission Approval

15           The Debtor is an individual not subject to governmental regulatory commission

16 approval of any rates.

17                 4.     Preservation of Causes of Action and Avoidance Actions

18           The Debtor reserves for the Estate and the Reorganized Debtor all rights to

19 commence and pursue, as appropriate, any and all Causes of Action and Avoidance

20 Actions, whether arising prior to or after the Petition Date, in any court or other tribunal,

21 including without limitation, in an adversary proceeding Filed in the Court, except for as

22 otherwise provided in the Plan. On the Effective Date, the Reorganized Debtor will be

23 vested with authority to enforce, file, litigate, prosecute, settle and collect with respect to

24 Causes of Action and Avoidance Actions, although he will not be required to do so and the

25 determination of whether to do so will be made solely by the Reorganized Debtor in his

26 absolute discretion.

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 1           Unless a Cause of Action or Avoidance Action against any Person is expressly

 2 waived, relinquished, released, compromised or settled as provided or identified in the

 3 Plan, any Confirmation Order or prior order of the Court, the Debtor expressly reserves

 4 any Causes of Action and Avoidance Action for later adjudication. Therefore, no

 5 preclusion doctrine, including, without limitation, the doctrine of res judicata, collateral

 6 estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise) or

 7 laches shall apply to such Causes of Action or Avoidance Actions upon or after

 8 Confirmation or consummation of the Plan. All Avoidance Actions and other Causes of

 9 Action are preserved under the Plan for the benefit of the Estate, except as otherwise

10 provided for in the Plan. Any recoveries from Avoidance Actions and/or other Causes of

11 Action will be paid to the Reorganized Debtor.

12           ANY CREDITORS THAT BELIEVE THEY RECEIVED A TRANSFER OR SETOFF

13 THAT IS AVOIDABLE UNDER THE CODE OR THAT HOLDS A CLAIM AGAINST THE

14 ESTATE THAT COULD BE SUBJECT TO AN OBJECTION BASED UPON FAILURE TO

15 RETURN AN AVOIDABLE TRANSFER OR SETOFF, ARE DIRECTED TO REVIEW

16 THEIR RECORDS AND/OR THE DEBTOR'S SCHEDULES FOR FURTHER

17 INFORMATION, HOWEVER, ALL RIGHTS OF THE DEBTOR AND THE ESTATE ARE

18 RESERVED WITH RESPECT TO ANY AND ALL TRANSFERS OR SETOFF WHICH

19 MAY BE AVOIDABLE UNDER THE BANKRUPTCY CODE.

20           All professional fees incurred in pursuing the Avoidance Actions or other Causes of

21 Action shall be paid by the Reorganized Debtor without the necessity of a Court order.

22 However, the Bankruptcy Court will reserve exclusive jurisdiction to decide any and all

23 disputes regarding the payment of the fees and costs related to post-confirmation

24 professional fees, upon request of a party-in-interest and after notice and a hearing.

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 1                  5.     Retention of Jurisdiction

 2           The Court will retain exclusive jurisdiction during the Plan payout period to resolve

 3 disputes and conflicts arising from the administration of the Plan, upon request of a party-

 4 in-interest and after notice and a hearing, including, without limitation:

 5           1.     The adjudication of the validity, scope, classification, allowance, and

 6                  disallowance of any Claim;

 7           2.     The estimation of any Claim;

 8           3.     The allowance or disallowance of Professional Fee Claims, compensation,

 9                  or other Administrative Claims;

10           4.     To hear and determine Claims concerning taxes pursuant to Bankruptcy

11                  Code §§ 346, 505, 525, and 1146;

12           5.     To hear and determine any action or proceeding brought under Bankruptcy

13                  Code §§ 108, 510, 543, 544, 545, 547, 548, 549, 550, 551, and 553;

14           6.     To hear and determine all actions and proceedings which relate to pre-

15                  confirmation matters;

16           7.     To hear and determine any issue relating to the assumption or rejection of

17                  executory contracts and unexpired leases;

18           8.     To hear and determine any modification to the Plan in accordance with the

19                  Bankruptcy Rules and the Bankruptcy Code;

20           9.     To enforce and interpret the terms of the Plan;

21           10.    To correct any defects, cure any omissions, or reconcile any inconsistency

22                  in the Plan or the Confirmation Order as may be necessary to carry out the

23                  purpose and intent of the Plan;

24           11.    The entry of any order, including injunctions, necessary to enforce title,

25                  rights and powers of the Debtor or Reorganized Debtor, and to impose such

26                  limitations, restrictions, terms and conditions on such title, rights and powers

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 1                 as the Court may deem necessary including, without limitation, any right of

 2                 the Debtor or Reorganized Debtor to recover and liquidate assets;

 3           12.   To determine the validity, extent and priority of all liens and security interests

 4                 against property of the Estate or the Reorganized Debtor;

 5           13.   To hear and resolve any disputes in connection with any Sale and/or

 6                 Refinancing of the Real Property, including any extension of the 120-day

 7                 deadline and the appointment of the Liquidating Agent;

 8           14.   To hear and resolve any disputes regarding employment applications and

 9                 professional fees;

10           15.   To hear and determine such matters and make such orders as are

11                 consistent with the Plan as may be necessary to carry out the provisions

12                 thereof and to adjudicate any disputes arising under or relating to any order

13                 entered by the Court in this Case;

14           16.   The entry of an order concluding and terminating this Case; and

15           17.   To resolve any disputes as to whether there has been a default under the

16                 Plan.

17                 6.      Tax Consequences of the Plan

18           CREDITORS CONCERNED WITH HOW THE PLAN MAY AFFECT THEIR TAX

19 LIABILITY SHOULD CONSULT WITH THEIR OWN ACCOUNTANTS, ATTORNEYS,

20 AND/OR ADVISORS. The following disclosure of possible tax consequences is intended

21 solely for the purpose of alerting readers about possible tax issues the Plan may present

22 to the Debtor and the Reorganized Debtor. The Debtor and his professionals CANNOT

23 and DO NOT represent that the tax consequences contained below are the only tax

24 consequences of the Plan because the Tax Code embodies many complicated rules

25 which make it difficult to state completely and accurately all of the tax implications of any

26 action.

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 1           Due to the unsettled and complex nature of some of the tax issues, as well as the

 2 possibility that developments subsequent to the date hereof could affect the tax

 3 consequences of the Plan, the following discussion should not be regarded as definitive or

 4 as covering all possible tax consequences. Additionally, this summary does not discuss

 5 all aspects of federal income taxation that may be relevant to a particular creditor in light

 6 of its individual circumstances or to certain creditors subject to special treatment under the

 7 federal income tax law (for example, life insurance companies, tax-exempt organizations,

 8 foreign corporations and individuals who are not citizens or residents of the United

 9 States).

10           As stated above, creditors concerned with how the Plan will affect their own tax

11 liability should consult with their own accountants, attorneys, and/or advisors. The Debtor

12 is still in the process of determining the tax consequences of the Plan, but does not

13 believe that there will be a material taxable event upon any Sale of the Real Property.

14 However, the Debtor does not expect adverse consequences materially affecting the

15 distributions to the Holders of Allowed Claims under the Plan.

16                 7.     Exemption from Transfer Taxes

17           Pursuant to Bankruptcy Code § 1146(a), any transfers from the Debtor to the

18 Reorganized Debtor or to any other Person pursuant to the Plan in the United States shall

19 not be subject to any stamp, real estate transfer, personal property, recording or other

20 similar tax, and the Confirmation Order shall direct the appropriate state or local

21 governmental official or agents to forgo the collection of any such tax or governmental

22 assessment and to accept for filing and recordation any of the foregoing instruments or

23 other documents without payment of any such tax or governmental assessment.

24

25 IV.       CONFIRMATION REQUIREMENTS AND PROCEDURES

26           PERSONS OR ENTITIES CONCERNED WITH CONFIRMATION OF THE PLAN

27 SHOULD CONSULT WITH THEIR OWN ATTORNEYS BECAUSE THE LAW ON

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 1 CONFIRMING A PLAN OF REORGANIZATION IS VERY COMPLEX. The following

 2 discussion is intended solely for the purpose of alerting readers about basic confirmation

 3 issues, which they may wish to consider, as well as certain deadlines for Filing Claims.

 4 The Debtor CANNOT and DOES NOT represent that the discussion contained below is a

 5 complete summary of the law on this topic.

 6            Many requirements must be met before the Court can confirm a Plan. Some of the

 7 requirements include that the Plan must be proposed in good faith, acceptance of the

 8 Plan, whether the Plan pays creditors at least as much as creditors would receive in a

 9 chapter 7 liquidation, and whether the Plan is feasible. These requirements are not the

10 only requirements for confirmation.

11            A.     Who May Vote or Object

12                   1.       Who May Object to Confirmation of the Plan

13            Any party in interest may object to the confirmation of the Plan, but as explained

14 below, not everyone is entitled to vote to accept or reject the Plan.

15                   2.       Who May Vote to Accept/Reject the Plan

16            A creditor has a right to vote for or against the Plan if that creditor has a Claim that:

17 (a) either is an Allowed Claim or is allowed for voting purposes; (b) is classified in an

18 impaired Class; and (c) is entitled to receive or retain some property on account of its

19 Claim.21

20                            a.       What is an Allowed Claim

21            As noted above, a creditor must first have an Allowed Claim to have the right to

22 vote. Generally, any Proof of Claim will be Allowed, unless a party in interest Files an

23 objection to that Claim. When an objection to a Claim is Filed, the Holder of the Claim

24 cannot vote unless and until the Court, after notice and hearing, either overrules the

25

26       21
          If the Plan provides that a Class will receive or retain no property on account of its Claim, that Class is
     deemed to reject the Plan under Bankruptcy Code § 1126(g) and therefore is not entitled to vote.
27

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 1 objection or allows the Claim for voting purposes. Any Person who seeks temporary

 2 allowance of its Claim for the purpose of voting on the Plan must promptly take the steps

 3 necessary to File an appropriate motion requesting the same and arrange an appropriate

 4 hearing with the Court.

 5           THE BAR DATE FOR FILING A PROOF OF CLAIM IN THIS CASE BY

 6 CLAIMANTS WHOSE CLAIMS WERE NOT SCHEDULED OR WERE SCHEDULED AS

 7 UNKNOWN, DISPUTED, CONTINGENT, OR UNLIQUIDATED IS JUNE 26, 2017 (AS TO

 8 CREDITORS OTHER THAN GOVERNMENTAL UNITS) AND OCTOBER 6, 2017 (AS TO

 9 GOVERNMENTAL UNITS). A creditor may have an Allowed Claim even if a Proof of

10 Claim was not timely filed. A Claim is deemed Allowed if (1) it is scheduled on the

11 Debtor's Schedules and such Claim is not scheduled as disputed, contingent, or

12 unliquidated, and (2) no party in interest has objected to the Claim.

13                         b.       What is an Impaired Claim

14           As noted above, the Holder of an Allowed Claim only has the right to vote if it is in a

15 Class that is impaired under the Plan. A Class is impaired if the Plan alters the legal,

16 equitable, or contractual rights of the members of that Class. For example, a Class

17 comprised of General Unsecured Claims is impaired if the Plan fails to pay the members

18 of that Class 100% of what they are owed or otherwise impairs the legal rights of the

19 Holders of the Claims.

20           In this case, the Debtor believes that Classes 3, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15,

21 16, 21 and 22 are impaired and Holders of Claims in each of these Classes are therefore

22 entitled to vote to accept or reject the Plan, unless otherwise specified below. The Debtor

23 believes that Classes 1, 2, 4, 5, 17, 18, 19 and 20 are unimpaired under the Plan. Any

24 party in interest who disputes the Debtor's characterization of its Claim as being in an

25 impaired or unimpaired Class may File an objection to the Plan contending that the Debtor

26 incorrectly characterized the Claim or Class.

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 1                  3.     Who is Not Entitled to Vote

 2           The following four types of Claims are not entitled to vote: (1) Claims that have

 3 been disallowed; (2) Claims in unimpaired Classes; (3) Claims entitled to priority pursuant

 4 to Bankruptcy Code §§ 507(a)(2), (a)(3), and (a)(8); and (4) Claims in Classes that do not

 5 receive or retain any value under the Plan. Claims in unimpaired Classes are not entitled

 6 to vote because such Classes are deemed to have accepted the Plan. Claims entitled to

 7 priority pursuant to Bankruptcy Code §§ 507(a)(2), (a)(3), and (a)(8) are not entitled to

 8 vote because such Claims are not placed into Classes and they are required to receive

 9 certain treatment specified by the Bankruptcy Code. Claims in Classes that do not

10 receive or retain any value under the Plan do not vote because such Classes are deemed

11 to have rejected the Plan. In this Case, Classes 1, 2, 4, 5, 17, 18, 19 and 20 are not

12 entitled to vote on the Plan, but are deemed to have accepted the Plan. EVEN IF YOUR

13 CLAIM IS OF THE TYPE DESCRIBED ABOVE, YOU MAY STILL HAVE A RIGHT TO

14 OBJECT TO THE CONFIRMATION OF THE PLAN.

15                  4.     Who Can Vote in More Than One Class

16           A creditor whose Claim has been Allowed in part as a Secured Claim and in part as

17 a General Unsecured Claim is entitled to accept or reject the Plan in both capacities by

18 casting one ballot for the secured portion of the Claim and another ballot for the

19 unsecured portion of the Claim.

20                  5.     Votes Necessary to Confirm the Plan

21           If impaired Classes exist, the Court cannot confirm the Plan unless (1) at least one

22 impaired Class has accepted the Plan without counting the votes of any insiders within

23 that Class, and (2) all impaired Classes have voted to accept the Plan, unless the Plan is

24 eligible to be confirmed by "cramdown" on non-accepting Classes, as discussed later in

25 Section IV.A.7 and IV.A.8 below.

26

27

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 1                 6.     Votes Necessary for a Class to Accept the Plan

 2           A Class of Claims is considered to have accepted the Plan when more than one-

 3 half (1/2) in number, and at least two-thirds (2/3) in dollar amount, of the Claims which

 4 actually voted, voted in favor of the Plan.

 5                 7.     Treatment of Nonaccepting Classes

 6           If at least one impaired Class votes to accept the Plan, and other impaired Classes

 7 vote to reject the Plan, the Court may nonetheless confirm the Plan if the nonaccepting

 8 Classes are treated in the manner required by the Bankruptcy Code. The process by

 9 which nonaccepting Classes are forced to be bound by the terms of a Plan is commonly

10 referred to as "cramdown." The Bankruptcy Code allows the Plan to be "crammed down"

11 on nonaccepting Classes of Claims if it meets all consensual requirements except the

12 voting requirements of § 1129(a)(8) and if the Plan does not "discriminate unfairly" and is

13 "fair and equitable" toward each impaired Class that has not voted to accept the Plan as

14 referred to in § 1129(b) and applicable case law.

15                 8.     Request for Confirmation Despite Nonacceptance by Impaired

16                        Class

17           The Debtor will ask the Court to confirm the Plan by "cramdown" on all impaired

18 Classes if any of these Classes do not vote to accept the Plan.

19           B.    Liquidation Analysis

20           Another confirmation requirement is the so-called "Best Interests Test" embodied in

21 Bankruptcy Code § 1129(a)(7), which requires a liquidation analysis. Under the Best

22 Interests Test, if a claimant is in an impaired Class and that claimant does not vote to

23 accept the Plan, then that claimant must receive or retain under the Plan property of a

24 value not less than the amount that such Holder would receive or retain if the Debtor was

25 liquidated under Chapter 7 of the Bankruptcy Code.

26           In a chapter 7 case, the debtor's assets are usually sold by a chapter 7 trustee.

27 Secured creditors are paid first from the sales proceeds of properties on which the

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 1 secured creditor has a lien. Administrative Claims are paid next. Next, unsecured

 2 creditors are paid from any remaining sale proceeds, according to their rights to priority.

 3 Unsecured creditors with the same priority share in proportion to the amount of their

 4 Allowed Claims in relationship to the amount of total allowed unsecured claims.

 5            For the Court to be able to confirm the Plan, the Court must find that all creditors

 6 who do not accept the Plan will receive at least as much under the Plan as holders would

 7 receive under a chapter 7 liquidation. The Debtor maintains that this requirement is met

 8 here because the Plan provides for 100% payment to creditors, as set forth in Exhibit “2”

 9 (Schedule of Net Asset Value) attached hereto. Therefore, creditors will receive at least

10 as much as they would receive in a hypothetical chapter 7 liquidation.

11            Below is demonstration, in tabular format, that all creditors are projected to receive

12 at least as much under the Plan as such creditor would receive under a chapter 7

13 liquidation.
           CLAIMS & CLASSES            PAYOUT PERCENTAGE UNDER           PAYOUT PERCENTAGE IN
14                                             THE PLAN                   CHAPTER 7 LIQUIDATION
     Administrative Claims             100%                            100%
15 Priority Tax Claims                 100%                            100%
     Classes 1 through 15 - Secured    100%                            100%
16 Claims of Real Property Lenders
     Class 16 - Secured Claim of       100%                            100%
17 Tarnutzer
     Class 17 - Secured Claim of       100%                            100%
18 Alliant Credit Union (Tesla)
     Class 18 – Secured Tax Claims     100%                            100%
19 Class 19 – Priority Unsecured       100%                            100%
     Claims
20 Class 20 – General Unsecured        100%                            100%
   Claims (other than Tarnutzer and
21 Fern)
   Class 21 – Unsecured Claim of       100%                            100%
22 Tarnutzer
   Class 22 – Unsecured Claim of       100%                            100%
23 Fern

24

25            C.     Feasibility

26            Another requirement for confirmation involves the feasibility of the Plan, which

27 means that confirmation of the Plan is not likely to be followed by the liquidation, or the

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 1 need for further financial reorganization of the Debtor or any successor to the Debtor

 2 under the Plan, unless such liquidation or reorganization is proposed in the Plan.

 3           There are at least two important aspects of a feasibility analysis. The first aspect

 4 considers whether the Debtor will have enough Cash on hand on the Effective Date of the

 5 Plan to pay all the Claims and expenses which are entitled to be paid on such date. The

 6 Debtor maintains that this aspect of feasibility is satisfied. As set forth in Exhibit “1”

 7 attached hereto, Effective Date Payments to Administrative Claimants and General

 8 Unsecured Claimants, are estimated to be approximately $700,000. These Claimants will

 9 be paid from Cash on hand in the Estate, the Debtor’s Income and/or from the proceeds

10 of a Sale and/or Refinancing of the Real Property.

11           The second aspect considers whether the Reorganized Debtor will have enough

12 Cash over the life of the Plan to make the required Plan payments. The Debtor has

13 satisfied this aspect as well. The remaining payments to be made are to the holders of

14 Secured Claims of the Real Property Lenders, which will (with the exception of the

15 Surfside Property) continue to be satisfied from the Real Property Income, as set forth in

16 Exhibit “1” attached hereto. The payments to the Real Property Lenders on the Surfside

17 Property, and to Alliant Credit Union, will continue to be satisfied from the Debtor’s

18 Income, as set forth in Exhibit “1” attached hereto.

19           With respect to any Allowed Claim of Tarnutzer, the Debtor will fund the payment

20 on account of any such Allowed Claim first from the Interpled DV Sale Proceeds and,

21 thereafter, to the extent necessary to pay such Allowed Claim in full, from the Sale and/or

22 Refinance of some or all of the Real Property. With respect to any Allowed Claim of Fern,

23 the Debtor will fund the payment on account of any such Allowed Claim from the Sale

24 and/or Refinance of some or all of the Real Property. As set forth in Exhibit “2” attached

25 hereto, the Interpled DV Sale Proceeds are in the amount of approximately $1.8 million,

26 and there is approximately $8.8 million in equity in the Real Property over and above the

27 Claims of the Real Property Lenders, providing the Debtor will sufficient funding sources

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 1 to make the payments called for under the Plan on account of all Claims. In this regard,

 2 the Debtor does not believe that there will be a material taxable event in connection with

 3 any Sale of the Real Property. In connection with confirmation of the Plan, the Debtor’s

 4 financial advisors will provide evidence of the likelihood of the Debtor’s ability to sell

 5 and/or refinance the Real Property in sufficient amounts, and within the specified

 6 timeframe, to satisfy any Allowed Claim of Tarnutzer and/or Fern (and the Effective Date

 7 payments to Class 20 General Unsecured Claimants and on account of Professional

 8 Fees) and thereby demonstrate the feasibility aspect of the Plan. Moreover, should the

 9 120 day deadlines following allowance of the Tarnutzer Claim and/or Fern Claim for

10 undertaking the Sale and/or Refinance pass without extension by agreement or Court

11 order, the Liquidating Agent will be appointed to undertake such Sale and/or Refinancing.

12           In sum, the Debtor believes that he will have sufficient Cash on hand on the

13 Effective Date to fund all Effective Date Payments and will be able to make the other

14 required payments under the Plan through income generated by the Real Property and

15 the Debtor’s business income, and to the extent necessary, through monetizing the equity

16 in the Real Property and utilization of the Interpled DV Sale Proceeds.

17           YOU ARE ADVISED TO CONSULT WITH YOUR ACCOUNTANT OR FINANCIAL

18 ADVISOR IF YOU HAVE ANY QUESTIONS PERTAINING TO ANY OF THE DEBTOR'S

19 FINANCIAL STATEMENTS.

20

21 V.        EFFECT OF CONFIRMATION

22           A.    Discharge

23           The rights under the Plan and the treatment of Claims under the Plan will be in

24 exchange for, and in complete satisfaction, discharge, and release of, all Claims of any

25 nature whatsoever (including, without limitation, any interest accrued on Claims from and

26 after the Petition Date) against the Debtor, the Reorganized Debtor, or their property.

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 1 Except as otherwise provided in the Plan or the Confirmation Order, and to the extent

 2 provided in further Court order pursuant to Bankruptcy Code § 1141(d)(5):

 3           1.   To the fullest extent permitted by Bankruptcy Code § 1141, the Debtor, the

 4                Debtor's Estate, the Reorganized Debtor, and their property will be deemed

 5                discharged and released from any and all Claims, including, without

 6                limitation, all demands, liabilities, Claims, that arose before the Confirmation

 7                Date or that are based upon or otherwise relate to acts, events, omissions,

 8                transactions or other activities of any kind that occurred before the

 9                Confirmation Date, and all debts of the kind specified in Bankruptcy Code

10                §§ 502(g), 502(h), or 502(l) regardless of whether: (1) a Proof of Claim

11                based on such a debt is Filed or deemed Filed; (2) a Claim based on such a

12                debt is allowable under Bankruptcy Code § 502; or (3) the Person Holding

13                the Claim based on such a debt has accepted the Plan;

14           2.   All Persons will be precluded from asserting against the Debtor, the Estate,

15                the Reorganized Debtor, or their property any other or further Claims based

16                on, arising from, or in connection with any act, event, omission, transaction,

17                or other activity of any kind that occurred before the Confirmation Date;

18           3.   Any debt of the Debtor, whether secured or unsecured, which was in default

19                as of or at any time prior to the Confirmation Date, will no longer be deemed

20                in default. Moreover, to the extent that the Debtor complies with the terms

21                and conditions of the Plan, these obligations will be deemed in good

22                standing; and

23           4.   Subject to the limitations and conditions imposed under Bankruptcy Code

24                § 1125(e), Persons who - in good faith and in compliance with applicable

25                Bankruptcy Code provisions - solicit Plan acceptances or rejections will not

26                be liable on account of their solicitation for violation of any applicable law,

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 1                 rule, or regulation governing the solicitation of Plan acceptances or

 2                 rejections.

 3           B.    Exculpation and Releases

 4           Effective upon the entry of the Confirmation Order, neither the Debtor, the

 5 Reorganized Debtor, the Professionals, nor any of their respective members, officers,

 6 directors, shareholders, employees, or agents, shall have or incur any liability to any

 7 Persons, including any creditor of the Debtor for any act taken or omission made in

 8 connection with or related to the negotiation, formulation, or preparation of the Plan and

 9 the Disclosure Statement, the approval of the Disclosure Statement, the confirmation of

10 the Plan, the consummation of the Plan, or the administration of the Plan, the Case, or the

11 property to be distributed under the Plan, to the fullest extent permitted by applicable

12 statutes and case law, except that the Reorganized Debtor will be liable for performance

13 and obligations assumed by his or imposed upon him under or by the Plan.

14           C.    Vesting of the Assets

15           On the Effective Date, all property of the Estate will vest in the Reorganized Debtor

16 pursuant to § 1141(b), free and clear of all claims and interests except as provided in the

17 Plan.

18           D.    Plan Creates New Obligations

19           Except as otherwise stated in the Plan, the payments promised in the Plan

20 constitute new contractual obligations that replace those obligations to creditors that

21 existed prior to the Effective Date.

22           E.    Creditor Action Restrained

23           Creditors may not take any action to enforce either preconfirmation obligations or

24 obligations due under the Plan, so long as the Debtor is not in material default under the

25 Plan. If the Debtor is in material default under the Plan, affected creditors may: (i) take

26 any action permitted under nonbankruptcy law to enforce the terms of the Plan; or (ii)

27 move to dismiss this case or to convert this case to a chapter 7 bankruptcy case.

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 1           F.    Material Default Defined

 2           If the Debtor fails to make any payment required under the Plan, or to perform any

 3 other obligation required under the Plan for more than 14 days after the time specified in

 4 the Plan, the affected creditor may serve upon the Debtor and the Debtor's attorney a

 5 written notice of default. The Debtor is in material default under the Plan if the Debtor fails

 6 within 21 days of the service of such notice of default, plus 3 additional days if served by

 7 mail, either: (i) to cure the default or (ii) to obtain from the Court an extension of time to

 8 cure the default or a determination that no default occurred.

 9           G.    Modification of the Plan

10           The Debtor may modify the Plan at any time before confirmation subject to

11 Bankruptcy Code § 1127(a). If the Plan is modified, however, the Court may require a

12 new disclosure statement or re-voting on the Plan depending upon the nature of the

13 modifications and their effect on parties in interest. The Reorganized Debtor may also

14 seek to modify the Plan at any time after confirmation subject to Bankruptcy Code

15 § 1127(b), if: (a) the Plan has not been substantially consummated; and (b) the Court,

16 after notice and a hearing, authorizes the proposed modification.

17           H.    Post-Confirmation Status Report

18           Within 120 days of the entry of the Confirmation Order, the Reorganized Debtor

19 shall file a status report with the Court explaining what progress has been made towards

20 consummation of the confirmed Plan. The status report shall be served on the OUST and

21 the parties who have requested special notice. Further status reports shall be filed every

22 120 days and served on the same entities.

23           I.    Quarterly Fees

24           Quarterly fees accruing under 28 U.S.C. § 1930(a)(6) prior to confirmation shall be

25 paid to the OUST on or before the Effective Date. Quarterly fees accruing under 28

26 U.S.C. § 1930(a)(6) after confirmation shall be paid to the OUST by the Reorganized

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 1 Debtor until a final decree, or the entry of an order dismissing the case or converting the

 2 case to chapter 7, at the rate in effect at the time such fees are due.

 3           J.     Post-Confirmation Conversion/Dismissal

 4           After the Plan is confirmed, the Court, upon a motion by a creditor or party in

 5 interest and after notice and a hearing, may convert this case to one under chapter 7 of

 6 the Bankruptcy Code or dismiss this case under Bankruptcy Code § 1112(b) upon a

 7 showing of cause therefore, including, without limitation, if there is a material default by

 8 the Reorganized Debtor with respect to the confirmed Plan. If the Court orders the case

 9 converted to chapter 7 after the Plan is confirmed, then all property that had been property

10 of the Estate and that has not been distributed under the Plan will revest in the chapter 7

11 estate. The automatic stay provisions of § 362(a) of the Bankruptcy Code will be

12 reimposed upon the revested property only to the extent that relief from stay was not

13 previously authorized by the Court during the case.

14           The Confirmation Order may also be revoked under very limited circumstances.

15 Pursuant to § 1144 of the Bankruptcy Code, the Court may revoke the Confirmation Order

16 if it was procured by fraud and if a party in interest brings an adversary proceeding to

17 revoke the confirmation within 180 days after the entry of the Confirmation Order.

18           K.     Final Decree

19           Pursuant to Bankruptcy Rule 3022, a Final Decree may be not be entered until a

20 bankruptcy case is fully administered. The Court may, however, allow a Final Decree to

21 be entered at an earlier date if requested, or for cause shown.

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 1                                          Respectfully submitted,
     Dated: June 21, 2017                   LOBEL WEILAND GOLDEN FRIEDMAN LLP
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                                            By: /s/ Alan J. Friedman
 4                                              JEFFREY I. GOLDEN
                                                ALAN J. FRIEDMAN
 5                                              BETH E. GASCHEN
                                                Attorneys for David Tudor Chamberlain,
 6                                              Debtor and Debtor-in-Possession
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EĞƚ ĐĂƐŚ ĨůŽǁ ďĞĨŽƌĞ EĞǁ ŽƌƌŽǁŝŶŐƐ ĂŶĚ WůĂŶ WĂǇŵĞŶƚƐ
;ΗKƉĞƌĂƚŝŶŐΗͿ;ϭͿ                                                              ϲϰ͕ϴϵϵ   ϱϳ͕Ϭϳϴ    ϲϬ͕ϳϵϮ   ϱϯ͕ϯϴϯ   ϱϲ͕ϭϭϴ   ϱϮ͕ϴϳϭ    ϱϴ͕Ϭϴϴ   ϱϱ͕ϴϳϮ    ϳϱ͕ϰϭϴ    ϱϴ͕ϰϲϳ    ϳϰ͕ϰϰϲ    ϲϱ͕ϳϬϲ    ϲϰ͕ϴϵϵ   ϱϳ͕Ϭϳϴ     ϲϬ͕ϳϵϮ


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                                                                                                                                                             YϰͲϭϵ    YϭͲϮϬ 18:01:29
                                                                                                                                                                                YϮͲϮϬ     YϯͲϮϬ DescYϰͲϮϬ                             YϭͲϮϭ       YϮͲϮϭ       YϯͲϮϭ       YϰͲϮϭ
^ŽƵƌĐĞƐ ŽĨ ĂƐŚ
 'ƌŽƐƐ /ŶĐŽŵĞ ĨƌŽŵ Z ďƌŽŬĞƌĂŐĞ ĂŶĚ ƌĞůĂƚĞĚ ĂĐƚŝǀŝƚŝĞƐ                   Ψ ϭϬϵ͕ϱϮϴ Ψ ϱϭ͕ϮϱϮ
                                                                                                   Main     Document               Page      96   of   108
                                                                                                Ψ ϭϮϴ͕ϰϬϵ Ψ ϭϱϰ͕ϴϭϭ Ψ ϭϬϵ͕ϱϮϴ Ψ ϱϭ͕ϮϱϮ Ψ ϭϮϴ͕ϰϬϵ Ψ ϭϱϰ͕ϴϭϭ Ψ ϭϬϵ͕ϱϮϴ Ψ ϱϭ͕ϮϱϮ Ψ ϭϮϴ͕ϰϬϵ Ψ ϭϱϰ͕ϴϭϭ Ψ ϭϬϵ͕ϱϮϴ                          Ψ ϱϭ͕ϮϱϮ Ψ ϭϮϴ͕ϰϬϵ Ψ ϭϱϰ͕ϴϭϭ Ψ ϭϬϵ͕ϱϮϴ
'ƌŽƐƐ ZĞŶƚĂů /ŶĐŽŵĞ                                                        ϮϭϮ͕ϵϵϮ  ϮϭϮ͕ϵϵϮ      ϮϭϮ͕ϵϵϮ     ϮϭϮ͕ϵϵϮ     ϮϭϮ͕ϵϵϮ     ϮϭϮ͕ϵϵϮ     ϮϭϮ͕ϵϵϮ     ϮϭϮ͕ϵϵϮ     ϮϭϮ͕ϵϵϮ     ϮϭϮ͕ϵϵϮ     ϮϭϮ͕ϵϵϮ     ϮϭϮ͕ϵϵϮ     ϮϭϮ͕ϵϵϮ      ϮϭϮ͕ϵϵϮ   ϮϭϮ͕ϵϵϮ   ϮϭϮ͕ϵϵϮ   ϮϭϮ͕ϵϵϮ
 KƚŚĞƌ /ŶĐŽŵĞ͗ Kd^                                                         ϭ͕ϴϬϬ    ϭ͕ϴϬϬ        ϭ͕ϴϬϬ       ϭ͕ϴϬϬ       ϭ͕ϴϬϬ       ϭ͕ϴϬϬ       ϭ͕ϴϬϬ       ϭ͕ϴϬϬ       ϭ͕ϴϬϬ       ϭ͕ϴϬϬ       ϭ͕ϴϬϬ       ϭ͕ϴϬϬ       ϭ͕ϴϬϬ        ϭ͕ϴϬϬ     ϭ͕ϴϬϬ     ϭ͕ϴϬϬ     ϭ͕ϴϬϬ
 KƚŚĞƌ /ŶĐŽŵĞ͗ &d                                                             Ͳ        Ͳ            Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ            Ͳ         Ͳ         Ͳ         Ͳ
 dŽƚĂů /ŶĐŽŵĞ                                                              ϯϮϰ͕ϯϮϬ  Ϯϲϲ͕Ϭϰϰ      ϯϰϯ͕ϮϬϭ     ϯϲϵ͕ϲϬϯ     ϯϮϰ͕ϯϮϬ     Ϯϲϲ͕Ϭϰϰ     ϯϰϯ͕ϮϬϭ     ϯϲϵ͕ϲϬϯ     ϯϮϰ͕ϯϮϬ     Ϯϲϲ͕Ϭϰϰ     ϯϰϯ͕ϮϬϭ     ϯϲϵ͕ϲϬϯ     ϯϮϰ͕ϯϮϬ      Ϯϲϲ͕Ϭϰϰ   ϯϰϯ͕ϮϬϭ   ϯϲϵ͕ϲϬϯ   ϯϮϰ͕ϯϮϬ


hƐĞƐ ŽĨ ĂƐŚ
ƌŽŬĞƌĂŐĞ ĞǆƉĞŶƐĞƐ ;ϱϬй ŽĨ 'ƌŽƐƐ /ŶĐŽŵĞͿ                           ϱϬй     ϱϰ͕ϳϲϰ    Ϯϱ͕ϲϮϲ       ϲϰ͕ϮϬϱ      ϳϳ͕ϰϬϱ      ϱϰ͕ϳϲϰ      Ϯϱ͕ϲϮϲ      ϲϰ͕ϮϬϱ      ϳϳ͕ϰϬϱ      ϱϰ͕ϳϲϰ      Ϯϱ͕ϲϮϲ      ϲϰ͕ϮϬϱ      ϳϳ͕ϰϬϱ      ϱϰ͕ϳϲϰ       Ϯϱ͕ϲϮϲ      ϲϰ͕ϮϬϱ      ϳϳ͕ϰϬϱ      ϱϰ͕ϳϲϰ
ZĞŶƚĂů ǆƉĞŶƐĞƐ                                                            ϭϰ͕ϱϳϮ    ϭϰ͕ϱϳϮ       ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ       ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ      ϭϰ͕ϱϳϮ

 WƌŝŵĂƌǇ ZĞƐŝĚĞŶĐĞ
  /ŶƐƵƌĂŶĐĞ                                                                   ϰϱϬ       ϰϱϬ          ϰϱϬ         ϰϱϬ         ϰϱϬ         ϰϱϬ         ϰϱϬ         ϰϱϬ         ϰϱϬ         ϰϱϬ         ϰϱϬ         ϰϱϬ         ϰϱϬ          ϰϱϬ         ϰϱϬ         ϰϱϬ         ϰϱϬ
  DĂŝŶƚĞŶĂŶĐĞ                                                                 ϯϬϬ       ϯϬϬ          ϯϬϬ         ϯϬϬ         ϯϬϬ         ϯϬϬ         ϯϬϬ         ϯϬϬ         ϯϬϬ         ϯϬϬ         ϯϬϬ         ϯϬϬ         ϯϬϬ          ϯϬϬ         ϯϬϬ         ϯϬϬ         ϯϬϬ
  hƚŝůŝƚŝĞƐ                                                                 ϭ͕ϯϱϬ     ϭ͕ϯϱϬ        ϭ͕ϯϱϬ       ϭ͕ϯϱϬ       ϭ͕ϯϱϬ       ϭ͕ϯϱϬ       ϭ͕ϯϱϬ       ϭ͕ϯϱϬ       ϭ͕ϯϱϬ       ϭ͕ϯϱϬ       ϭ͕ϯϱϬ       ϭ͕ϯϱϬ       ϭ͕ϯϱϬ        ϭ͕ϯϱϬ       ϭ͕ϯϱϬ       ϭ͕ϯϱϬ       ϭ͕ϯϱϬ

 KƚŚĞƌ
  /ŶĐŽŵĞ dĂǆ Λ ϭϱй ĞĨĨĞĐƚŝǀĞ ƌĂƚĞ                                          ϰϴ͕ϲϰϴ    ϯϵ͕ϵϬϳ       ϱϭ͕ϰϴϬ      ϱϱ͕ϰϰϬ      ϰϴ͕ϲϰϴ      ϯϵ͕ϵϬϳ      ϱϭ͕ϰϴϬ      ϱϱ͕ϰϰϬ      ϰϴ͕ϲϰϴ      ϯϵ͕ϵϬϳ      ϱϭ͕ϰϴϬ      ϱϱ͕ϰϰϬ      ϰϴ͕ϲϰϴ       ϯϵ͕ϵϬϳ      ϱϭ͕ϰϴϬ      ϱϱ͕ϰϰϬ      ϰϴ͕ϲϰϴ
  'ƌŽĐĞƌŝĞƐ                                                                 ϭ͕ϱϬϬ     ϭ͕ϱϬϬ        ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ        ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ
  ,ŽƵƐĞŬĞĞƉŝŶŐ                                                              ϭ͕ϱϬϬ     ϭ͕ϱϬϬ        ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ        ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ
  ůŽƚŚŝŶŐ                                                                  ϭ͕ϱϬϬ     ϭ͕ϱϬϬ        ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ        ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ
  WĞƌƐŽŶĂů ĂƌĞ                                                               ϳϱϬ       ϳϱϬ          ϳϱϬ         ϳϱϬ         ϳϱϬ         ϳϱϬ         ϳϱϬ         ϳϱϬ         ϳϱϬ         ϳϱϬ         ϳϱϬ         ϳϱϬ         ϳϱϬ          ϳϱϬ         ϳϱϬ         ϳϱϬ         ϳϱϬ
  KƵƚͲŽĨͲƉŽĐŬĞƚ ŵĞĚŝĐĂů                                                     ϭ͕ϱϬϬ     ϭ͕ϱϬϬ        ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ        ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ
  dƌĂŶƐƉŽƌƚĂƚŝŽŶ                                                            ϭ͕ϱϬϬ     ϭ͕ϱϬϬ        ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ        ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ       ϭ͕ϱϬϬ
  ŶƚĞƌƚĂŝŶŵĞŶƚ                                                             ϰ͕ϱϬϬ     ϰ͕ϱϬϬ        ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ        ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ
  ŚĂƌŝƚǇ                                                                     ϲϬϬ       ϲϬϬ          ϲϬϬ         ϲϬϬ         ϲϬϬ         ϲϬϬ         ϲϬϬ         ϲϬϬ         ϲϬϬ         ϲϬϬ         ϲϬϬ         ϲϬϬ         ϲϬϬ          ϲϬϬ         ϲϬϬ         ϲϬϬ         ϲϬϬ
  >ŝĨĞ /ŶƐƵƌĂŶĐĞ                                                              ϲϭϲ       ϲϭϲ          ϲϭϲ         ϲϭϲ         ϲϭϲ         ϲϭϲ         ϲϭϲ         ϲϭϲ         ϲϭϲ         ϲϭϲ         ϲϭϲ         ϲϭϲ         ϲϭϲ          ϲϭϲ         ϲϭϲ         ϲϭϲ         ϲϭϲ
  ,ĞĂůƚŚ /ŶƐƵƌĂŶĐĞ                                                          ϯ͕ϬϬϬ     ϯ͕ϬϬϬ        ϯ͕ϬϬϬ       ϯ͕ϬϬϬ       ϯ͕ϬϬϬ       ϯ͕ϬϬϬ       ϯ͕ϬϬϬ       ϯ͕ϬϬϬ       ϯ͕ϬϬϬ       ϯ͕ϬϬϬ       ϯ͕ϬϬϬ       ϯ͕ϬϬϬ       ϯ͕ϬϬϬ        ϯ͕ϬϬϬ       ϯ͕ϬϬϬ       ϯ͕ϬϬϬ       ϯ͕ϬϬϬ
  &ĂŵŝůǇ ŽďůŝŐĂƚŝŽŶƐ                                                        ϰ͕ϱϬϬ     ϰ͕ϱϬϬ        ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ        ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ       ϰ͕ϱϬϬ
                                                                              Ͳ         Ͳ            Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ            Ͳ           Ͳ           Ͳ           Ͳ
 dŽƚĂů hƐĞƐ ŽĨ ĂƐŚ                                                       ϭϰϭ͕ϱϱϬ   ϭϬϯ͕ϲϳϭ      ϭϱϯ͕ϴϮϯ     ϭϳϬ͕ϵϴϰ     ϭϰϭ͕ϱϱϬ     ϭϬϯ͕ϲϳϭ     ϭϱϯ͕ϴϮϯ     ϭϳϬ͕ϵϴϰ     ϭϰϭ͕ϱϱϬ     ϭϬϯ͕ϲϳϭ     ϭϱϯ͕ϴϮϯ     ϭϳϬ͕ϵϴϰ     ϭϰϭ͕ϱϱϬ      ϭϬϯ͕ϲϳϭ     ϭϱϯ͕ϴϮϯ     ϭϳϬ͕ϵϴϰ     ϭϰϭ͕ϱϱϬ
                                                                              Ͳ         Ͳ            Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ            Ͳ           Ͳ           Ͳ           Ͳ
EĞƚ ĐĂƐŚ ĨůŽǁ ďĞĨŽƌĞ EĞǁ ŽƌƌŽǁŝŶŐƐ ĂŶĚ WůĂŶ WĂǇŵĞŶƚƐ
;ΗKƉĞƌĂƚŝŶŐΗͿ;ϭͿ                                                          ϭϴϮ͕ϳϲϵ   ϭϲϮ͕ϯϳϯ      ϭϴϵ͕ϯϳϴ     ϭϵϴ͕ϲϭϴ     ϭϴϮ͕ϳϲϵ     ϭϲϮ͕ϯϳϯ     ϭϴϵ͕ϯϳϴ     ϭϵϴ͕ϲϭϴ     ϭϴϮ͕ϳϲϵ     ϭϲϮ͕ϯϳϯ     ϭϴϵ͕ϯϳϴ     ϭϵϴ͕ϲϭϴ     ϭϴϮ͕ϳϲϵ      ϭϲϮ͕ϯϳϯ     ϭϴϵ͕ϯϳϴ     ϭϵϴ͕ϲϭϴ     ϭϴϮ͕ϳϲϵ

                                                                              Ͳ         Ͳ            Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ           Ͳ            Ͳ           Ͳ           Ͳ           Ͳ
WƌŽĐĞĞĚƐ ĨƌŽŵ EĞƚ EĞǁ ŽƌƌŽǁŝŶŐƐ                                          ϳϱϬ͕ϬϬϬ           Ϭ            Ϭ           Ϭ           Ϭ           Ϭ           Ϭ           Ϭ           Ϭ           Ϭ           Ϭ           Ϭ           Ϭ            Ϭ           Ϭ           Ϭ           Ϭ


;ϭͿ dŚŝƐ ƌĞƉƌĞƐĞŶƚΖƐ ϭϬϬй ŽĨ ƚŚĞ ŝŶĐŽŵĞ ĂŶĚ ĞǆƉĞŶƐĞ ĨƌŽŵ ƚŚĞ
ĞďƚŽƌ ĂŶĚ ƐƉŽƵƐĞΖƐ ŝŶǀĞƐƚŵĞŶƚ ƉƌŽƉĞƌƚŝĞƐ ĂŶĚ ϱϬй ŽĨ ƌĞĂů ĞƐƚĂƚĞ
ĐŽŵŵŝƐƐŝŽŶ ĂŶĚ ƌĞůĂƚĞĚ ŝŶĐŽŵĞ ĂŶĚ ĞǆƉĞŶƐĞƐ͘




                                                                                                                                                                                                                                                  EXHIBIT "1"
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W> E WZK:d/KE^                                          Case 8:17-bk-11370-CB
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^ŽƵƌĐĞƐ ŽĨ ĂƐŚ
 'ƌŽƐƐ /ŶĐŽŵĞ ĨƌŽŵ Z ďƌŽŬĞƌĂŐĞ ĂŶĚ ƌĞůĂƚĞĚ ĂĐƚŝǀŝƚŝĞƐ               Ψ  ϭϬϵ͕ϱϮϴ Ψ
                                                                                           Main
                                                                                   ϰϰϰ͕ϬϬϬ Ψ
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                                                                                              ϰϰϰ͕ϬϬϬ Ψ ϰϰϰ͕ϬϬϬ Ψ
                                                                                                                    Page
                                                                                                                   ϰϰϰ͕ϬϬϬ
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'ƌŽƐƐ ZĞŶƚĂů /ŶĐŽŵĞ                                                       ϮϭϮ͕ϵϵϮ     ϴϱϭ͕ϵϲϳ       ϴϱϭ͕ϵϲϳ       ϴϱϭ͕ϵϲϳ       ϴϱϭ͕ϵϲϳ
 KƚŚĞƌ /ŶĐŽŵĞ͗ Kd^                                                        ϭ͕ϴϬϬ       ϳ͕ϮϬϬ         ϳ͕ϮϬϬ         ϳ͕ϮϬϬ         ϳ͕ϮϬϬ
 KƚŚĞƌ /ŶĐŽŵĞ͗ &d                                                            Ͳ           Ͳ             Ͳ             Ͳ             Ͳ
 dŽƚĂů /ŶĐŽŵĞ                                                             ϯϮϰ͕ϯϮϬ   ϭ͕ϯϬϯ͕ϭϲϳ     ϭ͕ϯϬϯ͕ϭϲϳ     ϭ͕ϯϬϯ͕ϭϲϳ     ϭ͕ϯϬϯ͕ϭϲϳ


hƐĞƐ ŽĨ ĂƐŚ
ƌŽŬĞƌĂŐĞ ĞǆƉĞŶƐĞƐ ;ϱϬй ŽĨ 'ƌŽƐƐ /ŶĐŽŵĞͿ                            ϱϬй    ϱϰ͕ϳϲϰ    ϮϮϮ͕ϬϬϬ       ϮϮϮ͕ϬϬϬ       ϮϮϮ͕ϬϬϬ       ϮϮϮ͕ϬϬϬ
ZĞŶƚĂů ǆƉĞŶƐĞƐ                                                            ϭϰ͕ϱϳϮ     ϭϰ͕ϱϳϮ        ϭϰ͕ϱϳϮ        ϭϰ͕ϱϳϮ        ϭϰ͕ϱϳϮ

 WƌŝŵĂƌǇ ZĞƐŝĚĞŶĐĞ
  /ŶƐƵƌĂŶĐĞ                                                                   ϰϱϬ      ϭ͕ϴϬϬ         ϭ͕ϴϬϬ         ϭ͕ϴϬϬ         ϭ͕ϴϬϬ
  DĂŝŶƚĞŶĂŶĐĞ                                                                 ϯϬϬ      ϭ͕ϮϬϬ         ϭ͕ϮϬϬ         ϭ͕ϮϬϬ         ϭ͕ϮϬϬ
  hƚŝůŝƚŝĞƐ                                                                 ϭ͕ϯϱϬ      ϱ͕ϰϬϬ         ϱ͕ϰϬϬ         ϱ͕ϰϬϬ         ϱ͕ϰϬϬ

 KƚŚĞƌ
  /ŶĐŽŵĞ dĂǆ Λ ϭϱй ĞĨĨĞĐƚŝǀĞ ƌĂƚĞ                                          ϰϴ͕ϲϰϴ    ϭϵϱ͕ϰϳϱ       ϭϵϱ͕ϰϳϱ       ϭϵϱ͕ϰϳϱ       ϭϵϱ͕ϰϳϱ
  'ƌŽĐĞƌŝĞƐ                                                                 ϭ͕ϱϬϬ      ϲ͕ϬϬϬ         ϲ͕ϬϬϬ         ϲ͕ϬϬϬ         ϲ͕ϬϬϬ
  ,ŽƵƐĞŬĞĞƉŝŶŐ                                                              ϭ͕ϱϬϬ      ϲ͕ϬϬϬ         ϲ͕ϬϬϬ         ϲ͕ϬϬϬ         ϲ͕ϬϬϬ
  ůŽƚŚŝŶŐ                                                                  ϭ͕ϱϬϬ      ϲ͕ϬϬϬ         ϲ͕ϬϬϬ         ϲ͕ϬϬϬ         ϲ͕ϬϬϬ
  WĞƌƐŽŶĂů ĂƌĞ                                                               ϳϱϬ      ϯ͕ϬϬϬ         ϯ͕ϬϬϬ         ϯ͕ϬϬϬ         ϯ͕ϬϬϬ
  KƵƚͲŽĨͲƉŽĐŬĞƚ ŵĞĚŝĐĂů                                                     ϭ͕ϱϬϬ      ϲ͕ϬϬϬ         ϲ͕ϬϬϬ         ϲ͕ϬϬϬ         ϲ͕ϬϬϬ
  dƌĂŶƐƉŽƌƚĂƚŝŽŶ                                                            ϭ͕ϱϬϬ      ϲ͕ϬϬϬ         ϲ͕ϬϬϬ         ϲ͕ϬϬϬ         ϲ͕ϬϬϬ
  ŶƚĞƌƚĂŝŶŵĞŶƚ                                                             ϰ͕ϱϬϬ     ϭϴ͕ϬϬϬ        ϭϴ͕ϬϬϬ        ϭϴ͕ϬϬϬ        ϭϴ͕ϬϬϬ
  ŚĂƌŝƚǇ                                                                     ϲϬϬ      Ϯ͕ϰϬϬ         Ϯ͕ϰϬϬ         Ϯ͕ϰϬϬ         Ϯ͕ϰϬϬ
  >ŝĨĞ /ŶƐƵƌĂŶĐĞ                                                              ϲϭϲ      Ϯ͕ϰϲϱ         Ϯ͕ϰϲϱ         Ϯ͕ϰϲϱ         Ϯ͕ϰϲϱ
  ,ĞĂůƚŚ /ŶƐƵƌĂŶĐĞ                                                          ϯ͕ϬϬϬ     ϭϮ͕ϬϬϬ        ϭϮ͕ϬϬϬ        ϭϮ͕ϬϬϬ        ϭϮ͕ϬϬϬ
  &ĂŵŝůǇ ŽďůŝŐĂƚŝŽŶƐ                                                        ϰ͕ϱϬϬ     ϭϴ͕ϬϬϬ        ϭϴ͕ϬϬϬ        ϭϴ͕ϬϬϬ        ϭϴ͕ϬϬϬ
                                                                              Ͳ          Ͳ             Ͳ             Ͳ             Ͳ
 dŽƚĂů hƐĞƐ ŽĨ ĂƐŚ                                                       ϭϰϭ͕ϱϱϬ    ϱϳϬ͕ϬϮϴ       ϱϳϬ͕ϬϮϴ       ϱϳϬ͕ϬϮϴ       ϱϳϬ͕ϬϮϴ
                                                                              Ͳ          Ͳ             Ͳ             Ͳ             Ͳ
EĞƚ ĐĂƐŚ ĨůŽǁ ďĞĨŽƌĞ EĞǁ ŽƌƌŽǁŝŶŐƐ ĂŶĚ WůĂŶ WĂǇŵĞŶƚƐ
;ΗKƉĞƌĂƚŝŶŐΗͿ;ϭͿ                                                          ϭϴϮ͕ϳϲϵ    ϳϯϯ͕ϭϯϵ       ϳϯϯ͕ϭϯϵ       ϳϯϯ͕ϭϯϵ       ϳϯϯ͕ϭϯϵ

                                                                              Ͳ           Ͳ             Ͳ             Ͳ             Ͳ
WƌŽĐĞĞĚƐ ĨƌŽŵ EĞƚ EĞǁ ŽƌƌŽǁŝŶŐƐ                                          ϳϱϬ͕ϬϬϬ             Ϭ             Ϭ             Ϭ             Ϭ


;ϭͿ dŚŝƐ ƌĞƉƌĞƐĞŶƚΖƐ ϭϬϬй ŽĨ ƚŚĞ ŝŶĐŽŵĞ ĂŶĚ ĞǆƉĞŶƐĞ ĨƌŽŵ ƚŚĞ
ĞďƚŽƌ ĂŶĚ ƐƉŽƵƐĞΖƐ ŝŶǀĞƐƚŵĞŶƚ ƉƌŽƉĞƌƚŝĞƐ ĂŶĚ ϱϬй ŽĨ ƌĞĂů ĞƐƚĂƚĞ
ĐŽŵŵŝƐƐŝŽŶ ĂŶĚ ƌĞůĂƚĞĚ ŝŶĐŽŵĞ ĂŶĚ ĞǆƉĞŶƐĞƐ͘




                                                                                                                                                               EXHIBIT "1"
                                                                                                                                                               Page 77
W> E WZK:d/KE^                                      Case 8:17-bk-11370-CB                                 Doc 113
                                                                                                            KĐƚͲϭϳ
                                                                                                                EŽǀͲϭϳ Filed :ĂŶͲϭϴ
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                                                                                                                                            DĂƌͲϭϴ ƉƌͲϭϴ 06/21/17
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                                                                                                                                                                                              ƵŐͲϭϴ^ĞƉͲϭϴ      KĐƚͲϭϴ    EŽǀͲϭϴ    ĞĐͲϭϴ

WůĂŶ WĂǇŵĞŶƚƐ                                                                                               Main Document           Page 98 of 108

ůĂƐƐ                                                        ƵƌƌĞŶƚ ůĂŝŵ W& ZĂƚĞ   W& WΘ/ dĂǆͬ/ŶƐƵƌĂŶĐĞ
   ^ĞĐƵƌĞĚ
     ϭ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ZŽƵŶĚƉŽŝŶƚ
        DŽƌƚŐĂŐĞ ;ϭƐƚ dƌƵƐƚ ĞĞĚ ^ƵƌĨƐŝĚĞ WƌŽƉĞƌƚǇͿ              ϭ͕ϰϵϰ͕ϭϭϱ  ϯ͘ϱϬй    ϰ͕ϯϱϴ          ϭ͕ϭϬϱ
  ϭ dŽƚĂů                                                        ϭ͕ϰϵϰ͕ϭϭϱ  ϯ͘ϱϬй    ϰ͕ϯϱϴ          ϭ͕ϭϬϱ     ϱ͕ϰϲϯ   ϱ͕ϰϲϯ   ϱ͕ϰϲϯ   ϱ͕ϰϲϯ   ϱ͕ϰϲϯ   ϱ͕ϰϲϯ   ϱ͕ϰϲϯ   ϱ͕ϰϲϯ   ϱ͕ϰϲϯ   ϱ͕ϰϲϯ    ϱ͕ϰϲϯ   ϱ͕ϰϲϯ     ϱ͕ϰϲϯ     ϱ͕ϰϲϯ     ϱ͕ϰϲϯ
     Ϯ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ tĞůůƐ &ĂƌŐŽ ĂŶŬ ;ϮŶĚ dƌƵƐƚ ĞĞĚ
        ^ƵƌĨƐŝĚĞ WƌŽƉĞƌƚǇͿ                                         ϭϵϲ͕ϳϲϱ  ϲ͘Ϭϯй    ϭ͕ϬϯϮ            Ͳ
  Ϯ dŽƚĂů                                                          ϭϵϲ͕ϳϲϱ  ϲ͘Ϭϯй    ϭ͕ϬϯϮ            Ͳ       ϭ͕ϬϯϮ   ϭ͕ϬϯϮ   ϭ͕ϬϯϮ   ϭ͕ϬϯϮ   ϭ͕ϬϯϮ   ϭ͕ϬϯϮ   ϭ͕ϬϯϮ   ϭ͕ϬϯϮ   ϭ͕ϬϯϮ   ϭ͕ϬϯϮ    ϭ͕ϬϯϮ   ϭ͕ϬϯϮ     ϭ͕ϬϯϮ     ϭ͕ϬϯϮ     ϭ͕ϬϯϮ
     ϯ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŚĂƐĞ ŽŵŵĞƌĐŝĂů ĂŶŬ ;ϭƐƚ dƌƵƐƚ
        ĞĞĚ >Ă^ĂůůĞ ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                              ϱϳϳ͕ϱϯϯ  ϰ͘Ϯϱй    Ϯ͕ϴϰϭ            ϳϳϰ
  ϯ dŽƚĂů                                                          ϱϳϳ͕ϱϯϯ  ϰ͘Ϯϱй    Ϯ͕ϴϰϭ            ϳϳϰ     ϯ͕ϲϭϲ   ϯ͕ϲϭϲ   ϯ͕ϲϭϲ   ϯ͕ϲϭϲ   ϯ͕ϲϭϲ   ϯ͕ϲϭϲ   ϯ͕ϲϭϲ   ϯ͕ϲϭϲ   ϯ͕ϲϭϲ   ϯ͕ϲϭϲ    ϯ͕ϲϭϲ   ϯ͕ϲϭϲ     ϯ͕ϲϭϲ     ϯ͕ϲϭϲ     ϯ͕ϲϭϲ
     ϰ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŶŶ >ĞŝƐǇ ;ϮŶĚ ƚƌƵƐƚ ĚĞĞĚ ŽĨ >Ă^ĂůůĞ
        ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                                           ϭϲϮ͕ϯϰϮ  ϰ͘Ϯϱй      ϳϵϵ
  ϰ dŽƚĂů                                                          ϭϲϮ͕ϯϰϮ  ϰ͘Ϯϱй      ϳϵϵ                     ϳϵϵ     ϳϵϵ     ϳϵϵ     ϳϵϵ     ϳϵϵ     ϳϵϵ     ϳϵϵ     ϳϵϵ     ϳϵϵ     ϳϵϵ      ϳϵϵ     ϳϵϵ       ϳϵϵ       ϳϵϵ        ϳϵϵ
     ϱ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŚĂƐĞ ŽŵŵĞƌĐŝĂů ĂŶŬ ;ϭƐƚ dƌƵƐƚ
        ĞĞĚ ŽŵƐƚŽĐŬ ǀĞŶƵĞ WƌŽƉĞƌƚǇͿ                              ϯϴϬ͕ϯϱϱ  ϯ͘ϯϭй    Ϯ͕ϰϱϬ          ϭ͕Ϭϴϭ
  ϱ dŽƚĂů                                                          ϯϴϬ͕ϯϱϱ  ϯ͘ϯϭй    Ϯ͕ϰϱϬ          ϭ͕Ϭϴϭ     ϯ͕ϱϯϭ   ϯ͕ϱϯϭ   ϯ͕ϱϯϭ   ϯ͕ϱϯϭ   ϯ͕ϱϯϭ   ϯ͕ϱϯϭ   ϯ͕ϱϯϭ   ϯ͕ϱϯϭ   ϯ͕ϱϯϭ   ϯ͕ϱϯϭ    ϯ͕ϱϯϭ   ϯ͕ϱϯϭ     ϯ͕ϱϯϭ     ϯ͕ϱϯϭ     ϯ͕ϱϯϭ
     ϲ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŝŐŝƚĂů &ĞĚĞƌĂů ƌĞĚŝƚ hŶŝŽŶ ;ϭƐƚ
        dƌƵƐƚ ĞĞĚ E, WƌŽƉĞƌƚǇͿ                                    ϯϳϴ͕ϰϴϱ  ϰ͘Ϯϱй    ϭ͕ϴϲϮ          ϭ͕ϱϰϰ
  ϲ dŽƚĂů                                                          ϯϳϴ͕ϰϴϱ  ϰ͘Ϯϱй    ϭ͕ϴϲϮ          ϭ͕ϱϰϰ     ϯ͕ϰϬϲ   ϯ͕ϰϬϲ   ϯ͕ϰϬϲ   ϯ͕ϰϬϲ   ϯ͕ϰϬϲ   ϯ͕ϰϬϲ   ϯ͕ϰϬϲ   ϯ͕ϰϬϲ   ϯ͕ϰϬϲ   ϯ͕ϰϬϲ    ϯ͕ϰϬϲ   ϯ͕ϰϬϲ     ϯ͕ϰϬϲ     ϯ͕ϰϬϲ     ϯ͕ϰϬϲ
     ϳ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ h͘^͘ ĂŶŬ ;ϭƐƚ dƌƵƐƚ ĞĞĚ EĞǀĂĚĂ
        WƌŽƉĞƌƚǇͿ                                                  ϮϬϵ͕ϯϰϯ  ϰ͘Ϯϱй    ϭ͕ϬϯϬ            ϱϴϰ
  ϳ dŽƚĂů                                                          ϮϬϵ͕ϯϰϯ  ϰ͘Ϯϱй    ϭ͕ϬϯϬ            ϱϴϰ     ϭ͕ϲϭϰ   ϭ͕ϲϭϰ   ϭ͕ϲϭϰ   ϭ͕ϲϭϰ   ϭ͕ϲϭϰ   ϭ͕ϲϭϰ   ϭ͕ϲϭϰ   ϭ͕ϲϭϰ   ϭ͕ϲϭϰ   ϭ͕ϲϭϰ    ϭ͕ϲϭϰ   ϭ͕ϲϭϰ     ϭ͕ϲϭϰ     ϭ͕ϲϭϰ     ϭ͕ϲϭϰ
     ϴ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ tĞůůƐ &ĂƌŐŽ ĂŶŬ ;ϭƐƚ dƌƵƐƚ ĞĞĚ
        sŽŶŶŝĞ >ĂŶĞ WƌŽƉĞƌƚǇͿ                                      ϰϰϰ͕Ϭϰϴ  ϰ͘Ϯϱй    Ϯ͕ϭϴϰ            ϯϲϱ
  ϴ dŽƚĂů                                                          ϰϰϰ͕Ϭϰϴ  ϰ͘Ϯϱй    Ϯ͕ϭϴϰ            ϯϲϱ     Ϯ͕ϱϱϬ   Ϯ͕ϱϱϬ   Ϯ͕ϱϱϬ   Ϯ͕ϱϱϬ   Ϯ͕ϱϱϬ   Ϯ͕ϱϱϬ   Ϯ͕ϱϱϬ   Ϯ͕ϱϱϬ   Ϯ͕ϱϱϬ   Ϯ͕ϱϱϬ    Ϯ͕ϱϱϬ   Ϯ͕ϱϱϬ     Ϯ͕ϱϱϬ     Ϯ͕ϱϱϬ     Ϯ͕ϱϱϬ
     ϵ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ tĞůůƐ &ĂƌŐŽ ĂŶŬ ;ϭƐƚ dƌƵƐƚ ĞĞĚ E͘
        KůŝǀĞ ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                                     ϭϴϳ͕Ϯϴϯ  ϰ͘Ϯϱй      ϵϮϭ            ϯϵϳ
  ϵ dŽƚĂů                                                          ϭϴϳ͕Ϯϴϯ  ϰ͘Ϯϱй      ϵϮϭ            ϯϵϳ     ϭ͕ϯϭϵ   ϭ͕ϯϭϵ   ϭ͕ϯϭϵ   ϭ͕ϯϭϵ   ϭ͕ϯϭϵ   ϭ͕ϯϭϵ   ϭ͕ϯϭϵ   ϭ͕ϯϭϵ   ϭ͕ϯϭϵ   ϭ͕ϯϭϵ    ϭ͕ϯϭϵ   ϭ͕ϯϭϵ     ϭ͕ϯϭϵ     ϭ͕ϯϭϵ     ϭ͕ϯϭϵ
     ϭϬ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ WĂĐŝĨŝĐ WƌĞŵŝĞƌ ĂŶŬ ;ϮŶĚ dƌƵƐƚ
        ĞĞĚ E͘ KůŝǀĞ ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                             ϭϱϬ͕ϯϮϭ  ϱ͘Ϯϱй      ϲϱϴ            Ͳ
  ϭϬ dŽƚĂů                                                         ϭϱϬ͕ϯϮϭ  ϱ͘Ϯϱй      ϲϱϴ            Ͳ        ϲϱϴ     ϲϱϴ     ϲϱϴ     ϲϱϴ     ϲϱϴ     ϲϱϴ     ϲϱϴ     ϲϱϴ     ϲϱϴ     ϲϱϴ      ϲϱϴ     ϲϱϴ       ϲϱϴ       ϲϱϴ        ϲϱϴ
     ϭϭ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ WĂĐŝĨŝĐ WƌĞŵŝĞƌ ĂŶŬ ;ϭƐƚ dƌƵƐƚ
        ĞĞĚ ŽŶ EĞǁŵĂŶ͕ Ğů ŵŽ͕ ĞŶŶŝ͕ ŝƐŚŽƉͿ                   ϭ͕ϭϰϮ͕Ϯϱϰ  ϰ͘Ϯϱй    ϱ͕ϵϳϲ          ϭ͕ϱϳϰ
  ϭϭ dŽƚĂů                                                       ϭ͕ϭϰϮ͕Ϯϱϰ  ϰ͘Ϯϱй    ϱ͕ϵϳϲ          ϭ͕ϱϳϰ     ϳ͕ϱϱϬ   ϳ͕ϱϱϬ   ϳ͕ϱϱϬ   ϳ͕ϱϱϬ   ϳ͕ϱϱϬ   ϳ͕ϱϱϬ   ϳ͕ϱϱϬ   ϳ͕ϱϱϬ   ϳ͕ϱϱϬ   ϳ͕ϱϱϬ    ϳ͕ϱϱϬ   ϳ͕ϱϱϬ     ϳ͕ϱϱϬ     ϳ͕ϱϱϬ     ϳ͕ϱϱϬ
     ϭϮ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ^ĂŶ ůƚŽ
        tĂǇ WƌŽƉĞƌƚǇͿ                                              ϮϲϬ͕ϴϲϳ  ϰ͘Ϯϱй    ϭ͕ϳϲϵ            Ϯϭϳ
  ϭϮ dŽƚĂů                                                         ϮϲϬ͕ϴϲϳ  ϰ͘Ϯϱй    ϭ͕ϳϲϵ            Ϯϭϳ     ϭ͕ϵϴϱ   ϭ͕ϵϴϱ   ϭ͕ϵϴϱ   ϭ͕ϵϴϱ   ϭ͕ϵϴϱ   ϭ͕ϵϴϱ   ϭ͕ϵϴϱ   ϭ͕ϵϴϱ   ϭ͕ϵϴϱ   ϭ͕ϵϴϱ    ϭ͕ϵϴϱ   ϭ͕ϵϴϱ     ϭ͕ϵϴϱ     ϭ͕ϵϴϱ     ϭ͕ϵϴϱ
     ϭϯ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ^ƚƌĂƚƚŽŶ
        ŽƵƌƚ WƌŽƉĞƌƚǇͿ                                            ϮϳϬ͕ϭϲϬ  ϰ͘Ϯϱй    ϭ͕ϳϴϬ            ϭϳϲ
  ϭϯ dŽƚĂů                                                         ϮϳϬ͕ϭϲϬ  ϰ͘Ϯϱй    ϭ͕ϳϴϬ            ϭϳϲ     ϭ͕ϵϱϲ   ϭ͕ϵϱϲ   ϭ͕ϵϱϲ   ϭ͕ϵϱϲ   ϭ͕ϵϱϲ   ϭ͕ϵϱϲ   ϭ͕ϵϱϲ   ϭ͕ϵϱϲ   ϭ͕ϵϱϲ   ϭ͕ϵϱϲ    ϭ͕ϵϱϲ   ϭ͕ϵϱϲ     ϭ͕ϵϱϲ     ϭ͕ϵϱϲ     ϭ͕ϵϱϲ
     ϭϰ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ϴϰϳϵ
        ĞĚĂƌǀŝĞǁ ŽƵƌƚ WƌŽƉĞƌƚǇͿ                                  Ϯϯϳ͕ϱϮϭ  ϰ͘Ϯϱй    ϭ͕ϱϰϲ            ϭϲϰ
  ϭϰ dŽƚĂů                                                         Ϯϯϳ͕ϱϮϭ  ϰ͘Ϯϱй    ϭ͕ϱϰϲ            ϭϲϰ     ϭ͕ϳϭϬ   ϭ͕ϳϭϬ   ϭ͕ϳϭϬ   ϭ͕ϳϭϬ   ϭ͕ϳϭϬ   ϭ͕ϳϭϬ   ϭ͕ϳϭϬ   ϭ͕ϳϭϬ   ϭ͕ϳϭϬ   ϭ͕ϳϭϬ    ϭ͕ϳϭϬ   ϭ͕ϳϭϬ     ϭ͕ϳϭϬ     ϭ͕ϳϭϬ     ϭ͕ϳϭϬ
     ϭϱ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ϴϰϳϱ
        ĞĚĂƌǀŝĞǁ ŽƵƌƚ WƌŽƉĞƌƚǇͿ                                  Ϯϯϳ͕ϱϮϭ  ϰ͘Ϯϱй    ϭ͕ϱϰϲ            ϭϰϳ
  ϭϱ dŽƚĂů                                                         Ϯϯϳ͕ϱϮϭ  ϰ͘Ϯϱй    ϭ͕ϱϰϲ            ϭϰϳ     ϭ͕ϲϵϯ   ϭ͕ϲϵϯ   ϭ͕ϲϵϯ   ϭ͕ϲϵϯ   ϭ͕ϲϵϯ   ϭ͕ϲϵϯ   ϭ͕ϲϵϯ   ϭ͕ϲϵϯ   ϭ͕ϲϵϯ   ϭ͕ϲϵϯ    ϭ͕ϲϵϯ   ϭ͕ϲϵϯ     ϭ͕ϲϵϯ     ϭ͕ϲϵϯ     ϭ͕ϲϵϯ




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ůĂƐƐ                                                        ƵƌƌĞŶƚ ůĂŝŵ
   ^ĞĐƵƌĞĚ
     ϭ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ZŽƵŶĚƉŽŝŶƚ
        DŽƌƚŐĂŐĞ ;ϭƐƚ dƌƵƐƚ ĞĞĚ ^ƵƌĨƐŝĚĞ WƌŽƉĞƌƚǇͿ              ϭ͕ϰϵϰ͕ϭϭϱ
  ϭ dŽƚĂů                                                        ϭ͕ϰϵϰ͕ϭϭϱ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ   ϭϲ͕ϯϴϵ      ϭϲ͕ϯϴϵ
     Ϯ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ tĞůůƐ &ĂƌŐŽ ĂŶŬ ;ϮŶĚ dƌƵƐƚ ĞĞĚ
        ^ƵƌĨƐŝĚĞ WƌŽƉĞƌƚǇͿ                                         ϭϵϲ͕ϳϲϱ
  Ϯ dŽƚĂů                                                          ϭϵϲ͕ϳϲϱ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ    ϯ͕Ϭϵϲ       ϯ͕Ϭϵϲ
     ϯ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŚĂƐĞ ŽŵŵĞƌĐŝĂů ĂŶŬ ;ϭƐƚ dƌƵƐƚ
        ĞĞĚ >Ă^ĂůůĞ ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                              ϱϳϳ͕ϱϯϯ
  ϯ dŽƚĂů                                                          ϱϳϳ͕ϱϯϯ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ   ϭϬ͕ϴϰϳ      ϭϬ͕ϴϰϳ
     ϰ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŶŶ >ĞŝƐǇ ;ϮŶĚ ƚƌƵƐƚ ĚĞĞĚ ŽĨ >Ă^ĂůůĞ
        ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                                           ϭϲϮ͕ϯϰϮ
  ϰ dŽƚĂů                                                          ϭϲϮ͕ϯϰϮ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ    Ϯ͕ϯϵϲ       Ϯ͕ϯϵϲ
     ϱ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŚĂƐĞ ŽŵŵĞƌĐŝĂů ĂŶŬ ;ϭƐƚ dƌƵƐƚ
        ĞĞĚ ŽŵƐƚŽĐŬ ǀĞŶƵĞ WƌŽƉĞƌƚǇͿ                              ϯϴϬ͕ϯϱϱ
  ϱ dŽƚĂů                                                          ϯϴϬ͕ϯϱϱ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ   ϭϬ͕ϱϵϰ      ϭϬ͕ϱϵϰ
     ϲ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŝŐŝƚĂů &ĞĚĞƌĂů ƌĞĚŝƚ hŶŝŽŶ ;ϭƐƚ
        dƌƵƐƚ ĞĞĚ E, WƌŽƉĞƌƚǇͿ                                    ϯϳϴ͕ϰϴϱ
  ϲ dŽƚĂů                                                          ϯϳϴ͕ϰϴϱ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ   ϭϬ͕Ϯϭϴ      ϭϬ͕Ϯϭϴ
     ϳ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ h͘^͘ ĂŶŬ ;ϭƐƚ dƌƵƐƚ ĞĞĚ EĞǀĂĚĂ
        WƌŽƉĞƌƚǇͿ                                                  ϮϬϵ͕ϯϰϯ
  ϳ dŽƚĂů                                                          ϮϬϵ͕ϯϰϯ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ    ϰ͕ϴϰϮ       ϰ͕ϴϰϮ
     ϴ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ tĞůůƐ &ĂƌŐŽ ĂŶŬ ;ϭƐƚ dƌƵƐƚ ĞĞĚ
        sŽŶŶŝĞ >ĂŶĞ WƌŽƉĞƌƚǇͿ                                      ϰϰϰ͕Ϭϰϴ
  ϴ dŽƚĂů                                                          ϰϰϰ͕Ϭϰϴ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ    ϳ͕ϲϱϬ       ϳ͕ϲϱϬ
     ϵ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ tĞůůƐ &ĂƌŐŽ ĂŶŬ ;ϭƐƚ dƌƵƐƚ ĞĞĚ E͘
        KůŝǀĞ ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                                     ϭϴϳ͕Ϯϴϯ
  ϵ dŽƚĂů                                                          ϭϴϳ͕Ϯϴϯ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ    ϯ͕ϵϱϲ       ϯ͕ϵϱϲ
     ϭϬ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ WĂĐŝĨŝĐ WƌĞŵŝĞƌ ĂŶŬ ;ϮŶĚ dƌƵƐƚ
        ĞĞĚ E͘ KůŝǀĞ ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                             ϭϱϬ͕ϯϮϭ
  ϭϬ dŽƚĂů                                                         ϭϱϬ͕ϯϮϭ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ    ϭ͕ϵϳϯ       ϭ͕ϵϳϯ
     ϭϭ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ WĂĐŝĨŝĐ WƌĞŵŝĞƌ ĂŶŬ ;ϭƐƚ dƌƵƐƚ
        ĞĞĚ ŽŶ EĞǁŵĂŶ͕ Ğů ŵŽ͕ ĞŶŶŝ͕ ŝƐŚŽƉͿ                   ϭ͕ϭϰϮ͕Ϯϱϰ
  ϭϭ dŽƚĂů                                                       ϭ͕ϭϰϮ͕Ϯϱϰ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ   ϮϮ͕ϲϱϬ      ϮϮ͕ϲϱϬ
     ϭϮ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ^ĂŶ ůƚŽ
        tĂǇ WƌŽƉĞƌƚǇͿ                                              ϮϲϬ͕ϴϲϳ
  ϭϮ dŽƚĂů                                                         ϮϲϬ͕ϴϲϳ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ    ϱ͕ϵϱϱ       ϱ͕ϵϱϱ
     ϭϯ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ^ƚƌĂƚƚŽŶ
        ŽƵƌƚ WƌŽƉĞƌƚǇͿ                                            ϮϳϬ͕ϭϲϬ
  ϭϯ dŽƚĂů                                                         ϮϳϬ͕ϭϲϬ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ    ϱ͕ϴϲϴ       ϱ͕ϴϲϴ
     ϭϰ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ϴϰϳϵ
        ĞĚĂƌǀŝĞǁ ŽƵƌƚ WƌŽƉĞƌƚǇͿ                                  Ϯϯϳ͕ϱϮϭ
  ϭϰ dŽƚĂů                                                         Ϯϯϳ͕ϱϮϭ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ    ϱ͕ϭϮϵ       ϱ͕ϭϮϵ
     ϭϱ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ϴϰϳϱ
        ĞĚĂƌǀŝĞǁ ŽƵƌƚ WƌŽƉĞƌƚǇͿ                                  Ϯϯϳ͕ϱϮϭ
  ϭϱ dŽƚĂů                                                         Ϯϯϳ͕ϱϮϭ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ    ϱ͕Ϭϳϵ       ϱ͕Ϭϳϵ




                                                                                                                                                                                                                            EXHIBIT "1"
                                                                                                                                                                                                                            Page 79
W> E WZK:d/KE^                                        Case 8:17-bk-11370-CB
                                                                  ϮϬϭϳ   ϮϬϭϴ                   Doc 113
                                                                                               ϮϬϭϵ  ϮϬϮϬ Filed
                                                                                                             ϮϬϮϭ 06/21/17  Entered 06/21/17 18:01:29   Desc
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ůĂƐƐ                                                        ƵƌƌĞŶƚ ůĂŝŵ
   ^ĞĐƵƌĞĚ
     ϭ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ZŽƵŶĚƉŽŝŶƚ
        DŽƌƚŐĂŐĞ ;ϭƐƚ dƌƵƐƚ ĞĞĚ ^ƵƌĨƐŝĚĞ WƌŽƉĞƌƚǇͿ              ϭ͕ϰϵϰ͕ϭϭϱ
  ϭ dŽƚĂů                                                        ϭ͕ϰϵϰ͕ϭϭϱ   ϭϲ͕ϯϴϵ   ϲϱ͕ϱϱϱ    ϲϱ͕ϱϱϱ   ϲϱ͕ϱϱϱ   ϲϱ͕ϱϱϱ
     Ϯ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ tĞůůƐ &ĂƌŐŽ ĂŶŬ ;ϮŶĚ dƌƵƐƚ ĞĞĚ
        ^ƵƌĨƐŝĚĞ WƌŽƉĞƌƚǇͿ                                         ϭϵϲ͕ϳϲϱ
  Ϯ dŽƚĂů                                                          ϭϵϲ͕ϳϲϱ    ϯ͕Ϭϵϲ   ϭϮ͕ϯϴϯ    ϭϮ͕ϯϴϯ   ϭϮ͕ϯϴϯ   ϭϮ͕ϯϴϯ
     ϯ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŚĂƐĞ ŽŵŵĞƌĐŝĂů ĂŶŬ ;ϭƐƚ dƌƵƐƚ
        ĞĞĚ >Ă^ĂůůĞ ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                              ϱϳϳ͕ϱϯϯ
  ϯ dŽƚĂů                                                          ϱϳϳ͕ϱϯϯ   ϭϬ͕ϴϰϳ   ϰϯ͕ϯϴϳ    ϰϯ͕ϯϴϳ   ϰϯ͕ϯϴϳ   ϰϯ͕ϯϴϳ
     ϰ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŶŶ >ĞŝƐǇ ;ϮŶĚ ƚƌƵƐƚ ĚĞĞĚ ŽĨ >Ă^ĂůůĞ
        ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                                           ϭϲϮ͕ϯϰϮ
  ϰ dŽƚĂů                                                          ϭϲϮ͕ϯϰϮ    Ϯ͕ϯϵϲ    ϵ͕ϱϴϰ     ϵ͕ϱϴϰ    ϵ͕ϱϴϰ    ϵ͕ϱϴϰ
     ϱ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŚĂƐĞ ŽŵŵĞƌĐŝĂů ĂŶŬ ;ϭƐƚ dƌƵƐƚ
        ĞĞĚ ŽŵƐƚŽĐŬ ǀĞŶƵĞ WƌŽƉĞƌƚǇͿ                              ϯϴϬ͕ϯϱϱ
  ϱ dŽƚĂů                                                          ϯϴϬ͕ϯϱϱ   ϭϬ͕ϱϵϰ   ϰϮ͕ϯϳϱ    ϰϮ͕ϯϳϱ   ϰϮ͕ϯϳϱ   ϰϮ͕ϯϳϱ
     ϲ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ ŝŐŝƚĂů &ĞĚĞƌĂů ƌĞĚŝƚ hŶŝŽŶ ;ϭƐƚ
        dƌƵƐƚ ĞĞĚ E, WƌŽƉĞƌƚǇͿ                                    ϯϳϴ͕ϰϴϱ
  ϲ dŽƚĂů                                                          ϯϳϴ͕ϰϴϱ   ϭϬ͕Ϯϭϴ   ϰϬ͕ϴϳϮ    ϰϬ͕ϴϳϮ   ϰϬ͕ϴϳϮ   ϰϬ͕ϴϳϮ
     ϳ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ h͘^͘ ĂŶŬ ;ϭƐƚ dƌƵƐƚ ĞĞĚ EĞǀĂĚĂ
        WƌŽƉĞƌƚǇͿ                                                  ϮϬϵ͕ϯϰϯ
  ϳ dŽƚĂů                                                          ϮϬϵ͕ϯϰϯ    ϰ͕ϴϰϮ   ϭϵ͕ϯϲϵ    ϭϵ͕ϯϲϵ   ϭϵ͕ϯϲϵ   ϭϵ͕ϯϲϵ
     ϴ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ tĞůůƐ &ĂƌŐŽ ĂŶŬ ;ϭƐƚ dƌƵƐƚ ĞĞĚ
        sŽŶŶŝĞ >ĂŶĞ WƌŽƉĞƌƚǇͿ                                      ϰϰϰ͕Ϭϰϴ
  ϴ dŽƚĂů                                                          ϰϰϰ͕Ϭϰϴ    ϳ͕ϲϱϬ   ϯϬ͕ϱϵϴ    ϯϬ͕ϱϵϴ   ϯϬ͕ϱϵϴ   ϯϬ͕ϱϵϴ
     ϵ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ tĞůůƐ &ĂƌŐŽ ĂŶŬ ;ϭƐƚ dƌƵƐƚ ĞĞĚ E͘
        KůŝǀĞ ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                                     ϭϴϳ͕Ϯϴϯ
  ϵ dŽƚĂů                                                          ϭϴϳ͕Ϯϴϯ    ϯ͕ϵϱϲ   ϭϱ͕ϴϮϯ    ϭϱ͕ϴϮϯ   ϭϱ͕ϴϮϯ   ϭϱ͕ϴϮϯ
     ϭϬ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ WĂĐŝĨŝĐ WƌĞŵŝĞƌ ĂŶŬ ;ϮŶĚ dƌƵƐƚ
        ĞĞĚ E͘ KůŝǀĞ ^ƚƌĞĞƚ WƌŽƉĞƌƚǇͿ                             ϭϱϬ͕ϯϮϭ
  ϭϬ dŽƚĂů                                                         ϭϱϬ͕ϯϮϭ    ϭ͕ϵϳϯ    ϳ͕ϴϵϮ     ϳ͕ϴϵϮ    ϳ͕ϴϵϮ    ϳ͕ϴϵϮ
     ϭϭ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ WĂĐŝĨŝĐ WƌĞŵŝĞƌ ĂŶŬ ;ϭƐƚ dƌƵƐƚ
        ĞĞĚ ŽŶ EĞǁŵĂŶ͕ Ğů ŵŽ͕ ĞŶŶŝ͕ ŝƐŚŽƉͿ                   ϭ͕ϭϰϮ͕Ϯϱϰ
  ϭϭ dŽƚĂů                                                       ϭ͕ϭϰϮ͕Ϯϱϰ   ϮϮ͕ϲϱϬ   ϵϬ͕ϱϵϵ    ϵϬ͕ϱϵϵ   ϵϬ͕ϱϵϵ   ϵϬ͕ϱϵϵ
     ϭϮ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ^ĂŶ ůƚŽ
        tĂǇ WƌŽƉĞƌƚǇͿ                                              ϮϲϬ͕ϴϲϳ
  ϭϮ dŽƚĂů                                                         ϮϲϬ͕ϴϲϳ    ϱ͕ϵϱϱ   Ϯϯ͕ϴϮϮ    Ϯϯ͕ϴϮϮ   Ϯϯ͕ϴϮϮ   Ϯϯ͕ϴϮϮ
     ϭϯ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ^ƚƌĂƚƚŽŶ
        ŽƵƌƚ WƌŽƉĞƌƚǇͿ                                            ϮϳϬ͕ϭϲϬ
  ϭϯ dŽƚĂů                                                         ϮϳϬ͕ϭϲϬ    ϱ͕ϴϲϴ   Ϯϯ͕ϰϳϮ    Ϯϯ͕ϰϳϮ   Ϯϯ͕ϰϳϮ   Ϯϯ͕ϰϳϮ
     ϭϰ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ϴϰϳϵ
        ĞĚĂƌǀŝĞǁ ŽƵƌƚ WƌŽƉĞƌƚǇͿ                                  Ϯϯϳ͕ϱϮϭ
  ϭϰ dŽƚĂů                                                         Ϯϯϳ͕ϱϮϭ    ϱ͕ϭϮϵ   ϮϬ͕ϱϭϴ    ϮϬ͕ϱϭϴ   ϮϬ͕ϱϭϴ   ϮϬ͕ϱϭϴ
     ϭϱ
        ^ĞĐƵƌĞĚ ůĂŝŵ ŽĨ KtE ;ϭƐƚ dƌƵƐƚ ĞĞĚ ϴϰϳϱ
        ĞĚĂƌǀŝĞǁ ŽƵƌƚ WƌŽƉĞƌƚǇͿ                                  Ϯϯϳ͕ϱϮϭ
  ϭϱ dŽƚĂů                                                         Ϯϯϳ͕ϱϮϭ    ϱ͕Ϭϳϵ   ϮϬ͕ϯϭϱ    ϮϬ͕ϯϭϱ   ϮϬ͕ϯϭϱ   ϮϬ͕ϯϭϱ




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                                                                                    KĐƚͲϭϳ
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                                                                                                                                                                                        ƵŐͲϭϴ^ĞƉͲϭϴ        KĐƚͲϭϴ    EŽǀͲϭϴ    ĞĐͲϭϴ
    ϭϲ
                                                                                    Main Document            Page 101 of 108
       ZŝĐŬ dĂƌŶƵƚǌĞƌ                        Ϯ͕ϱϰϳ͕ϯϬϭ
 ϭϲ dŽƚĂů                                    Ϯ͕ϱϰϳ͕ϯϬϭ
    ϭϳ

         ϮϬϭϲ dĞƐůĂ y                          ϴϲ͕ϲϰϴ           ϭ͕ϯϰϵ
  ϭϳ dŽƚĂů                                     ϴϲ͕ϲϰϴ           ϭ͕ϯϰϵ                 ϭ͕ϯϰϵ    ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ     ϭ͕ϯϰϵ
     ϭϴ
        > ŽƵŶƚǇ dĂǆ                           ϭϮ͕ϳϲϭ
        K ŽƵŶƚǇ dĂǆ                          ϱϭ͕ϴϱϰ
  ϭϴ dŽƚĂů                                     ϲϰ͕ϲϭϰ
     ǆŝƚ &ŝŶĂŶĐŝŶŐ
        EĞǁ >ŽĂŶ WƌŽĐĞĞĚƐ                      ϳϱϬ͕ϬϬϬ   ϳ͘ϱϬй ϰ͕ϲϴϴ
  ǆŝƚ &ŝŶĂŶĐŝŶŐ dŽƚĂů                         ϳϱϬ͕ϬϬϬ   ϳ͘ϱϬй ϰ͕ϲϴϴ                  ϰ͕ϲϴϴ    ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ     ϰ͕ϲϴϴ
^ĞĐƵƌĞĚ dŽƚĂů                                ϵ͕ϳϳϳ͕ϰϳϱ   ϰ͘ϰϴй ϯϲ͕ϳϴϳ   ϴ͕ϭϯϬ        ϰϰ͕ϵϭϳ   ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ
    ĚŵŝŶ
     ϱϬϳ;ĂͿ;ϮͿ
        ůĞƌŬΖƐ KĨĨŝĐĞ &ĞĞƐ                       Ͳ                                       ϭ
        &ŽƌĐĞ ϭϬ                               ϳϱ͕ϬϬϬ                                ϳϱ͕ϬϬϬ
        'ƌĞŐŽƌǇ WĂŐĞ                           ϭϬ͕ϬϬϬ                                ϭϬ͕ϬϬϬ
        >t'&                                  ϯϬϬ͕ϬϬϬ                               ϯϬϬ͕ϬϬϬ
        Kh^d                                    ϭ͕ϵϱϬ                                 ϭ͕ϵϱϬ                        ϭ͕ϵϱϬ                           Ͳ                             Ͳ                             Ͳ
        dŚĞ sŽŐůĞ &ŝƌŵ                         ϱϬ͕ϬϬϬ                                ϱϬ͕ϬϬϬ
  ϱϬϳ;ĂͿ;ϮͿ dŽƚĂů                             ϰϯϲ͕ϵϱϬ
 ĚŵŝŶ dŽƚĂů                                   ϰϯϲ͕ϵϱϬ                               ϰϯϲ͕ϵϱϭ      Ͳ         Ͳ       ϭ͕ϵϱϬ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ
   'h
     ϮϬ
        ĂƌĐůĂǇƐ ĂŶŬ͕                       ϭϱ͕ϯϮϴ                                ϭϱ͕ϯϮϴ
        ŝƚŝďĂŶŬ ;ŽƐƚĐŽ Ěǀ͘Ϳ                     ϳϭϳ                                   ϳϭϳ
        ŝƚŝďĂŶŬ sŝƐĂ Ͳ ϮϴϬϬ                   ϭϳ͕ϮϮϴ                                ϭϳ͕ϮϮϴ
        ŝůĞĞŶ ĂƚŚƌŽ                         ϭϬϬ͕ϬϬϬ                               ϭϬϬ͕ϬϬϬ
        'ƌĞŐŽƌǇ WĂŐĞ                           ϵϳ͕ϯϲϴ                                ϵϳ͕ϯϲϴ
        :ŽƐĞƉŚ ŽǇŶĞ                           ϰϭ͕ϬϬϬ                                ϰϭ͕ϬϬϬ
  ϮϬ dŽƚĂů                                    Ϯϳϭ͕ϲϰϭ
     Ϯϭ
        ZŝĐŬ dĂƌŶƵƚǌĞƌ                        ϴϬϱ͕ϳϬϵ
  Ϯϭ dŽƚĂů                                    ϴϬϱ͕ϳϬϵ
     ϮϮ
        &ĞƌŶ͕ Ğƚ Ăů͘                         ϰ͕ϭϯϮ͕ϱϬϬ
  ϮϮ dŽƚĂů                                   ϰ͕ϭϯϮ͕ϱϬϬ
'h dŽƚĂů                                    ϱ͕ϮϬϵ͕ϴϱϬ                              Ϯϳϭ͕ϲϰϭ      Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ
 'ƌĂŶĚ dŽƚĂů                                ϭϱ͕ϰϮϰ͕Ϯϳϱ   ϰ͘ϰϴй ϯϲ͕ϳϴϳ   ϴ͕ϭϯϬ       ϳϱϯ͕ϱϬϵ   ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϲ͕ϴϲϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ    ϰϰ͕ϵϭϳ

ĂƐŚ Ăƚ ďĞŐŝŶŶŝŶŐ ŽĨ ƉĞƌŝŽĚ;ϭͿ                                                  Ψ     Ͳ    Ψ ϲϭ͕ϯϵϭ Ψ    ϳϯ͕ϱϱϮ Ψ ϴϵ͕ϰϮϳ Ψ ϵϱ͕ϵϰϰ Ψ ϭϬϳ͕ϭϰϱ Ψ ϭϭϱ͕ϭϬϬ Ψ ϭϮϴ͕Ϯϳϭ Ψ ϭϯϵ͕ϮϮϲ Ψ ϭϲϵ͕ϳϮϴ Ψ ϭϴϯ͕Ϯϳϳ Ψ ϮϭϮ͕ϴϬϳ Ψ Ϯϯϯ͕ϱϵϲ Ψ Ϯϱϯ͕ϱϳϵ Ψ Ϯϲϱ͕ϳϰϬ
EĞƚ ĐĂƐŚ ĨůŽǁ ĨƌŽŵ KƉĞƌĂƚŝŶŐ ĂĐƚŝǀŝƚŝĞƐ                                            ϲϰ͕ϴϵϵ     ϱϳ͕Ϭϳϴ     ϲϬ͕ϳϵϮ    ϱϯ͕ϯϴϯ   ϱϲ͕ϭϭϴ    ϱϮ͕ϴϳϭ    ϱϴ͕Ϭϴϴ    ϱϱ͕ϴϳϮ    ϳϱ͕ϰϭϴ    ϱϴ͕ϰϲϳ    ϳϰ͕ϰϰϲ    ϲϱ͕ϳϬϲ    ϲϰ͕ϴϵϵ    ϱϳ͕Ϭϳϴ    ϲϬ͕ϳϵϮ
EĞƚ ĐĂƐŚ ĨůŽǁ ĨƌŽŵ ŶĞǁ ďŽƌƌŽǁŝŶŐƐ                                                 ϳϱϬ͕ϬϬϬ        Ͳ          Ͳ         Ͳ        Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ
EĞƚ ĐĂƐŚ ĨůŽǁ ƵƐĞĚ ďǇ WůĂŶ WĂǇŵĞŶƚƐ                                              ;ϳϱϯ͕ϱϬϵͿ   ;ϰϰ͕ϵϭϳͿ   ;ϰϰ͕ϵϭϳͿ  ;ϰϲ͕ϴϲϳͿ ;ϰϰ͕ϵϭϳͿ  ;ϰϰ͕ϵϭϳͿ  ;ϰϰ͕ϵϭϳͿ  ;ϰϰ͕ϵϭϳͿ  ;ϰϰ͕ϵϭϳͿ  ;ϰϰ͕ϵϭϳͿ  ;ϰϰ͕ϵϭϳͿ  ;ϰϰ͕ϵϭϳͿ  ;ϰϰ͕ϵϭϳͿ  ;ϰϰ͕ϵϭϳͿ  ;ϰϰ͕ϵϭϳͿ
 ĂƐŚ Ăƚ ĞŶĚ ŽĨ ƉĞƌŝŽĚ                                                          Ψ ϲϭ͕ϯϵϭ Ψ ϳϯ͕ϱϱϮ Ψ      ϴϵ͕ϰϮϳ Ψ ϵϱ͕ϵϰϰ Ψ ϭϬϳ͕ϭϰϱ Ψ ϭϭϱ͕ϭϬϬ Ψ ϭϮϴ͕Ϯϳϭ Ψ ϭϯϵ͕ϮϮϲ Ψ ϭϲϵ͕ϳϮϴ Ψ ϭϴϯ͕Ϯϳϳ Ψ ϮϭϮ͕ϴϬϳ Ψ Ϯϯϯ͕ϱϵϲ Ψ Ϯϱϯ͕ϱϳϵ Ψ Ϯϲϱ͕ϳϰϬ Ψ Ϯϴϭ͕ϲϭϱ




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    ϭϲ
                                                                       Main Document             Page 102 of 108
       ZŝĐŬ dĂƌŶƵƚǌĞƌ                         Ϯ͕ϱϰϳ͕ϯϬϭ
 ϭϲ dŽƚĂů                                     Ϯ͕ϱϰϳ͕ϯϬϭ
    ϭϳ

         ϮϬϭϲ dĞƐůĂ y                           ϴϲ͕ϲϰϴ
  ϭϳ dŽƚĂů                                      ϴϲ͕ϲϰϴ          ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ     ϰ͕Ϭϰϳ      ϰ͕Ϭϰϳ
     ϭϴ
        > ŽƵŶƚǇ dĂǆ                            ϭϮ͕ϳϲϭ
        K ŽƵŶƚǇ dĂǆ                           ϱϭ͕ϴϱϰ
  ϭϴ dŽƚĂů                                      ϲϰ͕ϲϭϰ
     ǆŝƚ &ŝŶĂŶĐŝŶŐ
        EĞǁ >ŽĂŶ WƌŽĐĞĞĚƐ                       ϳϱϬ͕ϬϬϬ
  ǆŝƚ &ŝŶĂŶĐŝŶŐ dŽƚĂů                          ϳϱϬ͕ϬϬϬ        ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ    ϭϰ͕Ϭϲϯ     ϭϰ͕Ϭϲϯ
^ĞĐƵƌĞĚ dŽƚĂů                                 ϵ͕ϳϳϳ͕ϰϳϱ       ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ    ϭϯϰ͕ϳϱϬ
    ĚŵŝŶ
     ϱϬϳ;ĂͿ;ϮͿ
        ůĞƌŬΖƐ KĨĨŝĐĞ &ĞĞƐ                        Ͳ                ϭ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        &ŽƌĐĞ ϭϬ                                ϳϱ͕ϬϬϬ         ϳϱ͕ϬϬϬ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        'ƌĞŐŽƌǇ WĂŐĞ                            ϭϬ͕ϬϬϬ         ϭϬ͕ϬϬϬ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        >t'&                                   ϯϬϬ͕ϬϬϬ        ϯϬϬ͕ϬϬϬ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        Kh^d                                     ϭ͕ϵϱϬ          ϭ͕ϵϱϬ     ϭ͕ϵϱϬ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        dŚĞ sŽŐůĞ &ŝƌŵ                          ϱϬ͕ϬϬϬ         ϱϬ͕ϬϬϬ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
  ϱϬϳ;ĂͿ;ϮͿ dŽƚĂů                              ϰϯϲ͕ϵϱϬ            Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
 ĚŵŝŶ dŽƚĂů                                    ϰϯϲ͕ϵϱϬ        ϰϯϲ͕ϵϱϭ     ϭ͕ϵϱϬ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
   'h
     ϮϬ                                                           Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        ĂƌĐůĂǇƐ ĂŶŬ͕                        ϭϱ͕ϯϮϴ         ϭϱ͕ϯϮϴ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        ŝƚŝďĂŶŬ ;ŽƐƚĐŽ Ěǀ͘Ϳ                      ϳϭϳ            ϳϭϳ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        ŝƚŝďĂŶŬ sŝƐĂ Ͳ ϮϴϬϬ                    ϭϳ͕ϮϮϴ         ϭϳ͕ϮϮϴ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        ŝůĞĞŶ ĂƚŚƌŽ                          ϭϬϬ͕ϬϬϬ        ϭϬϬ͕ϬϬϬ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        'ƌĞŐŽƌǇ WĂŐĞ                            ϵϳ͕ϯϲϴ         ϵϳ͕ϯϲϴ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        :ŽƐĞƉŚ ŽǇŶĞ                            ϰϭ͕ϬϬϬ         ϰϭ͕ϬϬϬ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
  ϮϬ dŽƚĂů                                     Ϯϳϭ͕ϲϰϭ            Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
     Ϯϭ                                                           Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        ZŝĐŬ dĂƌŶƵƚǌĞƌ                         ϴϬϱ͕ϳϬϵ            Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
  Ϯϭ dŽƚĂů                                     ϴϬϱ͕ϳϬϵ            Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
     ϮϮ                                                           Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
        &ĞƌŶ͕ Ğƚ Ăů͘                          ϰ͕ϭϯϮ͕ϱϬϬ           Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
  ϮϮ dŽƚĂů                                    ϰ͕ϭϯϮ͕ϱϬϬ           Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
'h dŽƚĂů                                     ϱ͕ϮϬϵ͕ϴϱϬ       Ϯϳϭ͕ϲϰϭ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ          Ͳ
 'ƌĂŶĚ dŽƚĂů                                 ϭϱ͕ϰϮϰ͕Ϯϳϱ       ϴϰϯ͕ϯϰϮ   ϭϯϲ͕ϳϬϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ   ϭϯϰ͕ϳϱϬ    ϭϯϰ͕ϳϱϬ

ĂƐŚ Ăƚ ďĞŐŝŶŶŝŶŐ ŽĨ ƉĞƌŝŽĚ;ϭͿ                            Ψ     Ͳ    Ψ ϴϵ͕ϰϮϳ Ψ ϭϭϱ͕ϭϬϬ Ψ ϭϲϵ͕ϳϮϴ Ψ Ϯϯϯ͕ϱϵϲ Ψ Ϯϴϭ͕ϲϭϱ Ψ ϯϬϵ͕Ϯϯϴ Ψ ϯϲϯ͕ϴϲϲ Ψ ϰϮϳ͕ϳϯϰ Ψ ϰϳϱ͕ϳϱϯ Ψ ϱϬϯ͕ϯϳϲ Ψ ϱϱϴ͕ϬϬϰ Ψ ϲϮϭ͕ϴϳϮ Ψ ϲϲϵ͕ϴϵϭ Ψ ϲϵϳ͕ϱϭϰ Ψ ϳϱϮ͕ϭϰϮ Ψ ϴϭϲ͕ϬϭϬ
EĞƚ ĐĂƐŚ ĨůŽǁ ĨƌŽŵ KƉĞƌĂƚŝŶŐ ĂĐƚŝǀŝƚŝĞƐ                     ϭϴϮ͕ϳϲϵ   ϭϲϮ͕ϯϳϯ   ϭϴϵ͕ϯϳϴ   ϭϵϴ͕ϲϭϴ   ϭϴϮ͕ϳϲϵ   ϭϲϮ͕ϯϳϯ   ϭϴϵ͕ϯϳϴ   ϭϵϴ͕ϲϭϴ   ϭϴϮ͕ϳϲϵ   ϭϲϮ͕ϯϳϯ   ϭϴϵ͕ϯϳϴ   ϭϵϴ͕ϲϭϴ   ϭϴϮ͕ϳϲϵ   ϭϲϮ͕ϯϳϯ   ϭϴϵ͕ϯϳϴ   ϭϵϴ͕ϲϭϴ   ϭϴϮ͕ϳϲϵ
EĞƚ ĐĂƐŚ ĨůŽǁ ĨƌŽŵ ŶĞǁ ďŽƌƌŽǁŝŶŐƐ                           ϳϱϬ͕ϬϬϬ       Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ         Ͳ
EĞƚ ĐĂƐŚ ĨůŽǁ ƵƐĞĚ ďǇ WůĂŶ WĂǇŵĞŶƚƐ                        ;ϴϰϯ͕ϯϰϮͿ ;ϭϯϲ͕ϳϬϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ ;ϭϯϰ͕ϳϱϬͿ
 ĂƐŚ Ăƚ ĞŶĚ ŽĨ ƉĞƌŝŽĚ                                    Ψ ϴϵ͕ϰϮϳ Ψ ϭϭϱ͕ϭϬϬ Ψ ϭϲϵ͕ϳϮϴ Ψ Ϯϯϯ͕ϱϵϲ Ψ Ϯϴϭ͕ϲϭϱ Ψ ϯϬϵ͕Ϯϯϴ Ψ ϯϲϯ͕ϴϲϲ Ψ ϰϮϳ͕ϳϯϰ Ψ ϰϳϱ͕ϳϱϯ Ψ ϱϬϯ͕ϯϳϲ Ψ ϱϱϴ͕ϬϬϰ Ψ ϲϮϭ͕ϴϳϮ Ψ ϲϲϵ͕ϴϵϭ Ψ ϲϵϳ͕ϱϭϰ Ψ ϳϱϮ͕ϭϰϮ Ψ ϴϭϲ͕ϬϭϬ Ψ ϴϲϰ͕ϬϮϵ




                                                                                                                                                                                                                            EXHIBIT "1"
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       ZŝĐŬ dĂƌŶƵƚǌĞƌ                        Ϯ͕ϱϰϳ͕ϯϬϭ
 ϭϲ dŽƚĂů                                    Ϯ͕ϱϰϳ͕ϯϬϭ
    ϭϳ

         ϮϬϭϲ dĞƐůĂ y                          ϴϲ͕ϲϰϴ
  ϭϳ dŽƚĂů                                     ϴϲ͕ϲϰϴ          ϰ͕Ϭϰϳ         ϰ͕Ϭϰϳ        ϰ͕Ϭϰϳ        ϰ͕Ϭϰϳ         ϰ͕Ϭϰϳ
     ϭϴ
        > ŽƵŶƚǇ dĂǆ                           ϭϮ͕ϳϲϭ
        K ŽƵŶƚǇ dĂǆ                          ϱϭ͕ϴϱϰ
  ϭϴ dŽƚĂů                                     ϲϰ͕ϲϭϰ
     ǆŝƚ &ŝŶĂŶĐŝŶŐ
        EĞǁ >ŽĂŶ WƌŽĐĞĞĚƐ                      ϳϱϬ͕ϬϬϬ
  ǆŝƚ &ŝŶĂŶĐŝŶŐ dŽƚĂů                         ϳϱϬ͕ϬϬϬ        ϭϰ͕Ϭϲϯ        ϭϰ͕Ϭϲϯ       ϭϰ͕Ϭϲϯ       ϭϰ͕Ϭϲϯ       ϭϰ͕Ϭϲϯ
^ĞĐƵƌĞĚ dŽƚĂů                                ϵ͕ϳϳϳ͕ϰϳϱ       ϭϯϰ͕ϳϱϬ       ϱϯϵ͕ϬϬϬ      ϱϯϵ͕ϬϬϬ      ϱϯϵ͕ϬϬϬ      ϱϯϵ͕ϬϬϬ
    ĚŵŝŶ
     ϱϬϳ;ĂͿ;ϮͿ
        ůĞƌŬΖƐ KĨĨŝĐĞ &ĞĞƐ                       Ͳ                ϭ           Ͳ               Ͳ         Ͳ             Ͳ
        &ŽƌĐĞ ϭϬ                               ϳϱ͕ϬϬϬ         ϳϱ͕ϬϬϬ           Ͳ               Ͳ         Ͳ             Ͳ
        'ƌĞŐŽƌǇ WĂŐĞ                           ϭϬ͕ϬϬϬ         ϭϬ͕ϬϬϬ           Ͳ               Ͳ         Ͳ             Ͳ
        >t'&                                  ϯϬϬ͕ϬϬϬ        ϯϬϬ͕ϬϬϬ           Ͳ               Ͳ         Ͳ             Ͳ
        Kh^d                                    ϭ͕ϵϱϬ          ϭ͕ϵϱϬ         ϭ͕ϵϱϬ             Ͳ         Ͳ             Ͳ
        dŚĞ sŽŐůĞ &ŝƌŵ                         ϱϬ͕ϬϬϬ         ϱϬ͕ϬϬϬ           Ͳ               Ͳ         Ͳ             Ͳ
  ϱϬϳ;ĂͿ;ϮͿ dŽƚĂů                             ϰϯϲ͕ϵϱϬ            Ͳ             Ͳ               Ͳ         Ͳ             Ͳ
 ĚŵŝŶ dŽƚĂů                                   ϰϯϲ͕ϵϱϬ        ϰϯϲ͕ϵϱϭ         ϭ͕ϵϱϬ             Ͳ         Ͳ             Ͳ
   'h
     ϮϬ                                                          Ͳ             Ͳ            Ͳ            Ͳ            Ͳ
        ĂƌĐůĂǇƐ ĂŶŬ͕                       ϭϱ͕ϯϮϴ         ϭϱ͕ϯϮϴ           Ͳ            Ͳ            Ͳ            Ͳ
        ŝƚŝďĂŶŬ ;ŽƐƚĐŽ Ěǀ͘Ϳ                     ϳϭϳ            ϳϭϳ           Ͳ            Ͳ            Ͳ            Ͳ
        ŝƚŝďĂŶŬ sŝƐĂ Ͳ ϮϴϬϬ                   ϭϳ͕ϮϮϴ         ϭϳ͕ϮϮϴ           Ͳ            Ͳ            Ͳ            Ͳ
        ŝůĞĞŶ ĂƚŚƌŽ                         ϭϬϬ͕ϬϬϬ        ϭϬϬ͕ϬϬϬ           Ͳ            Ͳ            Ͳ            Ͳ
        'ƌĞŐŽƌǇ WĂŐĞ                           ϵϳ͕ϯϲϴ         ϵϳ͕ϯϲϴ           Ͳ            Ͳ            Ͳ            Ͳ
        :ŽƐĞƉŚ ŽǇŶĞ                           ϰϭ͕ϬϬϬ         ϰϭ͕ϬϬϬ           Ͳ            Ͳ            Ͳ            Ͳ
  ϮϬ dŽƚĂů                                    Ϯϳϭ͕ϲϰϭ            Ͳ             Ͳ            Ͳ            Ͳ            Ͳ
     Ϯϭ                                                          Ͳ             Ͳ            Ͳ            Ͳ            Ͳ
        ZŝĐŬ dĂƌŶƵƚǌĞƌ                        ϴϬϱ͕ϳϬϵ            Ͳ             Ͳ            Ͳ            Ͳ            Ͳ
  Ϯϭ dŽƚĂů                                    ϴϬϱ͕ϳϬϵ            Ͳ             Ͳ            Ͳ            Ͳ            Ͳ
     ϮϮ                                                          Ͳ             Ͳ            Ͳ            Ͳ            Ͳ
        &ĞƌŶ͕ Ğƚ Ăů͘                         ϰ͕ϭϯϮ͕ϱϬϬ           Ͳ             Ͳ            Ͳ            Ͳ            Ͳ
  ϮϮ dŽƚĂů                                   ϰ͕ϭϯϮ͕ϱϬϬ           Ͳ             Ͳ            Ͳ            Ͳ            Ͳ
'h dŽƚĂů                                    ϱ͕ϮϬϵ͕ϴϱϬ       Ϯϳϭ͕ϲϰϭ           Ͳ            Ͳ            Ͳ            Ͳ
 'ƌĂŶĚ dŽƚĂů                                ϭϱ͕ϰϮϰ͕Ϯϳϱ       ϴϰϯ͕ϯϰϮ       ϱϰϬ͕ϵϱϬ      ϱϯϵ͕ϬϬϬ      ϱϯϵ͕ϬϬϬ      ϱϯϵ͕ϬϬϬ

ĂƐŚ Ăƚ ďĞŐŝŶŶŝŶŐ ŽĨ ƉĞƌŝŽĚ;ϭͿ                           Ψ        Ͳ    Ψ     ϴϵ͕ϰϮϳ Ψ    Ϯϴϭ͕ϲϭϱ Ψ    ϰϳϱ͕ϳϱϯ Ψ    ϲϲϵ͕ϴϵϭ
EĞƚ ĐĂƐŚ ĨůŽǁ ĨƌŽŵ KƉĞƌĂƚŝŶŐ ĂĐƚŝǀŝƚŝĞƐ                       ϭϴϮ͕ϳϲϵ       ϳϯϯ͕ϭϯϵ      ϳϯϯ͕ϭϯϵ      ϳϯϯ͕ϭϯϵ      ϳϯϯ͕ϭϯϵ
EĞƚ ĐĂƐŚ ĨůŽǁ ĨƌŽŵ ŶĞǁ ďŽƌƌŽǁŝŶŐƐ                             ϳϱϬ͕ϬϬϬ           Ͳ            Ͳ            Ͳ            Ͳ
EĞƚ ĐĂƐŚ ĨůŽǁ ƵƐĞĚ ďǇ WůĂŶ WĂǇŵĞŶƚƐ                          ;ϴϰϯ͕ϯϰϮͿ     ;ϱϰϬ͕ϵϱϬͿ    ;ϱϯϵ͕ϬϬϬͿ    ;ϱϯϵ͕ϬϬϬͿ    ;ϱϯϵ͕ϬϬϬͿ
 ĂƐŚ Ăƚ ĞŶĚ ŽĨ ƉĞƌŝŽĚ                                   Ψ     ϴϵ͕ϰϮϳ Ψ     Ϯϴϭ͕ϲϭϱ Ψ    ϰϳϱ͕ϳϱϯ Ψ    ϲϲϵ͕ϴϵϭ Ψ    ϴϲϰ͕ϬϮϵ




                                                                                                                                                        EXHIBIT "1"
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                              EXHIBIT “2”
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                                         &Ds        ůĂŝŵƐ         E s           EŽƚĞ
  ^ĞĐƵƌĞĚ
    ZĞĂů WƌŽƉĞƌƚǇ                                                          ;ϭͿ
       ^ƵƌĨƐŝĚĞ                    Ψ ϯ͕ϱϬϬ͕ϬϬϬ Ψ ϭ͕ϳϬϱ͕ϲϳϰ Ψ ϭ͕ϴϬϵ͕ϭϮϭ
       ŽŵƐƚŽĐŬ                      ϭ͕ϴϬϬ͕ϬϬϬ     ϯϴϬ͕ϯϱϱ   ϭ͕ϰϭϵ͕ϲϰϱ
       >Ă^ĂůůĞ                       Ϯ͕ϬϬϬ͕ϬϬϬ     ϳϰϲ͕ϱϭϵ   ϭ͕ϮϲϬ͕ϭϮϱ
       EĞǁŵĂŶ                        ϭ͕ϮϱϬ͕ϬϬϬ     ϰϴϱ͕ϱϴϰ     ϳϳϭ͕ϲϲϵ
       ŝŶĐŝŶŶĂƚƚŝ                     ϴϲϬ͕ϬϬϬ     ϮϬϵ͕ϯϰϯ     ϲϱϬ͕ϲϱϳ
       DĞƌƌŝŵĂĐŬ                     ϭ͕ϬϬϬ͕ϬϬϬ     ϯϳϴ͕ϰϴϱ     ϲϮϭ͕ϱϭϱ
       Ğů ŵŽ                          ϲϮϬ͕ϬϬϬ     ϮϱϬ͕Ϭϭϯ     ϯϴϮ͕ϳϰϴ
       ĞŶŶŝ                           ϲϬϬ͕ϬϬϬ     Ϯϯϯ͕ϯϳϴ     ϯϳϬ͕ϰϬϭ
       KůŝǀĞ                           ϲϲϬ͕ϬϬϬ     ϯϰϭ͕ϰϱϭ     ϯϮϮ͕ϯϵϲ
       ŝƐŚŽƉ                          ϱϭϱ͕ϬϬϬ     ϮϬϬ͕ϳϲϮ     ϯϭϳ͕ϵϮϴ
       sŽŶŶŝĞ                          ϳϬϬ͕ϬϬϬ     ϰϰϳ͕ϱϮϬ     Ϯϱϱ͕ϵϱϮ
       ^ĂŶ ůƚŽ                         ϱϬϬ͕ϬϬϬ     Ϯϲϯ͕Ϯϯϵ     Ϯϯϵ͕ϭϯϯ
       ^ƚƌĂƚƚŽŶ                        ϰϯϲ͕ϬϬϬ     ϮϳϮ͕ϯϰϱ     ϭϲϱ͕ϴϰϬ
       ĞĚĂƌǀŝĞǁ Ͳ ϴϰϳϵ                ϰϬϬ͕ϬϬϬ     Ϯϯϵ͕ϱϮϴ     ϭϲϮ͕ϰϳϵ
       ĞĚĂƌǀŝĞǁ Ͳϴϰϳϱ                 ϯϳϱ͕ϬϬϬ     Ϯϯϵ͕ϯϯϬ     ϭϯϳ͕ϰϳϵ
       EĞǁ >ŽĂŶ WƌŽĐĞĞĚƐ                           ϳϱϬ͕ϬϬϬ    ;ϳϱϬ͕ϬϬϬͿ ;ϮͿ
       ZŝĐŬ dĂƌŶƵƚǌĞƌ                            Ϯ͕ϱϰϳ͕ϯϬϭ  ;Ϯ͕ϱϰϳ͕ϯϬϭͿ
 ZĞĂů WƌŽƉĞƌƚǇ dŽƚĂů               ϭϱ͕Ϯϭϲ͕ϬϬϬ    ϵ͕ϲϵϬ͕ϴϮϳ   ϱ͕ϱϴϵ͕ϳϴϳ
    KƚŚĞƌ ƐƐĞƚƐ
       ϮϬϭϲ dĞƐůĂ y                    ϳϯ͕ϬϬϬ       ϴϲ͕ϲϰϴ      ;ϭϯ͕ϲϰϴͿ
 KƚŚĞƌ ƐƐĞƚƐ dŽƚĂů                     ϳϯ͕ϬϬϬ       ϴϲ͕ϲϰϴ      ;ϭϯ͕ϲϰϴͿ
^ĞĐƵƌĞĚ dŽƚĂů                      ϭϱ͕Ϯϴϵ͕ϬϬϬ    ϵ͕ϳϳϳ͕ϰϳϱ    ϱ͕ϱϳϲ͕ϭϯϵ
   ƐƐĞƚ
    KƚŚĞƌ ƐƐĞƚƐ                                                            ;ϯͿ
       s /ŶƚĞƌƉůĞĚ &ƵŶĚƐ           ϭ͕ϴϬϬ͕ϬϬϬ                 ϭ͕ϴϬϬ͕ϬϬϬ
       :ƵĚŐĞŵĞŶƚ Ͳ tĂŬŝŵ͕ Ğƚ Ăů͘      Ϯϳϱ͕ϲϲϬ                   Ϯϳϱ͕ϲϲϬ
       &ŝƌƐƚ ŚŽŝĐĞ ƐĐƌŽǁ            ϭϱϬ͕ϬϬϬ          Ͳ        ϭϱϬ͕ϬϬϬ
       WŽůĂƌ WŽǁĞƌ ;^ƚŽĐŬͿ             ϰϳ͕ϭϬϬ                    ϰϳ͕ϭϬϬ
       :ĞǁĞůƌǇ                         ϱϬ͕ϯϬϬ        ϲ͕ϬϬϬ       ϰϰ͕ϯϬϬ
       KƌĂŶŐĞ ŽĂƐƚ dŝƚůĞ              ϰϬ͕ϬϬϬ          Ͳ         ϰϬ͕ϬϬϬ
       KƚŚĞƌ ƵƚŽŵŽďŝůĞƐ                ϰϬ͕ϱϬϬ        ϯ͕ϬϱϬ       ϯϳ͕ϰϱϬ
 KƚŚĞƌ ƐƐĞƚƐ dŽƚĂů                  Ϯ͕ϰϬϯ͕ϱϲϬ        ϵ͕ϬϱϬ    Ϯ͕ϯϵϰ͕ϱϭϬ
 ƐƐĞƚ dŽƚĂů                         Ϯ͕ϰϬϯ͕ϱϲϬ        ϵ͕ϬϱϬ    Ϯ͕ϯϵϰ͕ϱϭϬ
'ƌĂŶĚ dŽƚĂů                        ϭϳ͕ϲϵϮ͕ϱϲϬ    ϵ͕ϳϴϲ͕ϱϮϱ    ϳ͕ϵϳϬ͕ϲϰϵ                                          EXHIBIT "2"
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ƌĞĚŝƚŽƌƐ                                    ůĂŝŵƐ
   ĚŵŝŶ
    >t'&                               Ψ   ϯϬϬ͕ϬϬϬ
    &ŽƌĐĞ ϭϬ                                ϳϱ͕ϬϬϬ
    dŚĞ sŽŐůĞ &ŝƌŵ                          ϱϬ͕ϬϬϬ
    'ƌĞŐŽƌǇ WĂŐĞ                            ϭϬ͕ϬϬϬ
    Kh^d                                     ϭ͕ϵϱϬ
    ůĞƌŬΖƐ KĨĨŝĐĞ &ĞĞƐ                        Ͳ
 ĚŵŝŶ dŽƚĂů                                ϰϯϲ͕ϵϱϬ
  Wh
    /Z^                                        ϲϵϯ
Wh dŽƚĂů                                      ϲϵϯ
  'h
    &ĞƌŶ͕ Ğƚ Ăů͘                         ϰ͕ϭϯϮ͕ϱϬϬ
    ZŝĐŬ dĂƌŶƵƚǌĞƌ                         ϴϬϱ͕ϳϬϵ
    ŝůĞĞŶ ĂƚŚƌŽ                          ϭϬϬ͕ϬϬϬ
    'ƌĞŐŽƌǇ WĂŐĞ                            ϵϳ͕ϯϲϴ
    :ŽƐĞƉŚ ŽǇŶĞ                            ϰϭ͕ϬϬϬ
    ŝƚŝďĂŶŬ sŝƐĂ Ͳ ϮϴϬϬ                    ϭϳ͕ϮϮϴ
    ĂƌĐůĂǇƐ ĂŶŬ͕                        ϭϱ͕ϯϮϴ
    ŝƚŝďĂŶŬ ;ŽƐƚĐŽ Ěǀ͘Ϳ Ͳ ϴϵϳϮ               ϳϭϳ
'h dŽƚĂů                                ϱ͕ϮϬϵ͕ϴϱϬ
'ƌĂŶĚ dŽƚĂů                            Ψ ϱ͕ϲϰϳ͕ϰϵϯ


EĞƚ ƐƐĞƚ sĂůƵĞ ;E sͿ                                                Ψ Ϯ͕ϯϮϯ͕ϭϱϲ


;ϭͿ ůĂŝŵƐ ĨŝŐƵƌĞƐ ŝŶĐůƵĚĞ ƚŚĞ ĐůĂŝŵƐ ŽĨ ƚŚĞ ZĞĂů WƌŽƉĞƌƚǇ >ĞŶĚĞƌƐ ĂŶĚ ƐĞĐƵƌĞĚ ƚĂǆ
     ĐůĂŝŵƐ͘
;ϮͿ WƌŽĐĞĞĚƐ ĨƌŽŵ ŶĞǁ ƐĞĐƵƌĞĚ ůŽĂŶ ƵƐĞĚ ƚŽ ŵĞĞƚ ĞĨĨĞĐƚŝǀĞ ĚĂƚĞ ƉĂǇŵĞŶƚƐ͘
;ϯͿ ŵŽƵŶƚƐ ůŝƐƚĞĚ ŝŶ ůĂŝŵƐ ĐŽůƵŵŶ ĂƌĞ ĐůĂŝŵĞĚ ĞǆĞŵƉƚŝŽŶƐ͘
    /Ĩ ĞǆĞŵƉƚŝŽŶ ĞƋƵĂůƐ ƚŚĞ &Ds͕ ƚŚĞŶ ŶŽƚ ůŝƐƚĞĚ͘



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